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                                           #:1



 1
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 55
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      Counsel for  Plaintiff Metropolitan
                             Metropolitan
 66   Government
      Government of   Nashville and
                   of Nashville  and Davidson
                                     Davidson
 77   County,
      County, Tennessee
              Tennessee

 8
 8                        UNITED STATES
                          UNITED         DISTRICT COURT
                                 STATES DISTRICT  COURT
                         CENTRAL  DISTRICT OF
                         CENTRAL DISTRICT  OF CALIFORNIA
                                              CALIFORNIA
 99
      METROPOLITAN GOVERNMENT
      METROPOLITAN  GOVERNMENT OF
                               OF
10
10    NASHVILLE AND
      NASHVILLE AND DAVIDSON
                    DAVIDSON
                                                 No. 8:24-cv-01702
                                                 No. 8:24-cv-01702
11
11    COUNTY,
      COUNTY, TENNESSEE,
              TENNESSEE,

12                                 Plaintiff,
                                   Plaintiff,
12                                               COMPLAINT
                                                 COMPLAINT
13
13          v.
            v.
                                                 JURY
                                                 JURY TRIAL DEMANDED
                                                      TRIAL DEMANDED
14
14    HYUNDAI MOTOR
      HYUNDAI MOTOR COMPANY,
                     COMPANY,
      HYUNDAI MOTOR
      HYUNDAI MOTOR AMERICA,
                     AMERICA, KIA
                               KIA
15
15    CORPORATION, and KIA
      CORPORATION, and KIA AMERICA,
                           AMERICA,
      INC.,
      INC.,
16
16
                                Defendants.
                                Defendants.
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                                    Prevent Vehicle
                                               Vehicle Thefts
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                                                                                Existed for for
18
18
                      over
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19
19
             B.
             B.       Hyundai and
                      Hyundai  and KiaKia Deviated
                                             Deviated from  from thethe Industry
                                                                          Industry Standard
                                                                                        Standard by   by
20
20                    Electing Not
                      Electing Not to to Include
                                          Include Immobilizers
                                                      Immobilizers or       or Other
                                                                                Other
                      Reasonable Anti-Theft
                      Reasonable    Anti-Theft Technology
                                                      Technology in      in the
                                                                             the Susceptible
                                                                                   Susceptible
21
21                    Vehicles
                      Vehicles .......................................................................................... 20
                                                                                                                          20
22
22           C.
             C.       The Lack of
                      The Lack    Reasonable Anti-Theft
                               of Reasonable Anti-Theft Devices
                                                        Devices in
                                                                 in Most
                                                                    Most
                      Hyundai and
                      Hyundai and Kia
                                  Kia Vehicles Has Led
                                      Vehicles Has Led to
                                                        to aa Wave
                                                              Wave of
                                                                   of Thefts
                                                                      Thefts ................23
                                                                                             23
23
23


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 11                                 I.
                                    I.      INTRODUCTION
                                            INTRODUCTION

22          1.
            1.     There is an
                   There is an inextricable
                               inextricable link
                                            link between
                                                 between preventing vehicle theft
                                                         preventing vehicle theft and
                                                                                  and

33    protecting public
      protecting public safety. Making sure
                        safety. Making sure cars are not
                                            cars are not sitting
                                                         sitting ducks that are
                                                                 ducks that are simple
                                                                                simple to
                                                                                       to

 44   steal protects both
      steal protects both property
                          property and
                                   and the
                                       the public
                                           public by
                                                  by keeping
                                                     keeping dangerous
                                                             dangerous drivers in stolen
                                                                       drivers in stolen

 55   vehicles off
      vehicles     the roads.
               off the roads. Two
                              Two car manufacturers made
                                  car manufacturers made aa business
                                                            business decision not to
                                                                     decision not to equip
                                                                                     equip

 66   the vehicles
      the vehicles they
                   they sell
                        sell with
                             with reasonable
                                  reasonable anti-theft
                                             anti-theft technology,
                                                        technology, leaving
                                                                    leaving counties and
                                                                            counties and

 77   cities across the
      cities across the nation
                        nation to
                               to deal with massive
                                  deal with massive public
                                                    public safety
                                                           safety consequences. Despite
                                                                  consequences. Despite

 8
 8    taking some
      taking some initial
                  initial steps
                          steps to
                                to discourage thefts, Defendants
                                   discourage thefts, Defendants have
                                                                 have been
                                                                      been unable
                                                                           unable to
                                                                                  to abate
                                                                                     abate

 99   the dangerous
      the dangerous crime wave unleashed
                    crime wave unleashed on
                                         on communities nationwide—a crime
                                            communities nationwide—a       wave
                                                                     crime wave

10
10    that continues
      that           to this
           continues to this day.
                             day.

11
11          2.
            2.     The
                   The days
                       days of “hotwiring” cars
                            of "hotwiring"      with nothing
                                           cars with nothing more
                                                             more than
                                                                  than aa screwdriver are
                                                                          screwdriver are

12
12    largely over.
      largely       In most
              over. In most recent
                            recent car models, the
                                   car models, the ignition
                                                   ignition key
                                                            key emits
                                                                emits aa radio
                                                                         radio signal
                                                                               signal that
                                                                                      that

13
13    prompts aa computer
      prompts             in the
                 computer in the car to disengage
                                 car to           an immobilizer
                                        disengage an immobilizer device and allows
                                                                 device and allows the
                                                                                   the

14
14    car to start
      car to       and move.
             start and move. But
                             But recent
                                 recent Hyundai
                                        Hyundai and
                                                and Kia
                                                    Kia models
                                                        models are
                                                               are aa glaring
                                                                      glaring exception.
                                                                              exception.

15
15          3.
            3.     For most
                   For most model
                            model years
                                  years between
                                        between 2011
                                                2011 and
                                                     and 2022,
                                                         2022, long
                                                               long after
                                                                    after other
                                                                          other

16
16    carmakers  adopted immobilizer
      caretakers adopted immobilizer technology
                                     technology that
                                                that ensured
                                                     ensured car ignitions could
                                                             car ignitions       not be
                                                                           could not be

17
17    started without their
      started without their keys,
                            keys, Defendants
                                  Defendants Hyundai
                                             Hyundai Motor
                                                     Motor Company (“HMC”),
                                                           Company ("HMC"),

18
18    Hyundai Motor
      Hyundai Motor America
                    America ("HMA"
                            (“HMA” and,
                                   and, with
                                        with HMC,
                                             HMC, collectively “Hyundai”), Kia
                                                  collectively "Hyundai"), Kia

19
19    Corporation (“KC”), and
      Corporation ("KC"), and Kia
                              Kia America,
                                  America, Inc.
                                           Inc. ("KA"
                                                (“KA” and,
                                                      and, with
                                                           with KC,
                                                                KC, collectively
                                                                    collectively

20
20    “Kia”) intentionally
      "Kia") intentionally ignored
                           ignored industry-standard
                                   industry-standard practices
                                                     practices in
                                                               in the
                                                                  the name
                                                                      name of profit.
                                                                           of profit.

21
21    Specifically, upon information
      Specifically, upon information and belief, at
                                     and belief, at all relevant times,
                                                    all relevant times, Defendants
                                                                        Defendants

22
22    designed, manufactured, and
      designed, manufactured, and distributed the following
                                  distributed the following automobile
                                                            automobile models
                                                                       models without
                                                                              without

23
23    engine immobilizers or
      engine immobilizers or other reasonable anti-theft
                             other reasonable            technology: Hyundai
                                              anti-theft technology: Hyundai Accent,
                                                                             Accent,

                                               11
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 11   Elantra, Elantra
      Elantra, Elantra GT, Elantra Coupe,
                       GT, Elantra        Elantra Touring,
                                   Coupe, Elantra Touring, Genesis
                                                           Genesis Coupe, Kona,
                                                                   Coupe, Kona,

22    Palisade, Santa
      Palisade,       Fe, Santa
                Santa Fe,       Fe Sport,
                          Santa Fe Sport, Santa Fe XL,
                                          Santa Fe XL, Sonata,
                                                       Sonata, Tucson,
                                                               Tucson, Veloster,
                                                                       Veloster, Venue,
                                                                                 Venue,

33    and Veracruz;
      and           and the
          Veracruz; and the Kia
                            Kia Forte,
                                Forte, K5,
                                       K5, Optima, Rio, Sedona,
                                           Optima, Rio, Sedona, Seltos,
                                                                Seltos, Sorento,
                                                                        Sorento, Soul,
                                                                                 Soul,

 44   and Sportage.
      and Sportage. These vehicles, when
                    These vehicles, when manufactured
                                         manufactured and
                                                      and sold
                                                          sold without
                                                               without engine
                                                                       engine

 55   immobilizers or
      immobilizers or other reasonable anti-theft
                      other reasonable            technology, are
                                       anti-theft technology,     referred to
                                                              are referred to hereinafter
                                                                              hereinafter

 66   as the
      as the "Susceptible
             “Susceptible Vehicles.”
                          Vehicles."

 77         4.
            4.     As aa result,
                   As    result, online videos demonstrate
                                 online videos             how easy
                                               demonstrate how      it is
                                                               easy it is to
                                                                          to steal Hyundai
                                                                             steal Hyundai

 8
 8    and Kia
      and Kia vehicles.
              vehicles. In
                        In many
                           many cases, thieves use
                                cases, thieves use tools
                                                   tools no
                                                         no more
                                                            more advanced than aa USB
                                                                 advanced than    USB

 99   cable. Hyundai’s and
      cable. Hyundai's and Kia's
                           Kia’s business
                                 business decisions to reduce
                                          decisions to reduce costs, and thereby
                                                              costs, and thereby boost
                                                                                 boost

10
10    profits, by
      profits, by choosing not to
                  choosing not to equip their vehicles
                                  equip their vehicles with
                                                       with immobilizers
                                                            immobilizers or
                                                                         or other
                                                                            other

11
11    reasonable anti-theft
      reasonable anti-theft technology
                            technology have
                                       have resulted
                                            resulted in
                                                     in aa dangerous rash of
                                                           dangerous rash    thefts. This
                                                                          of thefts. This

12
12    vehicular crime
      vehicular       wave has
                crime wave has had
                               had aa significant
                                      significant impact
                                                  impact on law enforcement
                                                         on law enforcement operations,
                                                                            operations,

13
13    emergency services, and
      emergency services, and public
                              public safety,
                                     safety, particularly
                                             particularly for
                                                          for the
                                                              the Metropolitan
                                                                  Metropolitan

14
14    Government
      Government of Nashville and
                 of Nashville and Davidson
                                  Davidson County,
                                           County, Tennessee (“Metro Nashville").
                                                   Tennessee ("Metro Nashville”).

15
15          5.
            5.     In the
                   In the 1960s
                          1960s and
                                and 1970s,
                                    1970s, all
                                           all that
                                               that was
                                                    was needed
                                                        needed for
                                                               for aa successful
                                                                      successful vehicle
                                                                                 vehicle

16
16    heist was
      heist was aa little
                   little brute
                          brute force
                                force (to
                                      (to crack
                                          crack open the ignition
                                                open the ignition column) and aa key-shaped
                                                                  column) and    key-shaped

17
17    object to start
      object to       the car
                start the     and drive
                          car and drive off within seconds.
                                        off within seconds. Thanks to modem
                                                            Thanks to modern technology,
                                                                             technology,

18
18    this is
      this is no
              no longer
                 longer the
                        the case for most
                            case for most cars.
                                          cars.

19
19          6.
            6.     Hyundai and
                   Hyundai and Kia
                               Kia are
                                   are unique
                                       unique among
                                              among automobile
                                                    automobile manufacturers
                                                               manufacturers in
                                                                             in

20
20    failing to
      failing to install
                 install engine immobilizers or
                         engine immobilizers or other reasonable anti-theft
                                                other reasonable            technology in
                                                                 anti-theft technology in

21
21    most of
      most    their cars.
           of their cars. This is not
                          This is not because
                                      because the
                                              the technology
                                                  technology is
                                                             is somehow
                                                                somehow beyond
                                                                        beyond them—
                                                                               them—

22
22    in fact,
      in fact, Hyundai
               Hyundai and
                       and Kia
                           Kia vehicles
                               vehicles sold
                                        sold in
                                             in the
                                                the European
                                                    European and
                                                             and Canadian
                                                                 Canadian markets
                                                                          markets

23
23    incorporate vehicle
      incorporate vehicle immobilizers,
                          immobilizers, because
                                        because regulations
                                                regulations there
                                                            there expressly require them.
                                                                  expressly require them.

                                              22
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 1
 1    In the
      In the United
             United States, meanwhile, Hyundai
                    States, meanwhile, Hyundai and
                                               and Kia
                                                   Kia have
                                                       have decided to trade
                                                            decided to trade public
                                                                             public

22    safety for profits.
      safety for profits.

3
3            7.
             7.     The
                    The difference between the
                        difference between the proportion
                                               proportion of
                                                          of Hyundai
                                                             Hyundai and
                                                                     and Kia
                                                                         Kia vehicle
                                                                             vehicle

 44   models with
      models with immobilizers
                  immobilizers compared to all
                               compared to all other manufacturers is
                                               other manufacturers is staggering: for
                                                                      staggering: for

 55   the 2015
      the 2015 model
               model year,
                     year, for
                           for example,
                               example, only 26% of
                                        only 26%    Hyundai and
                                                 of Hyundai and Kia
                                                                Kia vehicles
                                                                    vehicles in
                                                                             in the
                                                                                the

 66   United States
      United        were equipped
             States were          with immobilizers,
                         equipped with immobilizers, compared to 96%
                                                     compared to 96% of vehicles from
                                                                     of vehicles from

 77   all other
      all       manufacturers.1
          other manufacturers.'

 8
 8           8.
             8.     Hyundai and
                    Hyundai and Kia
                                Kia are
                                    are aware
                                        aware of the well-documented
                                              of the well-documented benefit
                                                                     benefit of
                                                                             of

 99   immobilizer technology
      immobilizer technology in
                             in preventing
                                preventing thefts,
                                           thefts, as
                                                   as they
                                                      they opted to install
                                                           opted to install engine
                                                                            engine

10
10    immobilizers in
      immobilizers in their
                      their higher
                            higher end models and
                                   end models and in
                                                  in all
                                                     all of their 2023
                                                         of their 2023 vehicles.
                                                                       vehicles.

11
11           9.
             9.     Hyundai’s and
                    Hyundai's and Kia's
                                  Kia’s decisions to put
                                        decisions to put profits
                                                         profits over public safety
                                                                 over public safety have
                                                                                    have

12
12    had devastating
      had devastating consequences for Plaintiff
                      consequences for Plaintiff and
                                                 and its
                                                     its residents.
                                                         residents. Defendants'
                                                                    Defendants’ failure
                                                                                failure to
                                                                                        to

13
13    install industry-standard
      install industry-standard immobilization
                                immobilization technology
                                               technology or
                                                          or other reasonable anti-theft
                                                             other reasonable anti-theft

14
14    measures in
      measures in the
                  the Susceptible
                      Susceptible Vehicles, notwithstanding decades
                                  Vehicles, notwithstanding decades of research
                                                                    of research

15
15    supporting the deterrent
      supporting the deterrent effects
                               effects of
                                       of such technology,2 has
                                          such technology,2 has opened the floodgates
                                                                opened the floodgates to
                                                                                      to

16
16    vehicle theft,
      vehicle theft, reckless
                     reckless driving,
                              driving, crime
                                       crime sprees,
                                             sprees, and
                                                     and endangered public safety.
                                                         endangered public safety.

17
17    1
        Hyundai and
      1 Hyundai      and Kia
                          Kia theft
                              theft losses,  38 HLDI
                                    losses, 38  HLDI Bull.
                                                       Bull. 28,
                                                             28, 22 (Dec.
                                                                    (Dec. 2021),
                                                                          2021),
        https://www.iihs.org/media/0e14ba17-a3c2-4375-8e66-
        https : //wvvw.iihs. org/media/0el4bal7-a3c2 -4375-8e66-
18
18      081df9101ed2/opm7QA/HLDI%20Research/Bulletins/hldi_bulletin_38-28.pdf.
        081df9101ed2/opm7QA/HLDI%20Research/Bulletins/h1di bulletin 38-28.pdf.
      2
19
19      Petition for
      2 Petition    for Exemption
                        Exemption From
                                     From the
                                            the Vehicle
                                                Vehicle Theft  Prevention Standard;
                                                         Theft Prevention                 Hyundai-
                                                                             Standard; Hyundai-
        Kia America
        Kia  America Technical
                         Technical Center,    Inc., 72
                                     Center, Inc.,     Fed. Reg.
                                                    72 Fed.  Reg. 39,661
                                                                   39,661 (July
                                                                           (July 19,
                                                                                  19, 2007),
                                                                                       2007),
20
20      https://www.govinfo.gov/content/pkg/FR-2007-07-19/pdf/FR-2007-07-19.pdf;
        http s: //wvvw. govinfo . gov/content/pkg/FR-2007-07 -19/p df/FR-2007-07 -19 .pdf;
        see also
        see  also Petition
                    Petition for
                             for Exemption
                                 Exemption From
                                              From the
                                                     the Vehicle
                                                         Vehicle Theft   Prevention Standard;
                                                                   Theft Prevention     Standard;
21
21      Hyundai-Kia America
        Hyundai-Kia       America Technical
                                    Technical Center,
                                                Center, Inc.,
                                                        Inc., 75  Fed. Reg.
                                                              75 Fed.  Reg. 1,447
                                                                             1,447 (Jan.
                                                                                     (Jan. 11,
                                                                                            11, 2010),
                                                                                                2010),
        https://www.govinfo.gov/content/pkg/FR-2010-01-11/pdf/2010-236.pdf
        https://www.govinfo.gov/content/pkg/FR-2010-01-11/pdf/2010-236                       (NHTSA
                                                                                        .pdf (NHT  SA
22
22
        notice granting
        notice              an identical
                  granting an  identical exemption
                                         exemption forfor the
                                                          the Kia
                                                              Kia Amanti
                                                                   Amanti vehicle
                                                                            vehicle line
                                                                                      line beginning
                                                                                           beginning
23
23      in model
        in model yearyear 2009
                          2009 based
                                 based on  Defendant Kia's
                                       on Defendant    Kia’s representation
                                                              representation that
                                                                               that the
                                                                                    the immobilizer
                                                                                          immobilizer
        installation for
        installation   for that
                           that specific
                                specific model
                                         model should    substantially reduce
                                                 should substantially   reduce theft
                                                                                 theft rates).
                                                                                        rates).
                                                  3
                                                  3
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 11         10.
            10.    This
                   This epidemic
                        epidemic started in Milwaukee
                                 started in Milwaukee and
                                                      and spread nationwide. By
                                                          spread nationwide. By June
                                                                                June

22    2021, the
      2021, the Milwaukee
                Milwaukee Police
                          Police Department
                                 Department reported
                                            reported that
                                                     that the
                                                          the theft
                                                              theft of Hyundai and
                                                                    of Hyundai and Kia
                                                                                   Kia

33    vehicles had
      vehicles had increased
                   increased by
                             by 2,500%
                                2,500% since
                                       since the
                                             the previous
                                                 previous year,
                                                          year, with
                                                                with an
                                                                     an average
                                                                        average of 30
                                                                                of 30

 44   cars being stolen
      cars being stolen per day.33 This
                        per day.        trend then
                                   This trend then spread nationwide, enabled
                                                   spread nationwide,         by millions
                                                                      enabled by millions

 55   of Hyundai and
      of Hyundai and Kia
                     Kia vehicles
                         vehicles lacking
                                  lacking immobilizers
                                          immobilizers or
                                                       or other reasonable anti-theft
                                                          other reasonable anti-theft

 66   technology. As
      technology. As explained below, the
                     explained below, the crime wave continues
                                          crime wave           to this
                                                     continues to this day in
                                                                       day in

 77   communities
      communities coast to coast—and
                  coast to           those communities
                           coast—and those communities are
                                                       are left to pay
                                                           left to     the price.
                                                                   pay the price.

 8
 8          11.
            11.    Vehicle theft is
                   Vehicle theft is not
                                    not only
                                        only aa property
                                                property crime affecting vehicle
                                                         crime affecting vehicle owners, but
                                                                                 owners, but

 99   it also
      it also constitutes
              constitutes aa grave threat to
                             grave threat to public
                                             public safety.
                                                    safety. Vehicle theft goes
                                                            Vehicle theft      hand in
                                                                          goes hand in hand
                                                                                       hand

10
10    with reckless
      with reckless driving, which in
                    driving, which in turn
                                      turn can result in
                                           can result in injuries
                                                         injuries and/or
                                                                  and/or death. It can
                                                                         death. It     result
                                                                                   can result

11
11    in increased
      in increased violence,
                   violence, as
                             as many
                                many car
                                     car owners are unlikely
                                         owners are unlikely to
                                                             to part
                                                                part with
                                                                     with their
                                                                          their vehicles
                                                                                vehicles

12
12    willingly. It
      willingly.    also consumes
                 It also          law enforcement
                         consumes law             and emergency
                                      enforcement and           resources and
                                                      emergency resources and deprives
                                                                              deprives

13
13    the public
      the public of
                 of safe streets and
                    safe streets and sidewalks.
                                     sidewalks.

14
14          12.
            12.    The
                   The skyrocketing rate of
                       skyrocketing rate    Kia and
                                         of Kia and Hyundai
                                                    Hyundai vehicle
                                                            vehicle thefts
                                                                    thefts has
                                                                           has drastically
                                                                               drastically

15
15    impacted Plaintiff's
      impacted Plaintiff’s resources,
                           resources, including
                                      including those
                                                those of its first
                                                      of its first responders.
                                                                   responders. Its
                                                                               Its residents
                                                                                   residents

16
16    are subjected
      are           to increasingly
          subjected to increasingly dangerous
                                    dangerous conditions
                                              conditions on their streets,
                                                         on their          as car
                                                                  streets, as     thieves
                                                                              car thieves

17
17    (many of
      (many    them teenagers)
            of them teenagers) are taking advantage
                               are taking advantage of Hyundai’s and
                                                    of Hyundai's and Kia's
                                                                     Kia’s failures
                                                                           failures and
                                                                                    and

18
18    engaging in reckless
      engaging in reckless driving,
                           driving, endangering Plaintiff’s employees,
                                    endangering Plaintiff's            residents, and
                                                            employees, residents, and

19
19    property.
      property.

20
20

21
21
      3
      3 James
        James Gilboy,
              Gilboy, Why Milwaukee Might
                      Why Milwaukee Might Sue
                                          Sue Hyundai,
                                              Hyundai, Kia
                                                       Kia Over
                                                           Over Stolen
                                                                Stolen Car
                                                                       Car
22
22
       Epidemic, TheDrive.com
       Epidemic,                 (Dec. 11,
                  TheDrive.com (Dec.   11, 2021,
                                           2021, 11:15
                                                 11:15 AM),
                                                       AM),
23
23     https://www.thedrive.com/news/43454/why-milwaukee-might-sue-hyundai-kia-
       https://vvvvw.thedrive.com/news/43454/why-milwaukee-might-sue-hyundai-kia-
       over-stolen-car-epidemic.
       over-stolen-car-epidemic.
                                              44
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                                               #:8



 11          13.
             13.    Defendants’ conduct
                    Defendants'         has created
                                conduct has created aa public nuisance that
                                                       public nuisance that could have
                                                                            could have

22    been avoided
      been avoided had
                   had they
                       they followed
                            followed industry-wide
                                     industry-wide standards
                                                   standards and
                                                             and installed
                                                                 installed immobilizer
                                                                           immobilizer

33    devices
      devices or taken other
              or taken       reasonable measures
                       other reasonable measures to
                                                 to deter thefts of
                                                    deter thefts    their vehicles.
                                                                 of their vehicles.

 44          14.
             14.    Among other
                    Among       harms, Plaintiff
                          other harms, Plaintiff has
                                                 has been
                                                     been forced
                                                          forced to
                                                                 to divert funds and
                                                                    divert funds and risk
                                                                                     risk

 55   officer and public
      officer and public safety
                         safety to
                                to combat the growing
                                   combat the         burden caused
                                              growing burden        by increased
                                                             caused by increased

 66   Hyundai and
      Hyundai and Kia
                  Kia vehicle
                      vehicle thefts
                              thefts and
                                     and their
                                         their many
                                               many associated
                                                    associated dangers, including
                                                               dangers, including

 77   reckless driving.
      reckless driving.

 8
 8                              II.
                                II.   JURISDICTION AND VENUE
                                      JURISDICTION AND VENUE

 99          A.
             A.     Subject
                    Subject Matter
                            Matter Jurisdiction
                                   Jurisdiction

10
10           15.
             15.    This
                    This Court has subject
                         Court has         matter jurisdiction
                                   subject matter jurisdiction pursuant
                                                               pursuant to
                                                                        to 28
                                                                           28 U.S.C.
                                                                              U.S.C.

11
11    §§ 1332(a),
         1332(a), as
                  as the
                     the amount
                         amount in
                                in controversy
                                   controversy exceeds
                                               exceeds $75,000 and there
                                                       $75,000 and there is
                                                                         is complete
                                                                            complete

12
12    diversity between the
      diversity between the parties.
                            parties. Plaintiff
                                     Plaintiff is
                                               is regarded
                                                  regarded as
                                                           as aa citizen
                                                                 citizen of the State
                                                                         of the State of
                                                                                      of

13
13    Tennessee, for the
      Tennessee, for the purposes
                         purposes of
                                  of diversity jurisdiction. Bullard
                                     diversity jurisdiction. Bullard v.
                                                                     v. City
                                                                        City of
                                                                             of Cisco,
                                                                                Cisco, Texas,
                                                                                       Texas,

14
14    290 U.S.
      290 U.S. 179,
               179, 187
                    187 (1933).
                        (1933). Defendants
                                Defendants HMA
                                           HMA and
                                               and KA
                                                   KA are
                                                      are citizens
                                                          citizens of the State
                                                                   of the State of
                                                                                of

15
15    California, where they
      California, where they are
                             are headquartered
                                 headquartered and
                                               and incorporated.
                                                   incorporated. Defendants
                                                                 Defendants HMC
                                                                            HMC and
                                                                                and

16
16    KC are
      KC are both
             both multinational
                  multinational automakers,
                                automakers, headquartered
                                            headquartered in
                                                          in Seoul,
                                                             Seoul, South Korea.
                                                                    South Korea.

17
17           B.
             B.     Personal
                    Personal Jurisdiction
                             Jurisdiction

18
18           16.
             16.    This
                    This Court has general
                         Court has         personal jurisdiction
                                   general personal jurisdiction over Defendants HMA
                                                                 over Defendants HMA

19
19    and KA
      and KA because
             because they
                     they are
                          are incorporated
                              incorporated and
                                           and headquartered
                                               headquartered in
                                                             in the
                                                                the State
                                                                    State of
                                                                          of California.
                                                                             California.

20
20    HMA and
      HMA and KA
              KA have
                 have transacted
                      transacted and
                                 and done business in
                                     done business in the
                                                      the State
                                                          State of
                                                                of California and in
                                                                   California and in

21
21    this judicial
      this judicial district.
                    district.

22
22           17.
             17     As detailed
                    As          below, this
                       detailed below, this Court has specific
                                            Court has          jurisdiction over
                                                      specific jurisdiction      HMC and
                                                                            over HMC and

23
23    KC under
      KC under the
               the long-arm
                   long-arm statute
                            statute of
                                    of California based on
                                       California based    (1) their
                                                        on (1) their forum-related
                                                                     forum-related

                                              55
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 11   activities from
      activities from which
                      which this
                            this case arises; (2)
                                 case arises; (2) the
                                                  the forum-related
                                                      forum-related activities
                                                                    activities of HMC’s
                                                                               of HMC's

22    primary domestic
      primary          subsidiary, HMA,
              domestic subsidiary, HMA, which
                                        which HMC
                                              HMC substantially
                                                  substantially controls; and (3)
                                                                controls; and (3) the
                                                                                  the

33    forum-related activities
      forum-related activities of KC’s primary
                               of KC's primary domestic
                                               domestic subsidiary, KA, which
                                                        subsidiary, KA, which KC
                                                                              KC

 44   substantially
      substantially controls.
                    controls.

 55                  1.
                     1.    HMC’s and
                           HMC's and KC’s
                                     KC's Forum-Related Activities
                                          Forum-Related Activities

 66           18.
              18.    HMC is
                     HMC is aa South Korea-based company,
                               South Korea-based          and its
                                                 company, and its substantial activities
                                                                  substantial activities

 77   directed at the
      directed at the United
                      United States
                             States give rise to
                                    give rise to and
                                                 and relate
                                                     relate to
                                                            to Plaintiff's
                                                               Plaintiff’s claims.
                                                                           claims.

 8
 8            19.
              19.    In aa recent
                     In    recent complaint to enforce
                                  complaint to         its trademark
                                               enforce its trademark rights,
                                                                     rights, HMC
                                                                             HMC represented
                                                                                 represented

 99   that it
      that it "currently
              “currently designs, manufactures, markets,
                         designs, manufactures, markets, distributes, and sells
                                                         distributes, and sells aa wide
                                                                                   wide range
                                                                                        range

10
10    of automobile and
      of automobile and related
                        related automobile
                                automobile parts
                                           parts to
                                                 to over 190 countries
                                                    over 190           throughout the
                                                             countries throughout the

11
11    world, including
      world, including the
                       the United
                           United States, under the
                                  States, under the trademark Ilyundai.'"44
                                                    trademark ‘Hyundai.’”

12
12            20.
              20.    HMC and
                     HMC and KC
                             KC design, manufacture, market,
                                design, manufacture, market, distribute,
                                                             distribute, and
                                                                         and sell the
                                                                             sell the

13
13    Susceptible
      Susceptible Vehicles under their
                  Vehicles under their registered
                                       registered trademarks
                                                  trademarks "Hyundai"
                                                             “Hyundai” and
                                                                       and "Kia,"
                                                                           “Kia,”

14
14    respectively. Between
      respectively. Between 2011
                            2011 and
                                 and 2022,
                                     2022, when
                                           when the
                                                the Susceptible
                                                    Susceptible Vehicles were sold
                                                                Vehicles were sold and
                                                                                   and

15
15    distributed in Plaintiff's
      distributed in Plaintiff’s jurisdiction,
                                 jurisdiction, HMC
                                               HMC and
                                                   and KC
                                                       KC purposefully
                                                          purposefully availed
                                                                       availed themselves
                                                                               themselves

16
16    of the United
      of the United States’ legal protections
                    States' legal protections by
                                              by registering
                                                 registering and maintaining registrations
                                                             and maintaining registrations

17
17    with the
      with the United
               United States
                      States government for trademarks
                             government for trademarks associated
                                                       associated with
                                                                  with their
                                                                       their vehicles
                                                                             vehicles and
                                                                                      and

18
18    parts, which
      parts, which HMC
                   HMC and
                       and KC
                           KC used
                              used to
                                   to identify
                                      identify and
                                               and distinguish their respective
                                                   distinguish their respective vehicles
                                                                                vehicles

19
19    and parts
      and parts in
                in the
                   the United
                       United States, this district,
                              States, this           and Plaintiff's
                                           district, and Plaintiff’s jurisdiction.
                                                                     jurisdiction.

20
20            21.
              21.    HMC and
                     HMC and KC
                             KC purposefully
                                purposefully availed
                                             availed themselves
                                                     themselves of markets in
                                                                of markets in the
                                                                              the

21
21    United States,
      United         including in
             States, including in this
                                  this district and Plaintiff's
                                       district and Plaintiff’s jurisdiction,
                                                                jurisdiction, as
                                                                              as each
                                                                                 each company
                                                                                      company

22
22
      4
23
23        First Amended Complaint at 6, Hyundai Motor Am., Inc. v. Midwest Indus.
      4 First Amended Complaint at 6, Hyundai Motor Am., Inc. v. Midwest Indus.
          Supply Co.,
          Supply      No. 2:17-cv-3010-JCM-GWF
                 Co., No. 2:17-cv-3010-JCM-GWF (D.
                                                 (D. Nev.
                                                     Nev. Nov.
                                                          Nov. 21,
                                                                21, 2018),
                                                                    2018), Dkt.
                                                                           Dkt. No.
                                                                                No. 34.
                                                                                    34.
                                               66
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 11    sells
       sells 500 thousand vehicles
             500 thousand vehicles per
                                   per year
                                       year in
                                            in this
                                               this market
                                                    market through
                                                           through their
                                                                   their respective
                                                                         respective domestic
                                                                                    domestic

22     subsidiaries, HMA and
       subsidiaries, HMA and KA.
                             KA.

33           22.
             22.    HMC and
                    HMC and KC
                            KC manufactured
                               manufactured over
                                            over eight million of
                                                 eight million    the Susceptible
                                                               of the Susceptible

 44    Vehicles, which were
       Vehicles, which were delivered to HMA
                            delivered to HMA and
                                             and KA
                                                 KA for
                                                    for sale in the
                                                        sale in the United
                                                                    United States. Upon
                                                                           States. Upon

 55   information and
      information and belief,
                      belief, HMC
                              HMC and
                                  and KC
                                      KC manufactured
                                         manufactured the
                                                      the majority
                                                          majority of the Susceptible
                                                                   of the Susceptible

 66    Vehicles
       Vehicles overseas in South
                overseas in       Korea. However,
                            South Korea. However, HMC
                                                  HMC and
                                                      and KC
                                                          KC segregated the
                                                             segregated the

 77    Susceptible
       Susceptible Vehicles intended for
                   Vehicles intended for sale in the
                                         sale in the United
                                                     United States and shipped
                                                            States and shipped those
                                                                               those

 8
 8    vehicles to
      vehicles to the
                  the United
                      United States with full
                             States with full knowledge
                                              knowledge and
                                                        and intent
                                                            intent that
                                                                   that HMA
                                                                        HMA and
                                                                            and KA
                                                                                KA

 99   would distribute
      would            them across
            distribute them across the
                                   the country.
                                       country.

10
10           23.
             23.    Rather than
                    Rather than passively
                                passively placing the Susceptible
                                          placing the Susceptible Vehicles into the
                                                                  Vehicles into the stream
                                                                                    stream

11
11     of
       of commerce, HMC and
          commerce, HMC and KC
                            KC intentionally
                               intentionally targeted
                                             targeted the
                                                      the distribution
                                                          distribution of the
                                                                       of the

12
12     Susceptible
       Susceptible Vehicles into United
                   Vehicles into United States markets specifically,
                                        States markets               because engine
                                                       specifically, because engine

13
13    immobilizers are
      immobilizers are not
                       not expressly required by
                           expressly required by law to sell
                                                 law to      the vehicles
                                                        sell the vehicles in
                                                                          in this
                                                                             this country.
                                                                                  country.

14
14           24.
             24.    HMC and
                    HMC and KC
                            KC played
                               played instrumental
                                      instrumental roles
                                                   roles in
                                                         in HMA's
                                                            HMA’s and
                                                                  and KA's
                                                                      KA’s analysis
                                                                           analysis

15
15    and decision-making
      and                 processes related
          decision-making processes related to
                                            to the
                                               the design and/or manufacture
                                                   design and/or manufacture of the
                                                                             of the

16
16     Susceptible
       Susceptible Vehicles without reasonable
                   Vehicles without reasonable anti-theft
                                               anti-theft technology,
                                                          technology, such as engine
                                                                      such as engine

17
17    immobilizers.
      immobilizers.

18
18           25.
             25.    Upon information
                    Upon information and
                                     and belief,
                                         belief, HMC
                                                 HMC and
                                                     and KC
                                                         KC both
                                                            both were
                                                                 were involved
                                                                      involved in
                                                                               in

19
19    monitoring vehicle
      monitoring vehicle thefts
                         thefts of the Susceptible
                                of the Susceptible Vehicles, as reported
                                                   Vehicles, as reported by
                                                                         by their
                                                                            their respective
                                                                                  respective

20
20     subsidiaries, HMA and
       subsidiaries, HMA and KA.
                             KA.

21
21

22
22

23
23

                                              77
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 1
 1           26.
             26.    HMC and
                    HMC and KC
                            KC purposely
                               purposely availed
                                         availed themselves
                                                 themselves of markets in
                                                            of markets in the
                                                                          the United
                                                                              United

22     States by regularly
       States by regularly submitting
                           submitting applications
                                      applications to
                                                   to the
                                                      the Environmental
                                                          Environmental Protection
                                                                        Protection Agency
                                                                                   Agency

3
3     to obtain
      to obtain certification required for
                certification required for the
                                           the sale
                                               sale of their vehicles
                                                    of their vehicles in
                                                                      in the
                                                                         the United States.55
                                                                             United States.

 44                 2. HMC's
                    2. HMC’s and
                               and KC’s  Control Over
                                    KC's Control Over Their
                                                      Their Respective
                                                            Respective
                       Subsidiaries
                       Subsidiaries
 55

 66          27.
             27.    HMC and
                    HMC and KC
                            KC exercise
                               exercise control
                                        control over HMA and
                                                over HMA and KA,
                                                             KA, respectively,
                                                                 respectively,

 77   through both
      through both formal
                   formal and
                          and informal
                              informal means.
                                       means.

 8
 8           28.
             28.    Upon information
                    Upon information and
                                     and belief,
                                         belief, HMC
                                                 HMC and
                                                     and KC
                                                         KC possess
                                                            possess the
                                                                    the power
                                                                        power to
                                                                              to

 99   appoint board
      appoint board members
                    members to
                            to HMA
                               HMA and
                                   and KA,
                                       KA, respectively,
                                           respectively, and
                                                         and both
                                                             both HMC
                                                                  HMC and
                                                                      and KC
                                                                          KC have
                                                                             have

10
10     exercised this power.
       exercised this power.

11
11           29.
             29.    HMC operates
                    HMC operates aa "Global
                                    “Global Command and Control
                                            Command and Control Center” with "walls
                                                                Center" with “walls

12
12     covered with television
       covered with television screens
                               screens and
                                       and computer monitors” that
                                           computer monitors" that track
                                                                   track "every
                                                                         “every operating
                                                                                operating

13
13    line at
      line at 27
              27 plants
                 plants in
                        in the
                           the world,
                               world, in
                                      in real
                                         real time,
                                              time, 24
                                                    24 hours
                                                       hours aa day, 365 days
                                                                day, 365         year.”6
                                                                         days aa year."6

14
14

15
15

16
16

17
17     5
         See, e.g.,
       5 See,       Letter from
              e.g., Letter from Hyundai
                                Hyundai America
                                        America Technical
                                                Technical Center to Director
                                                          Center to Director Linc
                                                                             Linc Wehrly
                                                                                  Wehrly
        re: Request
        re: Request for
                      for GHG
                          GHG credit    for High
                                 credit for High Efficiency
                                                   Efficiency Alternator
                                                               Alternator Technology   (June 10,
                                                                           Technology (June   10,
18
18      2019), https://www.epa.gov/sites/default/files/2019-07/documents/kmc-off-cycle-
        2019),  https://www.epa.gov/sites/default/files/2019-07/documents/kmc-off-cycle-
19
19      ghg-credit-high-efficiency-alternator-2019-06-10.pdf (writing
        ghg-credit-high-efficiency-alternator-2019-06-10.pdf         (writing on behalf of
                                                                              on behalf     KC,
                                                                                        of KC,
        f/k/a Kia
        f/k/a Kia Motors
                   Motors Corporation);     see also
                            Corporation); see    also Letter
                                                      Letter from
                                                             from Hyundai
                                                                   Hyundai America
                                                                             America Technical
                                                                                      Technical
20
20      Center  to Director
        Center to   Director Linc
                              Linc Wehrly    re: Request
                                    Wehrly re:   Request for
                                                          for GHG   Off-Cycle Credit
                                                              GHG Off-Cycle     Credit for
                                                                                       for HVAC
                                                                                           HVAC
        Brushless Motor
        Brushless   Motor Technology
                            Technology in in 2020
                                             2020 Model
                                                    Model Year   and later
                                                           Year and   later HMC
                                                                            HMC vehicles
                                                                                  vehicles (Dec.
                                                                                            (Dec.
21
21      15, 2020),
        15, 2020), https://vvvvw.epa.gov/system/files/documents/2022-09/hyundai-ghg-
                     https://www.epa.gov/system/files/documents/2022-09/hyundai-ghg-
        credit-pwm-hvac-blm-apl-2020-12-15.pdf.
        credit-pwm-hvac-blm-ap1-2020-12-15.pdf.
22
22    6
      6 William
        William J.   Holstein, Hyundai's
                  J. Holstein,  Hyundai’s Capabilities     Play, 70
                                             Capabilities Play,  70 Strategy  & Bus.
                                                                     Strategy &  Bus. 62,
                                                                                      62, 67-68
                                                                                           67–68
23
23      (Spring 2013),
        (Spring  2013), https://digitaledition.strategy-
                          https://digitaledition.strategy-
        business.com/publication/?m=6320&i=145911&p=70&ver=html5.
        business . com/publication/?m=6320&i=145911&p=70&ver=htm15.
                                                8
                                                8
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 11           30.
              30.     The production chief
                      The production       for aa Hyundai
                                     chief for    Hyundai plant
                                                          plant in
                                                                in Alabama
                                                                   Alabama noted
                                                                           noted that
                                                                                 that if
                                                                                      if there
                                                                                         there

22    is "a
      is “a hiccup
            hiccup at
                   at any
                      any of those boards,
                          of those boards, headquarters
                                           headquarters wants
                                                        wants to
                                                              to know
                                                                 know what
                                                                      what needs
                                                                           needs to
                                                                                 to be
                                                                                    be

33     done about it—right
       done about          now[.]”7
                  it—right now[.]"7

 44           31.
              31.     Upon information
                      Upon information and
                                       and belief,
                                           belief, KC
                                                   KC representatives
                                                      representatives similarly monitor
                                                                      similarly monitor

 55   Kia’s global
      Kia's global operations from HMC's
                   operations from HMC’s Global
                                         Global Command and Control
                                                Command and Control Center.
                                                                    Center.

 66           32.
              32.     Senior
                      Senior executives in South
                             executives in       Korea for
                                           South Korea for HMC
                                                           HMC and
                                                               and KC
                                                                   KC also
                                                                      also regularly
                                                                           regularly visit
                                                                                     visit

 77   Hyundai and
      Hyundai and Kia
                  Kia plants
                      plants and
                             and offices
                                 offices throughout
                                         throughout the
                                                    the United
                                                        United States, including HMA's
                                                               States, including HMA’s

 8
 8    and KA's
      and KA’s California headquarters, both
               California headquarters, both of which are
                                             of which are located
                                                          located in
                                                                  in this
                                                                     this district.
                                                                          district.

 99           33.
              33.     The
                      The common
                          common executives for HMC
                                 executives for HMC and
                                                    and HMA
                                                        HMA frequently
                                                            frequently overlap.
                                                                       overlap. Jose
                                                                                Jose

10
10    Muñoz, for
      Mu(ioz, for example, is the
                  example, is the current
                                  current Global
                                          Global Chief
                                                 Chief Operating
                                                       Operating Officer
                                                                 Officer of HMC and
                                                                         of HMC and

11
11     serves as the
       serves as the President
                     President and
                               and CEO
                                   CEO of HMA. Meanwhile,
                                       of HMA. Meanwhile, Brian
                                                          Brian Latouf
                                                                Latouf serves
                                                                       serves as
                                                                              as the
                                                                                 the

12
12     Global
       Global Chief
              Chief Safety
                    Safety Officer for HMC
                           Officer for HMC and
                                           and serves as the
                                               serves as the Chief
                                                             Chief Safety
                                                                   Safety Officer
                                                                          Officer of
                                                                                  of

13
13    HMA.
      HMA.

14
14            34.
              34      KC and
                      KC and KA
                             KA also
                                also share
                                     share executive
                                           executive employees.
                                                     employees. SeongKyu (Sean) Yoo
                                                                SeongKyu (Sean) Yoo

15
15     serves as President
       serves as President and
                           and CEO
                               CEO of KA, as
                                   of KA, as well
                                             well as
                                                  as Senior Managing Director
                                                     Senior Managing Director of KC.
                                                                              of KC.

16
16    Additionally, HMC
      Additionally, HMC and
                        and KC
                            KC have
                               have overlapping management, with
                                    overlapping management, with Eui-Sun
                                                                 Eui-Sun Chung
                                                                         Chung

17
17     serving as the
       serving as the President
                      President of KC and
                                of KC and the
                                          the Executive
                                              Executive Vice
                                                        Vice Chairman
                                                             Chairman of HMC.
                                                                      of HMC.

18
18            35.
              35.     Last, HMC
                      Last, HMC and
                                and KC
                                    KC control the public
                                       control the public name
                                                          name and
                                                               and brand
                                                                   brand of HMA and
                                                                         of HMA and

19
19    KA, respectively.
      KA, respectively.

20
20            C.
              C.      Venue
                      Venue

21
21            36.
              36.     Venue is proper
                      Venue is proper in
                                      in this
                                         this judicial
                                              judicial district pursuant to
                                                       district pursuant to 28
                                                                            28 U.S.C.
                                                                               U.S.C. §§ 1391
                                                                                         1391

22
22    because Defendants
      because Defendants transact
                         transact substantial
                                  substantial business
                                              business in
                                                       in this
                                                          this district.
                                                               district. Venue is also
                                                                         Venue is also

23
23     7
         Id. at
       7 Id. at 68.
                68.
                                                99
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 1
 1    proper for
      proper for HMA
                 HMA and
                     and KA
                         KA because
                            because they
                                    they are
                                         are headquartered
                                             headquartered here,
                                                           here, have
                                                                 have research
                                                                      research and
                                                                               and

22     development
       development offices here, and
                   offices here, and aa substantial
                                        substantial part
                                                    part of the events/omissions
                                                         of the events/omissions giving rise
                                                                                 giving rise

3
3     to the
      to the claims
             claims occurred in this
                    occurred in this district.
                                     district.

 44                                          III.
                                             III.     PARTIES
                                                      PARTIES

 55          A.
             A.     Plaintiff
                    Plaintiff

 66          37.
             37.    Plaintiff Metropolitan
                    Plaintiff Metropolitan Government
                                           Government of Nashville and
                                                      of Nashville and Davidson
                                                                       Davidson

 77    County,
       County, Tennessee (“Metro Nashville")
               Tennessee ("Metro Nashville”) is
                                             is the
                                                the second
                                                    second most
                                                           most populous
                                                                populous county in
                                                                         county in

 8
 8     Tennessee.'8 Nashville
       Tennessee.   Nashville is
                              is the
                                 the state
                                     state capital
                                           capital and the most
                                                   and the most populous
                                                                populous city
                                                                         city in
                                                                              in Tennessee.
                                                                                 Tennessee.

 99    The Nashville metropolitan
       The Nashville metropolitan area
                                  area is
                                       is one
                                          one of the fastest
                                              of the fastest growing metropolitan areas
                                                             growing metropolitan areas in
                                                                                        in

10
10    the United
      the        States.99
          United States.

11
11           B.
             B.     Defendants
                    Defendants

12
12                  1.
                    1.       Hyundai Motor
                             Hyundai Motor Company
                                           Company

13
13           38.
             38.    Defendant Hyundai
                    Defendant Hyundai Motor
                                      Motor Company is aa multinational
                                            Company is    multinational automaker
                                                                        automaker

14
14    headquartered in
      headquartered in Seoul,
                       Seoul, South Korea. HMC,
                              South Korea. HMC, together
                                                together with
                                                         with Defendants
                                                              Defendants Kia
                                                                         Kia

15
15     Corporation, Kia America,
       Corporation, Kia America, Inc.,
                                 Inc., and
                                       and Hyundai
                                           Hyundai Motor
                                                   Motor America,
                                                         America, comprise the
                                                                  comprise the

16
16    Hyundai Motor
      Hyundai Motor Group, which designs,
                    Group, which          manufactures, and
                                 designs, manufactures, and distributes the
                                                            distributes the

17
17     Susceptible
       Susceptible Vehicles referenced in
                   Vehicles referenced in this
                                          this Complaint. HMC is
                                               Complaint. HMC is the
                                                                 the parent
                                                                     parent of Hyundai
                                                                            of Hyundai

18
18    Motor America.
      Motor America.

19
19

20
20

21
21    88 Tennessee
         Tennessee Counties
                    Counties by  Population (2024),
                              by Population (2024), Tennessee   Demographics (June
                                                    Tennessee Demographics     (June 20,
                                                                                     20,
         2024), https://www.tennessee-demographics.com/countiesbypopulation.
         2024), https://www.tennessee-demographics.com/countiesbypopulation.
22
22     9
         2022 Population
       9 2022 Population Estimates
                           Estimates Show
                                     Show Big
                                           Big Cities
                                               Cities on
                                                      on the Move in
                                                         the Move   in Tennessee, University
                                                                       Tennessee, University
23
23       of
         of Tennessee   Knoxville (May
            Tennessee Knoxville   (May 18,
                                       18, 2023),
                                           2023), https://tnsdc.utk.edu/2023/05/18/2022-
                                                  https://tnsdc.utk.edu/2023/05/18/2022-
         population-estimates-show-big-cities-on-the-move-in-tennessee/.
         population-estimates-show-big-cities-on-the-move-in-tennessee/.
                                                 10
                                                 10
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 11                 2.
                    2.     Hyundai Motor
                           Hyundai       America
                                   Motor America

22           39.
             39.    Defendant Hyundai
                    Defendant Hyundai Motor
                                      Motor America
                                            America is
                                                    is an
                                                       an automobile
                                                          automobile designer,
                                                                     designer,

33    manufacturer, distributor,
      manufacturer,              and/or servicer
                    distributor, and/or servicer of new motor
                                                 of new motor vehicles
                                                              vehicles under
                                                                       under the
                                                                             the Hyundai
                                                                                 Hyundai

 44   brand doing
      brand       business within
            doing business within the
                                  the United
                                      United States. HMA is
                                             States. HMA is incorporated
                                                            incorporated and
                                                                         and

 55   headquartered in
      headquartered in the
                       the State
                           State of
                                 of California. HMA’s principal
                                    California. HMA's principal place
                                                                place of business is
                                                                      of business is

 66   located at
      located at 10550
                 10550 Talbert Avenue, Fountain
                       Talbert Avenue, Fountain Valley, California. HMA
                                                Valley, California. HMA distributes,
                                                                        distributes,

 77   markets, leases,
      markets, leases, warrants,
                       warrants, and
                                 and oversees regulatory compliance
                                     oversees regulatory            and warranty
                                                         compliance and warranty claims
                                                                                 claims

 8
 8    for Hyundai-brand
      for Hyundai-brand vehicles
                        vehicles through
                                 through aa network
                                            network of
                                                    of over 800 dealers
                                                       over 800         throughout the
                                                                dealers throughout the

 99   United States
      United        from its
             States from its headquarters
                             headquarters in
                                          in California. Defendant HMA
                                             California. Defendant HMA engages
                                                                       engages in
                                                                               in

10
10     continuous and substantial
       continuous and substantial business
                                  business in
                                           in California.
                                              California.

11
11                  3.
                    3.     Kia Corporation
                           Kia Corporation

12
12           40.
             40.    Defendant
                    Defendant     Kia
                                  Kia    Corporation
                                         Corporation    is
                                                        is   aa   multinational
                                                                  multinational   automaker
                                                                                  automaker

13
13    headquartered in
      headquartered in Seoul,
                       Seoul, South Korea. KC
                              South Korea. KC is
                                              is the
                                                 the parent
                                                     parent corporation
                                                            corporation of Kia America,
                                                                        of Kia America,

14
14    Inc. As
      Inc. As of December 31,
              of December 31, 2017,
                              2017, Defendant
                                    Defendant KC's
                                              KC’s largest
                                                   largest shareholder was HMC,
                                                           shareholder was HMC,

15
15    which holds
      which holds 33.88%
                  33.88% of KC’s stock.'°
                         of KC's stock.10

16
16                  4.
                    4.     Kia America, Inc.
                           Kia America, Inc.

17
17           41.
             41.    Defendant Kia
                    Defendant Kia America,
                                  America, Inc. is aa manufacturer
                                           Inc. is    manufacturer and
                                                                   and distributor
                                                                       distributor of new
                                                                                   of new

18
18    motor vehicles
      motor vehicles under
                     under the
                           the Kia
                               Kia brand
                                   brand and
                                         and is
                                             is incorporated
                                                incorporated and
                                                             and headquartered
                                                                 headquartered in
                                                                               in the
                                                                                  the

19
19     State
       State of
             of California. KA’ss principal
                California. KA'   principal place
                                            place of business is
                                                  of business is located
                                                                 located at
                                                                         at 111
                                                                            111 Peters
                                                                                Peters Canyon
                                                                                       Canyon

20
20    Road, Irvine,
      Road, Irvine, California. KA distributes,
                    California. KA              markets, leases,
                                   distributes, markets, leases, warrants,
                                                                 warrants, and
                                                                           and oversees
                                                                               oversees

21
21    regulatory compliance
      regulatory            and warranty
                 compliance and warranty claims for Kia-brand
                                         claims for Kia-brand vehicles
                                                              vehicles through
                                                                       through aa

22
22    10
      1° The  Future: Kia
         The Future:  Kia Motors
                          Motors Annual
                                 Annual Report
                                        Report 2017,
                                               2017, Kia,
                                                       Kia, 11,
                                                            11,
23
23      https://worldwide.kia.com/int/company/ir/archive/annual-
        https://worldwide.kia.com/int/company/ir/archive/annual-
        report/download/B200002757/F200012579
        report/download/B200002757/F2000           (last visited
                                           12579 (last   visited Aug.
                                                                 Aug. 2,
                                                                      2, 2024).
                                                                         2024).
                                               11
                                               11
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 11   network of
      network of over
                 over 700
                      700 dealers throughout the
                          dealers throughout the United
                                                 United States from its
                                                        States from its headquarters
                                                                        headquarters in
                                                                                     in

22     California. Defendant KA
       California. Defendant KA engages in continuous
                                engages in            and substantial
                                           continuous and             business in
                                                          substantial business in

33     California.
       California.

 44                          IV.
                             IV.    THE
                                    THE KIA HYUNDAI THEFT
                                        KIA HYUNDAI       WAVE
                                                    THEFT WAVE

 55          A.
             A.      Measures
                     Measures to
                              to Prevent Vehicle Thefts
                                 Prevent Vehicle        Have Existed
                                                 Thefts Have Existed for
                                                                     for over
                                                                         over aa
                     Century
                     Century
 66

 77          42.
             42.     Since the invention
                     Since the invention of
                                         of gasoline-powered
                                            gasoline-powered automobiles
                                                             automobiles at the close
                                                                         at the close of
                                                                                      of

 8
 8    the nineteenth
      the nineteenth century,
                     century, consumers have needed
                              consumers have needed effective ways to
                                                    effective ways to keep
                                                                      keep their
                                                                           their vehicles
                                                                                 vehicles

 99   from being
      from being stolen.
                 stolen. Thus,
                         Thus, efforts to prevent
                               efforts to prevent theft
                                                  theft or unauthorized access
                                                        or unauthorized access to
                                                                               to

10
10    automobiles have
      automobiles have tracked
                       tracked vehicle
                               vehicle development. In 1919,
                                       development. In 1919, St.
                                                             St. George Evans and
                                                                 George Evans and

11
11    Edward B.
      Edward B. Birkenbeuel
                Birkenbeuel invented
                            invented the
                                     the first
                                         first electric immobilizer/vehicle security
                                               electric immobilizer/vehicle security

12
12    system.11
      system."

13
13           43.
             43.     Labeled the
                     Labeled the "Automobile-Theft
                                 “Automobile-Theft Preventer"
                                                   Preventer” the
                                                              the purpose
                                                                  purpose of Evans and
                                                                          of Evans and

14
14    Birkenbeuel’s invention
      Birkenbeuel's invention was
                              was relatively
                                  relatively straightforward: “to provide
                                             straightforward: "to provide aa means
                                                                             means for
                                                                                   for

15
15    automatically signaling
      automatically           an attempt
                    signaling an attempt to
                                         to move
                                            move an
                                                 an automobile
                                                    automobile by
                                                               by unauthorized
                                                                  unauthorized persons;
                                                                               persons;

16
16    and to
      and to provide
             provide aa means
                        means for
                              for locking
                                  locking the
                                          the electric
                                              electric circuit
                                                       circuit open, in which
                                                               open, in which case it will
                                                                              case it will be
                                                                                           be
                                                    12
17
17    impossible to
      impossible to move
                    move the
                         the car by its
                             car by its own
                                        own power.”
                                            power."'

18
18           44.
             44.     Evans and
                     Evans and Birkenbeuel's
                               Birkenbeuel’s immobilizer/alarm
                                             immobilizer/alarm system
                                                               system consisted
                                                                      consisted of
                                                                                of aa

19
19    three-by-three switch
      three-by-three        panel that
                     switch panel that connected to the
                                       connected to the car’s battery, horn,
                                                        car's battery, horn, and
                                                                             and ignition.
                                                                                 ignition.

20
20    Upon exiting
      Upon exiting aa vehicle,
                      vehicle, aa driver
                                  driver could turn aa few
                                         could turn    few switches
                                                           switches on the panel
                                                                    on the panel to
                                                                                 to different
                                                                                    different

21
21

22
22
       11
23
23       U.S. Patent
      " U.S.   Patent No.
                        No. 1,300,150
                             1,300,150 (issued
                                       (issued Apr.
                                               Apr. 8,
                                                    8, 1919).
                                                       1919).
      12
         Id. at
      12 Id  at col.
                col. 11 11.
                        ll. 14-20.
                            14–20.
                                               12
                                               12
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 11   positions that,
      positions that, until
                      until released,
                            released, would
                                      would divert
                                            divert electricity to the
                                                   electricity to the horn
                                                                      horn instead
                                                                           instead of the
                                                                                   of the

22    ignition should
      ignition should an unauthorized user
                      an unauthorized user attempt to start
                                           attempt to       the vehicle.
                                                      start the vehicle.

33
                                                    ST. GEORGE EVANS & E. B. IIIIKENSEVEL.
                                                                       t•Ill
                                                           AM...               •Ia.   M.

                                       1,300.150.                                            Patented Apr. 8,1919.



 44

 55
                                                                                             Va
 66                                                                4
                                                                       w.



 77
                                                                                      4

 8
 8

 99

10
10                                                   Fr#J
                                                                                           17:f 4-

                                                                                                     A4 . 6 "7. 4• `'r


11
                                                                                                        vi•EffTORS
11

12
12          Sketches
            Sketches for
                     for Evans & Birkenbeuel’s
                         Evans &               “Automobile Theft
                                 Birkenbeuel's "Automobile Theft Preventer” 13
                                                                 Preventer"13
13
13

14
14           45.
             45.    The timing of
                    The timing    the first
                               of the first immobilizer
                                            immobilizer patent
                                                        patent coincided with Congress’s
                                                               coincided with Congress's

15
15     enactment
       enactment of the National
                 of the National Motor
                                 Motor Vehicle
                                       Vehicle Theft Act, 18
                                               Theft Act, 18 U.S.C.
                                                             U.S.C. §§ 2311
                                                                       2311 et seq., which
                                                                            et seq., which

16
16    made the
      made the interstate
               interstate transportation
                          transportation of
                                         of stolen vehicles aa federal
                                            stolen vehicles    federal crime.
                                                                       crime. The law passed,
                                                                              The law passed,

17
17    in part,
      in part, to
               to respond
                  respond to
                          to the
                             the growing number of
                                 growing number    automobile thefts
                                                of automobile thefts around the country.
                                                                     around the country.

18
18           46.
             46.    As time
                    As time passed
                            passed and
                                   and technology
                                       technology advanced,
                                                  advanced, the
                                                            the United
                                                                United States pursued
                                                                       States pursued

19
19    further efforts
      further         to promulgate
              efforts to promulgate vehicle
                                    vehicle safety
                                            safety standards.
                                                   standards. These
                                                              These efforts were also
                                                                    efforts were also fueled
                                                                                      fueled

20
20    by the
      by the post-war
             post-war rise
                      rise in
                           in vehicle
                              vehicle thefts
                                      thefts among
                                             among juveniles
                                                   juveniles and
                                                             and young
                                                                 young adults,
                                                                       adults, "who
                                                                               “who took
                                                                                    took

21
21     cars for joyriding
       cars for joyriding and transportation.”14
                          and transportation."14

22
22    13
      13 Id. at
         Id. at figs.
                figs. 1,
                      1, 2,
                         2, 3,
                            3, 4.
                               4.
      14
23
23       Anthony Dixon
      14 Anthony    Dixon & & Graham    Farrell, Age-period-cohort
                                Graham Farrell,  Age-period-cohort effects
                                                                     effects in  half a
                                                                              in half a century
                                                                                        century of
                                                                                                of
        motor
        motor vehicle
                vehicle theft
                         theft in
                               in the
                                  the United States, 99 Crime
                                      United States,    Crime Sci. 17, 1,
                                                              Sci. 17, 1, 33 (2020),
                                                                             (2020),
                                                      13
                                                      13
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 1
 1           47.
             47.    In 1966,
                    In 1966, Congress
                             Congress passed the National
                                      passed the National Traffic
                                                          Traffic and Motor Vehicle
                                                                  and Motor Vehicle

22     Safety Act (the
       Safety Act (the "Safety
                       “Safety Act"),
                               Act”), with
                                      with the
                                           the aim
                                               aim of administering new
                                                   of administering new motor
                                                                        motor vehicle
                                                                              vehicle and
                                                                                      and
                               15
3
3     traffic safety
      traffic safety standards.
                     standards.15 Administration of
                                  Administration    the Safety
                                                 of the        Act was
                                                        Safety Act was overseen by the
                                                                       overseen by the

 44   newly created
      newly         Department of
            created Department of Transportation through its
                                  Transportation through its sub-agency:
                                                             sub-agency: the
                                                                         the National
                                                                             National

 55   Highway Traffic
      Highway Traffic Safety Administration, f/k/a/
                      Safety Administration,        the National
                                             f/k/a/ the National Traffic
                                                                 Traffic Safety Bureau
                                                                         Safety Bureau

 66   (“NHTSA”).
      ("NHT SA").

 77          48.
             48.    Pursuant to
                    Pursuant to its
                                its statutory authority under
                                    statutory authority under the
                                                              the Safety Act, NHTSA
                                                                  Safety Act, NHTSA

 8
 8    promulgated numerous
      promulgated numerous federal motor vehicle
                           federal motor vehicle safety
                                                 safety standards (“FMVSS”). Among
                                                        standards ("FMVSS"). Among

 99   these standards,
      these standards, FMVSS 11416 requires
                       FMVSS 1141' requires minimum
                                            minimum theft-protection
                                                    theft-protection standards
                                                                     standards for
                                                                               for

10
10    nearly all
      nearly all passenger
                 passenger vehicles
                           vehicles in
                                    in the
                                       the United
                                           United States:
                                                  States:

11
11                  S1.
                    51. Scope.
                        Scope. This
                                This standard
                                      standard specifies vehicle performance
                                               specifies vehicle performance
                    requirements intended
                    requirements intended to
                                           to reduce
                                              reduce the
                                                     the incidence
                                                         incidence of
                                                                   of crashes
                                                                      crashes
12
12                  resulting from
                    resulting from theft
                                    theft and
                                          and accidental
                                               accidental rollaway
                                                          rollaway of  motor
                                                                    of motor
13
13                  vehicles.
                    vehicles.

14
14                  S2.  Purpose. The
                    S2. Purpose.        purpose of
                                   The purpose        this standard
                                                  of this  standard is
                                                                     is to
                                                                        to decrease
                                                                           decrease
                    the likelihood
                    the likelihood that
                                   that aa vehicle
                                           vehicle is
                                                   is stolen,
                                                      stolen, or accidentally set
                                                              or accidentally     in
                                                                              set in
15
15                  motion.
                    motion.
16
16
                    S3.  Application. This
                    S3. Application.         standard applies
                                       This standard  applies to
                                                              to all
                                                                 all passenger
                                                                     passenger
17
17                  cars,  and to
                    cars, and  to trucks
                                  trucks and
                                          and multipurpose
                                              multipurpose passenger  vehicles
                                                            passenger vehicles
                    with aa GVWR
                    with    GVWR of of 4,536
                                       4,536 kilograms (10,000 pounds)
                                             kilograms (10,000 pounds) or  less.
                                                                        or less.
18
18                  ...
                    S5.1
                    S5.1 Theft  Protection.
                          Theft Protection.
19
19

20
20
        https://crimesciencejournal.biomedcentral.com/articles/10.1186/s40163-020-
        https://crimesciencejournal.biomedcentral.com/articles/10.1186/s40163-020-
21
21      00126-5.
        00126-5
      15
         National Traffic
      15 National          and Motor
                   Traffic and Motor Vehicle
                                      Vehicle Safety  Act, Pub.
                                               Safety Act, Pub. L.
                                                                L. 89-563,
                                                                   89–563, 80
                                                                           80 Stat.
                                                                              Stat. 718
                                                                                    718
22
22
        (1966).
        (1966).
      16
      16 Standard  No. 114;
          Standard No. 114; Theft  protection and
                             Theft protection and rollaway
                                                  rollaway prevention,
                                                            prevention, 49
                                                                        49 C.F.R.
                                                                           C.F.R.
23
23
        §§ 571.114  (2010) ("FMVSS
           571.114 (2010)  (“FMVSS 114").
                                      114”).
                                                14
                                                14
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 11                     S5.1.1  Each vehicle
                        S5.1.1 Each   vehicle must
                                               must have
                                                     have aa starting
                                                             starting system
                                                                       system which,
                                                                                which,
                        whenever the
                        whenever   the key   is removed
                                        key is  removed from
                                                          from the
                                                                 the starting
                                                                      starting system
                                                                               system
22                      prevents:
                        prevents:
                        (a) The
                        (a)         normal activation
                               The normal    activation of  the vehicle's
                                                        of the  vehicle’s engine
                                                                             engine or
                                                                                    or
33
                               motor; and
                               motor; and
 44                     (b) Either
                        (b)    Either steering,
                                       steering, or  forward self-mobility,
                                                 or forward    self-mobility, of   the
                                                                                of the
                               vehicle, or
                               vehicle,    both.
                                        or both.
 55                     ...
 66                     S5.2.2  Except as
                        S5.2.2 Except   as specified   in S5.2.4,
                                            specified in           the vehicle
                                                           S5.2.4, the vehicle must
                                                                                must be
                                                                                      be
 77                     designed
                        designed such     that the
                                   such that   the transmission
                                                    transmission or  or gear   selection
                                                                         gear selection
                        control
                        control cannot   move from
                                cannot move     from the
                                                      the "park"
                                                           “park” position,
                                                                    position, unless
                                                                              unless the
                                                                                     the
                                                        17
 8
 8                      key is
                        key is in
                               in the
                                  the starting
                                      starting system.
                                               system.17

 99               49.
                  49.   The main motivation
                        The main motivation for
                                            for creating FMVSS 114
                                                creating FMVSS 114 was
                                                                   was NHTSA's
                                                                       NHTSA’s

10
10    recognition "that
      recognition “that stolen
                        stolen cars
                               cars constitute
                                    constitute aa major
                                                  major hazard
                                                        hazard to
                                                               to life
                                                                  life and
                                                                       and limb
                                                                           limb on the
                                                                                on the

11
11    highways. The
      highways. The evidence
                    evidence shows that cars
                             shows that cars operated by unauthorized
                                             operated by unauthorized persons
                                                                      persons are
                                                                              are far
                                                                                  far

12
12    more likely
      more likely to
                  to cause unreasonable risk
                     cause unreasonable risk of accident, personal
                                             of accident,          injury, and
                                                          personal injury, and death than
                                                                               death than

13
13    those which
      those which are
                  are driven by authorized
                      driven by            individuals.”18
                                authorized individuals."18

14
14                50.
                  50.   As early
                        As       as 1966,
                           early as 1966, studies
                                          studies showed “there were
                                                  showed "there were an
                                                                     an estimated
                                                                        estimated 94,000
                                                                                  94,000

15
15     stolen
       stolen cars involved in
              cars involved in accidents"-with
                               accidents”—with "18,000
                                               “18,000 of
                                                       of these
                                                          these accidents
                                                                accidents result[ing]
                                                                          result[ing] in
                                                                                      in

16
16    injury to
      injury to one
                one or
                    or more people.”19 Accordingly,
                       more people."19 Accordingly, NHTSA
                                                    NHTSA recognized
                                                          recognized that
                                                                     that "a
                                                                          “a reduction
                                                                             reduction

17
17    in the
      in the incidence
             incidence of auto theft
                       of auto theft would
                                     would make
                                           make aa substantial
                                                   substantial contribution to motor
                                                               contribution to motor vehicle
                                                                                     vehicle

18
18    safety” and
      safety" and "protect
                  “protect the
                           the many
                               many innocent
                                    innocent members
                                             members of the public
                                                     of the public who
                                                                   who are
                                                                       are killed
                                                                           killed and
                                                                                  and

19
19    injured by
      injured by stolen
                 stolen cars
                        cars each year.”20 To
                             each year."2°    address this
                                           To address this safety
                                                           safety risk,
                                                                  risk, which
                                                                        which is
                                                                              is largely
                                                                                 largely tied
                                                                                         tied

20
20
       17
      17    Id.
21
21     18
         Motor Vehicle
      18 Motor Vehicle Safety
                        Safety Standard No. 114;
                               Standard No.  114; Theft  Protection; Passenger
                                                   Theft Protection; Passenger Cars, 33
                                                                               Cars, 33
        Fed. Reg.
        Fed. Reg. 83, 6,471 (Apr.
                  83, 6,471 (Apr. 27,
                                  27, 1968),
                                      1968), https://vvvvw.govinfo.gov/content/pkg/FR-
                                             https://www.govinfo.gov/content/pkg/FR-
22
22
        1968-04-27/pdf/FR-1968-04-27.pdf#page=1.
        1968-04 -27/pdf/FR-1968-04 -27 .pdf#page=1.
      19
      19 Id.
23
23    20 Id.
                                                    15
                                                    15
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                                              #:19



 1
 1    to "car
      to “car thieves
              thieves who
                      who could bypass the
                          could bypass the ignition
                                           ignition lock
                                                    lock .. .. .. the
                                                                  the agency
                                                                      agency decided to require
                                                                             decided to require

22    aa device, which would
         device, which would prevent
                             prevent either
                                     either self-mobility
                                            self-mobility or
                                                          or steering
                                                             steering even if the
                                                                      even if the ignition
                                                                                  ignition

3
3     lock were
      lock      bypassed.”21
           were bypassed."

 44         51.
            51.    An industry-standard
                   An industry-standard engine immobilizer is
                                        engine immobilizer is an
                                                              an effective way to
                                                                 effective way to satisfy
                                                                                  satisfy

 55   this requirement,
      this requirement, "because
                        “because it
                                 it locks
                                    locks out the engine
                                          out the engine control module if
                                                         control module if an
                                                                           an attempt
                                                                              attempt is
                                                                                      is

 66   made to
      made to start the vehicle
              start the vehicle without
                                without the
                                        the correct key or
                                            correct key    to bypass
                                                        or to bypass the
                                                                     the electronic ignition
                                                                         electronic ignition

 77   system.”22 Defendants'
      system."22 Defendants’ choice not to
                             choice not to use
                                           use this
                                               this industry-standard
                                                    industry-standard anti-theft
                                                                      anti-theft

 8
 8    technology or
      technology or other reasonable anti-theft
                    other reasonable anti-theft measures
                                                measures predictably
                                                         predictably led
                                                                     led to
                                                                         to rampant
                                                                            rampant car
                                                                                    car

 99   thefts and
      thefts and resulted
                 resulted in
                          in aa threat
                                threat to
                                       to public
                                          public safety and an
                                                 safety and an ongoing
                                                               ongoing public nuisance.
                                                                       public nuisance.

10
10          52.
            52.    In the
                   In the late
                          late 1980s
                               1980s and
                                     and early 1990s, vehicle
                                         early 1990s, vehicle theft
                                                              theft increased
                                                                    increased dramatically
                                                                              dramatically
                            23
11
11    in the
      in the United
             United States.
                    States.23  The most common
                               The most        method for
                                        common method for stealing
                                                          stealing aa car involved
                                                                      car involved

12
12    bypassing the
      bypassing the motor's
                    motor’s ignition
                            ignition switch,
                                     switch, otherwise
                                             otherwise known as "hotwiring."
                                                       known as “hotwiring.” The
                                                                             The graph
                                                                                 graph

13
13    below illustrates
      below illustrates the
                        the dramatic rise in
                            dramatic rise in car thefts during
                                             car thefts        this time
                                                        during this      period.24
                                                                    time period.'

14
14

15
15

16
16

17
17     21
         Federal Motor Vehicle Safety Standards; Theft Protection, 71 Fed. Reg. 17,753
      21 Federal Motor Vehicle Safety Standards; Theft Protection, 71 Fed. Reg. 17,753
        (Apr. 7,
        (Apr.     2006), https://vvvvw.govinfo.gov/content/pkg/FR-2006-04-07/pdf/06-
               7, 2006),  https://www.govinfo.gov/content/pkg/FR-2006-04-07/pdf/06-
18
18      3358.pdf; see
        3358.pdf;    see also
                         also Motor
                              Motor Vehicle
                                     Vehicle Safety
                                             Safety Standard  No. 114;
                                                    Standard No.   114; Theft Protection;
                                                                        Theft Protection;
19
19      Passenger Cars,
        Passenger           33 Fed.
                     Cars, 33  Fed. Reg.
                                    Reg. 83,
                                         83, 6,471
                                             6,471 (Apr.
                                                   (Apr. 27,
                                                         27, 1968),
                                                             1968),
        https://www.govinfo.gov/content/pkg/FR-1968-04-27/pdf/FR-1968-04-
        https://vvvvw.govinfo.gov/content/pkg/FR-1968-04-27/pdf/FR-1968-04-
20
20      27.pdf#page=1.
        27.pdf#page=1.
      22
      22 Jacqueline
         Jacqueline Glassman,     Interpretation ID:
                       Glassman, Interpretation  ID: GF005229-2,     NHTSA (Sept.
                                                     GF005229-2, NHTSA       (Sept. 24,
                                                                                    24, 2004),
                                                                                        2004),
21
21      https://www.nhtsa.gov/interpretations/gf005229-
        https://vvvvw.nhtsa.gov/interpretations/gf005229-
        2#:~:text=This%20responds%20to%20your%20letter,114%2C%20Theft%20Prot
        2#:—:text=This%20responds%20to%20your%201etter,114%2C%20Theft%20Prot
22
22
        ection.
        ection.
      23
23
23       Anthony Dixon
      23 Anthony     Dixon & & Graham  Farrell, supra
                               Graham Farrell,  supra note
                                                      note 14,
                                                           14, at
                                                               at 1,
                                                                  1, 3.
                                                                     3.
      24
         Id. at
      24 Id. at fig.
                fig. 1.
                      1.
                                               16
                                               16
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 1
 1
                         Theft rate                                                             Arrest rate
22                 (per 10K vehicles in operation)                                             (per 100k population)
                           100                                                                           100
                            90                                                                           90
3
3                           80                                                                           80
                            70                                                                           70
 44                         60                                                        Thefts             60
                            50                                                                           50
 55                         40                                                    Arrests \              40
                            30                                                                           30
 66                         20                                                                           20
                            10                                                                           10
                             0                                                                           0
 77                                   0         (o
                                 O)        O5        O5     e5   O5   e5     O)   0      0      0
 8
 8                                                                         Year

 99                Vehicle thefts
                   Vehicle thefts per 10,000 vehicles
                                  per 10,000 vehicles in
                                                      in operation, and vehicle
                                                         operation, and vehicle
                        theft arrests per
                        theft arrests     100,000 population,
                                      per 100,000              1960-2014
                                                  population, 1960-2014
10
10

11
11           53.
             53.       In aa precursor
                       In    precursor to
                                       to the
                                          the contemporary
                                              contemporary crisis, in the
                                                           crisis, in the late
                                                                          late 1980s
                                                                               1980s to
                                                                                     to early
                                                                                        early

12
12    1990s, General
      1990s,         Motors cars
             General Motors      were stolen
                            cars were        at elevated
                                      stolen at          rates due
                                                elevated rates     to the
                                                               due to the relative
                                                                          relative ease
                                                                                   ease

13
13    with which
      with which aa thief
                    thief could bypass the
                          could bypass the ignition lock.25 The
                                           ignition lock.25 The ease with which
                                                                ease with which those
                                                                                those cars
                                                                                      cars

14
14     could be stolen
       could be stolen spurred
                       spurred aa trend
                                  trend of youths—some as
                                        of youths-some as young
                                                          young as
                                                                as ten
                                                                   ten years
                                                                       years old—
                                                                             old—

15
15     engaging in automobile
       engaging in automobile theft
                              theft and joyriding.26
                                    and joyriding.26

16
16           54.
             54.       In the
                       In the years
                              years that
                                    that followed,
                                         followed, General Motors, and
                                                   General Motors, and nearly
                                                                       nearly all
                                                                              all other
                                                                                  other

17
17    automotive manufacturers,
      automotive manufacturers, adopted
                                adopted the
                                        the anti-theft technology of
                                            anti-theft technology    passive vehicle
                                                                  of passive vehicle

18
18    immobilizers for
      immobilizers for cars
                       cars distributed to the
                            distributed to the American
                                               American market,
                                                        market, which
                                                                which were
                                                                      were patented
                                                                           patented in
                                                                                    in

19
19
      25
20
20    25 See Tim
         See       Farley, Thieves
              Tim Farley,           Put GM
                           Thieves Put     Models at
                                        GM Models  at Top of List,
                                                      Top of List, Oklahoman   (Sept. 11,
                                                                   Oklahoman (Sept.   11,
        1988, 12:00
        1988,  12:00 AM),
                      AM), https://vvvvw.oklahoman.com/story/news/1988/09/11/thieves-
                            https://www.oklahoman.com/story/news/1988/09/11/thieves-
21
21      put-gm-models-at-top-of-list/62639884007/.
        put-gm-models-at-top-of-list/62639884007/.
      26
         See Stephen
      26 See           Buckley, D.C.
              Stephen Buckley,   D.C. Police
                                      Police Report
                                             Report Increase
                                                    Increase in Car Thefts
                                                             in Car  Thefts by
                                                                            by Youngsters,
                                                                               Youngsters,
22
22
        Wash.   Post (Feb.
        Wash. Post   (Feb. 1,
                           1, 1990),
                              1990),
23
23      https://www.washingtonpost.com/archive/politics/1990/02/01/dc-police-report-
        https://vvvvw.washingtonpost.com/archive/politics/1990/02/01/dc-police-report-
        increase-in-car-thefts-by-youngsters/fa2c16c0-55a9-4866-8514-8f8e4abfdcf7/.
        increase-in-car-thefts-by-youngsters/fa2c16c0-55a9-4866-8514-8f8e4abfdcf7/.
                                                                 17
                                                                 17
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 1
 1    1993.27 Unlike
      1993.27 Unlike Evans
                     Evans and
                           and Birkenbeuel's
                               Birkenbeuel’s invention
                                             invention nearly
                                                       nearly 75 years prior,
                                                              75 years        the vehicle
                                                                       prior, the vehicle

22    immobilizer would
      immobilizer would render
                        render the
                               the engine
                                   engine operable
                                          operable only “if the
                                                   only "if the correct
                                                                correct key having coded
                                                                        key having coded

3
3     information is
      information is used[,]"
                     used[,]” rather
                              rather than
                                     than relying
                                          relying on
                                                  on concealed switches or
                                                     concealed switches    memorizing
                                                                        or memorizing
                           28
 44   keypad combinations.
      keypad combinations.28

 55          55.
             55.   In essence,
                   In          the vehicle
                      essence, the vehicle immobilizers
                                           immobilizers of the 1990s
                                                        of the 1990s worked
                                                                     worked by
                                                                            by checking
                                                                               checking

 66   the "fingerprint"
      the “fingerprint” of
                        of aa car
                              car key based on
                                  key based on electronic
                                               electronic codes the key
                                                          codes the key sends to the
                                                                        sends to the vehicle.
                                                                                     vehicle.

 77    They prevented hotwiring
       They prevented hotwiring by
                                by ensuring that aa car
                                   ensuring that        would not
                                                    car would not start
                                                                  start if
                                                                        if the
                                                                           the key
                                                                               key was
                                                                                   was not
                                                                                       not

 8
 8    present—whether or
      present—whether    not the
                      or not the ignition
                                 ignition switch was turned
                                          switch was turned or bypassed.
                                                            or bypassed.

 99          56.
             56.   Although the
                   Although the mechanism
                                mechanism behind
                                          behind the
                                                 the vehicle
                                                     vehicle immobilizer was more
                                                             immobilizer was more

10
10    intricate than
      intricate than the
                     the original 1919 invention,
                         original 1919 invention, the
                                                  the overall purpose remained
                                                      overall purpose remained the
                                                                               the same:
                                                                                   same:

11
11    “to make
      "to make the
               the vehicle
                   vehicle more
                           more difficult    steal.”29
                                          to steal."'
                                difficult to

12
12           57.
             57.   The invention proved
                   The invention proved successful
                                        successful and,
                                                   and, less
                                                        less than
                                                             than five
                                                                  five years
                                                                       years later,
                                                                             later, the
                                                                                    the

13
13    European Union
      European Union mandated
                     mandated that
                              that all
                                   all new
                                       new passenger
                                           passenger cars
                                                     cars from 1998 onward
                                                          from 1998        be
                                                                    onward be

14
14     equipped with an
       equipped with an electronic
                        electronic engine immobilizer.30 Similar
                                   engine immobilizer.30         mandates soon
                                                         Similar mandates soon followed
                                                                               followed

15
15    in Australia,
      in Australia, New
                    New Zealand, and Canada.
                        Zealand, and Canada.

16
16           58.
             58.   As engine
                   As        immobilizers became
                      engine immobilizers became the
                                                 the industry
                                                     industry standard
                                                              standard among
                                                                       among

17
17    manufacturers, at
      manufacturers, at least
                        least one study in
                              one study in the
                                           the Netherlands
                                               Netherlands suggested
                                                           suggested that
                                                                     that immobilizers
                                                                          immobilizers

18
18

19
19

20
20
       27
         Int’l Patent Publication No. WO 93/13968 (filed Jan. 7, 1993).
      27 Int'l Patent Publication No. WO 93/13968 (filed Jan. 7, 1993).
21
21    28
      28
         Id.
         Id.
      29
         Id.
      29 id.
22
22    30
      3° Commission    Directive 95/56/EC,
         Commission Directive                 1995 O.J.
                                  95/56/EC, 1995     O.J. (L286)
                                                          (L286) 11 (amending
                                                                    (amending Council
                                                                              Council
23
23      Directive 74/61/EEC
        Directive  74/61/EEC toto require
                                  require the
                                          the installation
                                               installation of immobilizers and
                                                            of immobilizers and alarm
                                                                                alarm
        systems  in motor
        systems in  motor vehicles
                           vehicles beginning
                                    beginning in in October  1998).
                                                    October 1998).
                                              18
                                              18
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 1
 1    “lowered the
      "lowered the overall rate of
                   overall rate of car theft on
                                   car theft    average by
                                             on average by about
                                                           about 50 percent during
                                                                 50 percent during

22    1995-2008.”31
      1995-2008.'1

3
3            59.
             59.    By 2011,
                    By 2011, studies
                             studies concluded “that good
                                     concluded "that good quality
                                                          quality electronic immobilizers
                                                                  electronic immobilizers

 44   [have] bec[o]me
      [have] bec[o]me car theft’s killer
                      car theft's killer technology"
                                         technology” and
                                                     and proved
                                                         proved to
                                                                to be
                                                                   be 32.7%
                                                                      32.7% "more
                                                                            “more

 55    effective in reducing
       effective in reducing car theft than
                             car theft than alarms"
                                            alarms” and
                                                    and 42.2% “more effective
                                                        42.2% "more           than central
                                                                    effective than central

 66   locking.”32
      locking."'

 77          60.
             60.    Equally critical,
                    Equally           academic studies
                            critical, academic         support the
                                               studies support the proposition
                                                                   proposition that
                                                                               that "[f]rom
                                                                                    “[f]rom

 8
 8    the early
      the       1990s onwards,
          early 1990s          it gradually
                      onwards, it           became less
                                  gradually became less easy for adolescents
                                                        easy for adolescents to
                                                                             to begin
                                                                                begin

 99    offending as an
       offending as an increasing
                       increasing proportion
                                  proportion of vehicles became
                                             of vehicles became secure"
                                                                secure” because
                                                                        because the
                                                                                the

10
10    “young offenders
      "young offenders did not have
                       did not have the
                                    the skill
                                        skill or
                                              or experience to overcome
                                                 experience to overcome the
                                                                        the new
                                                                            new vehicle
                                                                                vehicle

11
11     security technology, particularly
       security technology, particularly electronic immobilizers.”33 As
                                         electronic immobilizers."33 As the
                                                                        the rate
                                                                            rate of young
                                                                                 of young

12
12     offenders
       offenders decreased
                 decreased due to improved
                           due to improved vehicle
                                           vehicle security,
                                                   security, "fewer
                                                             “fewer adolescents"
                                                                    adolescents” went
                                                                                 went on
                                                                                      on
                                                             34
13
13    to experience
      to            “criminal career
         experience "criminal career onset and continuance.”
                                     onset and continuance."34

14
14     31
      31 Jan
         Jan C.  van Ours
              C. van Ours & & Ben
                               Ben Vollaard,
                                     Vollaard, The   Engine Immobilizer:
                                                The Engine    Immobilizer: A A Non-Starter
                                                                               Non-Starter for
                                                                                             for
15
15      Car Thieves,
        Car   Thieves, TILEC    Discussion Paper
                       TILEC Discussion      Paper No.
                                                    No. 2013-001,
                                                         2013-001, SSRN,
                                                                      SSRN, atat 13
                                                                                 13 (Jan.
                                                                                     (Jan. 14,
                                                                                           14,
        2013),
        2013),
16
16      https://deliverypdf.ssrn.com/delivery.php?ID=1270871200970291190780841070
        https://deliverypdfssm.com/delivery.php?ID=1270871200970291190780841070
        81001030022041017031027078099093024106009075127118002030001121005
        81001030022041017031027078099093024106009075127118002030001121005
17
17      12204212610702708709510002601807004603401306408807602206708511002
        12204212610702708709510002601807004603401306408807602206708511002
        00100580660380900850190171080890311270691110861131210960300010270
        00100580660380900850190171080890311270691110861131210960300010270
18
18      69090090007106081078030084&EXT=pdf&INDEX=TRUE.
        69090090007106081078030084&EXT=pdf&INDEX=TRUE.
      32
19
19    32 Graham    Farrell et
         Graham Farrell       al., The
                           et al.,  The Crime  Drop and
                                        Crime Drop    and the   Security Hypothesis,
                                                           the Security   Hypothesis, 48(2)
                                                                                       48(2) J.  Res.
                                                                                              J. Res.
        Crime
        Crime & & Delinq.
                   Delinq. 147,
                            147, 163,
                                   163, 169
                                        169 (2011),
                                            (2011),
20
20      https://www.researchgate.net/profile/Graham-
        https://vvvvw.researchgate.net/profile/Graham-
        Farrell/publication/255589010_The_Crime_Drop_and_the_Security_Hypothesis/l
        Farrell/publication/255589010       The Crime Drop and the Security Hypothesis/1
21
21      inks/54f3b8300cf299c8d9e537d9/The-Crime-Drop-and-the-Security-
        inks/54f3b8300cf299c8d9e537d9/The-Crime-Drop-and-the-Security-
        Hypothesis.pdf.
        Hypothesis.pdf.
22
22    33
         Anthony Dixon
      33 Anthony    Dixon && Graham      Farrell, supra
                              Graham Farrell,     supra note
                                                        note 14,
                                                               14, at
                                                                   at 1,
                                                                      1, 7.
                                                                         7.
      34
23
23       Id.; see
      ' Id.;  see also
                  also Graham     Farrell, Forty
                       Graham Farrell,     Forty years
                                                  years of  declining burglary
                                                        of declining   burglary in
                                                                                 in the
                                                                                    the United
                                                                                        United
        States: Explanation
       States:   Explanation and
                               and evidence
                                     evidence relating
                                               relating to
                                                        to the  security hypothesis,
                                                            the security  hypothesis, 35
                                                                                       35 Sec.
                                                                                           Sec. J.
                                                                                                J.
                                                 19
                                                 19
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 1
 1           B.
             B.     Hyundai and
                    Hyundai   and Kia    Deviated from
                                    Kia Deviated   from the
                                                          the Industry
                                                              Industry Standard
                                                                       Standard by
                                                                                 by
                    Electing
                    Electing Not
                             Not to
                                 to Include
                                    Include Immobilizers
                                             Immobilizers or  Other Reasonable
                                                           or Other            Anti-
                                                                    Reasonable Anti-
22                  Theft
                    Theft Technology  in the
                          Technology in  the Susceptible Vehicles
                                             Susceptible Vehicles
3
3

 44          61.
             61.    Studies by the
                    Studies by the Highway
                                   Highway Loss
                                           Loss Data
                                                Data Institute
                                                     Institute ("HLDI")
                                                               (“HLDI”) showed
                                                                        showed "that
                                                                               “that

 55   vehicle theft
      vehicle theft losses
                    losses decreased
                           decreased significantly after factory-installed
                                     significantly after factory-installed passive
                                                                           passive

 66   immobilizing antitheft
      immobilizing antitheft devices
                             devices were introduced.”35 Specifically,
                                     were introduced."'                HLDI studies
                                                         Specifically, HLDI studies

 77   between 1996
      between 1996 and
                   and 2013
                       2013 all
                            all showed
                                showed decreases in theft
                                       decreases in theft losses
                                                          losses for
                                                                 for vehicles
                                                                     vehicles with
                                                                              with engine
                                                                                   engine

 8
 8    immobilizers studied
      immobilizers         in those
                   studied in those years,
                                    years, including
                                           including General Motors, BMW,
                                                     General Motors, BMW, Ford,
                                                                          Ford, and
                                                                                and

 99   Nissan.36 A
      Nissan.36 A 2013
                  2013 HLDI
                       HLDI study “found that
                            study "found that thieves
                                              thieves were
                                                      were sometimes targeting the
                                                           sometimes targeting the

10
10     older model years
       older model years of
                         of aa vehicle
                               vehicle series without immobilizers,
                                       series without immobilizers, such as the
                                                                    such as the Honda
                                                                                Honda Civic
                                                                                      Civic

11
11    and Honda
      and       Accord.”37
          Honda Accord."'

12
12           62.
             62.    Despite decades
                    Despite decades of research and
                                    of research and findings
                                                    findings that
                                                             that immobilizers
                                                                  immobilizers

13
13     significantly reduced vehicle
       significantly reduced vehicle theft
                                     theft and
                                           and the
                                               the consequential public safety
                                                   consequential public        risks, "only
                                                                        safety risks, “only

14
14    26 percent
      26 percent of Hyundai and
                 of Hyundai and Kia"
                                Kia” 2015
                                     2015 vehicle
                                          vehicle models
                                                  models had
                                                         had "passive
                                                             “passive immobilizers
                                                                      immobilizers as
                                                                                   as

15
15     standard
       standard equipment,
                equipment, compared with 96
                           compared with 96 percent
                                            percent of
                                                    of other manufacturers.”38
                                                       other manufacturers."38

16
16           63.
             63.    The low percentage
                    The low percentage of Hyundai and
                                       of Hyundai and Kia
                                                      Kia vehicles
                                                          vehicles with
                                                                   with immobilizers,
                                                                        immobilizers,

17
17     or
       or other reasonable anti-theft
          other reasonable anti-theft technology,
                                      technology, is
                                                  is especially
                                                     especially concerning
                                                                concerning given that, during
                                                                           given that, during

18
18

19
19      444,
        444, 458   (2022) https://link.springer.com/article/10.1057/s41284-021-00284-4
              458 (2022)   https://link.springer.com/article/10.1057/s41284-021-00284-4
        (arguing that
        (arguing   that "making
                        “making crime    more difficult
                                  crime more              to commit
                                                difficult to          may be
                                                             commit may    be the
                                                                              the most
                                                                                  most effective
                                                                                       effective
20
20      way to
        way  to reduce
                 reduce juvenile
                         juvenile crime
                                   crime and
                                          and progression
                                               progression toto adult
                                                                adult crime”).
                                                                      crime").
      35
         Hyundai and
      35 Hyundai    and Kia
                         Kia theft
                             theft losses,  38 HLDI
                                    losses, 38 HLDI Bull.
                                                      Bull. 28,
                                                             28, 11 (Dec.
                                                                    (Dec. 2021),
                                                                          2021),
21
21      https://www.iihs.org/media/0e14ba17-a3c2-4375-8e66-
        https://www.iihs.org/media/0e14ba17-a3c2-4375-8e66-
        081df9101ed2/opm7QA/HLDI%20Research/Bulletins/hldi_bulletin_38-28.pdf.
        081df9101ed2/opm7QA/HLDI%20ResearchBulletins/hldi bulletin 38-28.pdf.
22
22    36 Id
         Id. at
             at 2.
                2.
      37
23
23       Id.
      37 Id.
      38
         Id. at
      " Id   at 5.
                5.
                                                20
                                                20
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 11   this same
      this      time period,
           same time period, Hyundai
                             Hyundai and
                                     and Kia
                                         Kia were
                                             were installing
                                                  installing immobilizers
                                                             immobilizers in
                                                                          in their
                                                                             their models
                                                                                   models

22    for sale
      for      in the
          sale in the European
                      European and
                               and Canadian markets.39
                                   Canadian markets.39

33             64.
               64.   Defendants are
                     Defendants     familiar with
                                are familiar with the
                                                  the benefits
                                                      benefits of installing effective
                                                               of installing           anti-
                                                                             effective anti-

 44   theft devices
      theft         in the
            devices in the American
                           American market.
                                    market. They acted with
                                            They acted with full
                                                            full knowledge that they
                                                                 knowledge that they

 55   were making
      were making choices that would
                  choices that would result
                                     result in
                                            in their
                                               their vehicles
                                                     vehicles being
                                                              being more
                                                                    more susceptible to
                                                                         susceptible to

 66   theft.
      theft.

 77            65.
               65.   There are two
                     There are two separate
                                   separate components to NHTSA's
                                            components to NHTSA’s vehicle
                                                                  vehicle theft
                                                                          theft

 8
 8    regulations—one emphasizing
      regulations—one             the supply
                      emphasizing the supply side
                                             side of the market
                                                  of the market for
                                                                for stolen vehicles and
                                                                    stolen vehicles and

 99   the other
      the       the demand
          other the        side. The
                    demand side.     supply-side regulation,
                                 The supply-side regulation, 49 C.F.R. §§ 571.114,
                                                             49 C.F.R.             requires
                                                                          571.114, requires

10
10    automobile manufacturers
      automobile manufacturers to
                               to take
                                  take steps
                                       steps intended
                                             intended to
                                                      to make
                                                         make it
                                                              it harder
                                                                 harder for
                                                                        for would-be
                                                                            would-be

11
11    thieves to
      thieves to steal
                 steal cars, which almost
                       cars, which almost all
                                          all automakers
                                              automakers comply with by
                                                         comply with by equipping their
                                                                        equipping their

12
12    vehicles with
      vehicles with engine immobilizers.
                    engine immobilizers.

13
13             66.
               66.   The
                     The demand-side regulation, 49
                         demand-side regulation, 49 CFR
                                                    CFR §§ 541, requires automobile
                                                           541, requires automobile

14
14    manufacturers to
      manufacturers to label
                       label parts
                             parts with
                                   with unique
                                        unique identifiers
                                               identifiers to
                                                           to make
                                                              make it
                                                                   it easier to identify
                                                                      easier to identify parts
                                                                                         parts

15
15    that have
      that have been
                been stolen
                     stolen from
                            from aa vehicle
                                    vehicle and,
                                            and, thereby,
                                                 thereby, reduce
                                                          reduce the
                                                                 the demand for stolen
                                                                     demand for stolen cars
                                                                                       cars

16
16    and chop
      and      shops (where
          chop shops (where stolen
                            stolen cars are disassembled
                                   cars are disassembled so that their
                                                         so that their valuable
                                                                       valuable parts
                                                                                parts can
                                                                                      can
                40
17
17    be sold).
      be sold).4°  If aa line
                   If    line of vehicles is
                              of vehicles is adequately
                                             adequately protected
                                                        protected from
                                                                  from theft
                                                                       theft due to the
                                                                             due to the inclusion
                                                                                        inclusion

18
18     of anti-theft technology,
       of anti-theft technology, manufacturers
                                 manufacturers can apply for
                                               can apply for exemptions from this
                                                             exemptions from this labeling
                                                                                  labeling

19
19
       39
20
20        Hyundai first
       39 Hyundai first began
                        began exporting its cars
                              exporting its      to parts
                                            cars to parts of Europe, the
                                                          of Europe, the United
                                                                         United Kingdom,
                                                                                Kingdom,
        and Canada
        and          between 1978
            Canada between    1978 and
                                   and 1984.
                                        1984. See
                                              See Over
                                                   Over 50 years of
                                                        50 years     progress: the
                                                                  ofprogress:       history of
                                                                               the history  of
21
21      Hyundai, Hyundai
        Hyundai,  Hyundai Newsroom
                            Newsroom (Apr.
                                       (Apr. 6, 2019),
                                             6, 2019),
        https://www.hyundai.news/eu/articles/press-releases/over-50-years-of-progress-
        https://vvvvw.hyundai.news/eu/articles/press-releases/over-50-years-of-progress-
22
22
        the-history-of-hyundai.html. Similarly,
        the-history-of-hyundai.html.             Kia vehicles
                                      Similarly, Kia vehicles were
                                                              were introduced
                                                                    introduced into
                                                                                into
23
23      European and
        European   and Canadian  markets in
                       Canadian markets  in the
                                            the 1990s.
                                                 1990s.
      40
      40
         Requirements for
         Requirements   for passenger
                            passenger motor
                                      motor vehicles,
                                             vehicles, 49
                                                       49 C.F.R.
                                                          C.F.R. §§ 541.5 (June 1,
                                                                    541.5 (June  1, 2011).
                                                                                    2011).
                                                21
                                                21
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 11   requirement. See
      requirement. See 49
                       49 C.F.R.
                          C.F.R. §§ 543. Hyundai requested
                                    543. Hyundai requested an
                                                           an exemption
                                                              exemption from the
                                                                        from the

22    labeling requirement
      labeling requirement for
                           for its
                               its 2008
                                   2008 Hyundai
                                        Hyundai Azera
                                                Azera line
                                                      line based
                                                           based on its inclusion
                                                                 on its inclusion of an
                                                                                  of an

33    immobilizer.41 Recognizing
      immobilizer.41 Recognizing the
                                 the efficacy
                                     efficacy of the anti-theft
                                              of the anti-theft technology
                                                                technology in
                                                                           in March
                                                                              March of
                                                                                    of

 44   2007, "[Hyundai]
      2007, “[Hyundai] stated that the
                       stated that the data
                                       data shows
                                            shows aa dramatic reduction of
                                                     dramatic reduction    theft rates
                                                                        of theft rates due
                                                                                       due
                                                                                           42
 55   to the
      to the introduction
             introduction of
                          of devices substantially similar
                             devices substantially similar to
                                                           to the
                                                              the Kia
                                                                  Kia immobilizer
                                                                      immobilizer device.”
                                                                                  device."'

 66               67.
                  67.   Despite knowing
                        Despite knowing the
                                        the unquestionable
                                            unquestionable benefit
                                                           benefit of
                                                                   of engine immobilizers,
                                                                      engine immobilizers,

 77   until the
      until the last
                last year
                     year or
                          or so, Hyundai and
                             so, Hyundai and Kia
                                             Kia offered such anti-theft
                                                 offered such anti-theft devices
                                                                         devices only in aa
                                                                                 only in

 8
 8    few of
      few    their more
          of their more expensive models, like
                        expensive models, like the
                                               the Azera,
                                                   Azera, and
                                                          and they
                                                              they failed
                                                                   failed to
                                                                          to equip their
                                                                             equip their

 99    other models with
       other models with any
                         any reasonably
                             reasonably effective alternative. Their
                                        effective alternative. Their decisions have
                                                                     decisions have
                                                       43
10
10     compounded the harms
       compounded the harms to
                            to low-income
                               low-income communities.
                                          communities.43  Consumers without
                                                          Consumers without

11
11    resources to
      resources to afford
                   afford these
                          these higher
                                higher end models are
                                       end models     more likely
                                                  are more        to live
                                                           likely to live in
                                                                          in areas with
                                                                             areas with

12
12
       41
         Petition for Exemption From the Vehicle Theft Prevention Standard; Hyundai-
      41 Petition for Exemption From the Vehicle Theft Prevention Standard; Hyundai-
13
13      Kia America
        Kia  America Technical
                         Technical Center,      Inc., 72
                                      Center, Inc.,       Fed. Reg.
                                                       72 Fed.  Reg. 39,661,
                                                                      39,661, supra
                                                                               supra note
                                                                                       note 2; 2; see
                                                                                                  see also
                                                                                                      also
        Petition for
        Petition  for Exemption
                      Exemption From  From the
                                             the Vehicle
                                                  Vehicle Theft    Prevention Standard;
                                                            Theft Prevention                 Hyundai-
                                                                                Standard; Hyundai-
14
14      Kia America
        Kia  America Technical
                         Technical Center,      Inc., 75
                                      Center, Inc.,       Fed. Reg.
                                                       75 Fed.  Reg. 1,447,
                                                                      1,447, supra
                                                                              supra note
                                                                                      note 22 (NHTSA
                                                                                                (NHTSA
15
15      notice granting
        notice  granting an an identical
                                identical exemption
                                          exemption for  for the
                                                             the Kia
                                                                 Kia Amanti
                                                                      Amanti vehicle
                                                                                vehicle line
                                                                                         line beginning
                                                                                                 beginning
        in model
        in model year
                    year 2009
                          2009 based
                                  based on   Defendant Kia's
                                         on Defendant     Kia’s representation
                                                                 representation that
                                                                                   that the
                                                                                        the immobilizer
                                                                                              immobilizer
16
16      installation for
        installation  for that
                           that specific
                                 specific model
                                           model should     substantially reduce
                                                    should substantially    reduce theft
                                                                                     theft rates).
                                                                                            rates).
      42
      42
         Id. (Hyundai
              (Hyundai cited
            Id.                  theft rates
                          cited theft  rates ofof other
                                                  other car  makes because
                                                         car makes   because there
                                                                               there was
                                                                                      was nono available
                                                                                                 available
17
17      theft data
        theft       for its
               data for  its Azera
                             Azera line
                                     line at
                                          at that
                                              that time.
                                                   time. But
                                                          But Hyundai
                                                               Hyundai told
                                                                          told NHTSA
                                                                               NHTSA its  its immobilizer
                                                                                               immobilizer
        was functionally
        was   functionally andand operationally     similar to
                                   operationally similar     to others
                                                                others and
                                                                        and cited   the efficacy
                                                                             cited the  efficacy of of those
                                                                                                       those
18
18      devices,
        devices, such
                   such asas "the
                             “the Taurus,    Mustang, Riviera
                                   Taurus, Mustang,       Riviera and
                                                                  and Toronado      vehicle lines[,
                                                                        Toronado vehicle       lines[,
19
19      which] showed
        which]   showed aa 63,63, 70,
                                   70, 80,  and 58
                                        80, and       percent theft
                                                  58 percent   theft rate
                                                                     rate reduction
                                                                          reduction respectively
                                                                                      respectively
        between pre-
        between    pre- and
                         and post-introduction
                               post-introduction of     immobilizer devices
                                                     of immobilizer    devices asas standard
                                                                                    standard equipment
                                                                                                 equipment
20
20      on  these vehicle
        on these   vehicle lines.").
                             lines.”).
      43 Tom    Krisher, Thieves
         Tom Krisher,                key on
                           Thieves key         hack that
                                          on hack    that leaves  Hyundai, Kia
                                                          leaves Hyundai,     Kia cars
                                                                                   cars vulnerable,
                                                                                         vulnerable, AP  AP
21
21      News (Sept.
        News    (Sept. 21,
                        21, 2022,
                             2022, 10:21
                                     10:21 PM),
                                            PM), https://apnews.com/article/social-media-
                                                    https://apnews.com/article/social-media-
        milwaukee-theft-ecd3be407c1b7cb725ae607b8d86bcaf (noting
        milwaukee-theft-ecd3be407c1b7cb725ae607b8d86bcaf                     (noting that
                                                                                      that "[m]any
                                                                                            “[m]any of  of
22
22
        the vulnerable
        the  vulnerable Hyundais
                           Hyundais andand Kias
                                            Kias are
                                                   are often   bought by
                                                        often bought   by lower-income
                                                                           lower-income people"
                                                                                             people”
23
23      because, as
        because,   as stated
                      stated byby HLDI
                                   HLDI Senior
                                           Senior VP     Matt Moore,
                                                    VP Matt    Moore, those
                                                                        those cars   “are relatively
                                                                               cars "are   relatively
        inexpensive vehicles
        inexpensive    vehicles when
                                   when purchased
                                          purchased new").
                                                        new”).
                                                     22
                                                     22
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 1
 1    higher crime
      higher       rates and
             crime rates and are
                             are likely
                                 likely less
                                        less able to pay
                                             able to     for alternative
                                                     pay for alternative transportation
                                                                         transportation or
                                                                                        or for
                                                                                           for

22    the cost
      the cost of repairing aa recovered,
               of repairing    recovered, but
                                          but damaged, vehicle after
                                              damaged, vehicle after aa theft.
                                                                        theft.

3
3            68.
             68.    In September
                    In           2022, HLDI
                       September 2022, HLDI found that Hyundais
                                            found that Hyundais and Kias are
                                                                and Kias are stolen
                                                                             stolen at
                                                                                    at

 44   nearly twice
      nearly twice the
                   the rate
                       rate of
                            of other vehicles in
                               other vehicles in the
                                                 the automobile
                                                     automobile industry.
                                                                industry. Specifically,
                                                                          Specifically,

 55   “Hyundais and
      "Hyundais and Kias
                    Kias without
                         without immobilizers
                                 immobilizers had
                                              had aa vehicle
                                                     vehicle theft
                                                             theft claim rate of
                                                                   claim rate    2.18 per
                                                                              of 2.18 per

 66   1,000 insured
      1,000 insured vehicle
                    vehicle years"
                            years” while
                                   while the
                                         the remainder
                                             remainder of the industry,
                                                       of the industry, combined, had aa
                                                                        combined, had

 77   theft claim
      theft       rate of
            claim rate    1.21.44
                       of 1.21.44

 8
 8           69.
             69.    Defendants’ decision
                    Defendants'          not to
                                decision not to install
                                                install reasonable
                                                        reasonable anti-theft
                                                                   anti-theft technology
                                                                              technology in
                                                                                         in

 99   the Susceptible
      the Susceptible Vehicles between 2011
                      Vehicles between 2011 and
                                            and 2022,
                                                2022, in
                                                      in contrast to the
                                                         contrast to the vast
                                                                         vast majority
                                                                              majority of
                                                                                       of

10
10     car manufacturers that
       car manufacturers that did, has foreseeably
                              did, has foreseeably led
                                                   led to
                                                       to the
                                                          the epidemic plaguing Plaintiff.
                                                              epidemic plaguing Plaintiff.

11
11                  C.
                    C.     The
                           The Lack
                               Lack of
                                    of Reasonable Anti-Theft Devices
                                       Reasonable Anti-Theft Devices in
                                                                      in Most
                                                                         Most
                           Hyundai and
                           Hyundai and Kia  Vehicles Has
                                        Kia Vehicles Has Led
                                                         Led to
                                                             to aa Wave
                                                                   Wave of
                                                                         of Thefts
                                                                            Thefts
12
12
             70.
             70.    Kia and
                    Kia and Hyundai
                            Hyundai chose to flout
                                    chose to flout the
                                                   the industry
                                                       industry standard
                                                                standard of utilizing an
                                                                         of utilizing an
13
13
       engine immobilizer or
       engine immobilizer or other reasonable anti-theft
                             other reasonable anti-theft technology
                                                         technology in
                                                                    in the
                                                                       the Susceptible
                                                                           Susceptible
14
14
       Vehicles, which made
       Vehicles, which made those
                            those vehicles
                                  vehicles more
                                           more susceptible to theft.
                                                susceptible to theft. As
                                                                      As would-be
                                                                         would-be car
                                                                                  car
15
15
      thieves learned
      thieves learned of this susceptibility,
                      of this susceptibility, the
                                              the incidence
                                                  incidence of theft for
                                                            of theft for Susceptible
                                                                         Susceptible Vehicles
                                                                                     Vehicles
16
16
      increased, relative
      increased, relative to
                          to other models, from
                             other models, from 2015
                                                2015 to 2020.45
                                                     to 2020.'
17
17
      44
      44 Id. ("An
         Id. (“An insured
                    insured vehicle
                            vehicle year
                                    year is
                                         is equal  to one
                                            equal to        vehicle insured
                                                       one vehicle  insured for
                                                                            for one year.”).
                                                                                one year.").
18
18    45
         See NICB
      45 See  NICB’s    Hot Wheels:
                     's Hot          America’s 10
                            Wheels: America's    10 Most
                                                     Most Stolen
                                                            Stolen Vehicles, NICB (Aug.
                                                                   Vehicles, NICB   (Aug. 1,
                                                                                           1,
19
19      2016), https://www.nicb.org/sites/files/2017-11/2015-Hot-Wheels-Report.pdf;
        2016),   https://www.nicb.org/sites/files/2017-11/2015-Hot-Wheels-Report.pdf;
        NICB’s
       NICB       Hot Wheels:
               's Hot          America’s 10
                       Wheels: America's   10 Most
                                               Most Stolen
                                                      Stolen Vehicles,  NICB (July
                                                              Vehicles, NICB  (July 12,
                                                                                     12, 2017),
                                                                                         2017),
20
20      https://www.nicb.org/sites/files/2017-11/2016-Hot-Wheels-Report.pdf; 2017
        https://vvvvw.nicb.org/sites/files/2017-11/2016-Hot-Wheels-Report.pdf;         2017 Hot
                                                                                              Hot
        Wheels    Report, NICB
        Wheels Report,    NICB (Sept.
                                 (Sept. 18,
                                        18, 2018),
                                            2018), https://vvvvw.nicb.org/news/news-
                                                     https://www.nicb.org/news/news-
21
21      releases/2017-hot-wheels-report; NICB
        releases/2017-hot-wheels-report;     NICB’s    Hot Wheels:
                                                    's Hot           America’s 10
                                                            Wheels: America's   10 Most
                                                                                   Most Stolen
                                                                                          Stolen
        Vehicles,   NICB (Nov.
        Vehicles, NICB    (Nov. 19,
                                 19, 2019),
                                     2019), https://www.nicb.org/sites/files/2020-
                                             https://www.nicb.org/sites/files/2020-
22
22
        01/2018%20Hot%20Wheels%20Report.pdf;
        01/2018%20Hot%20Wheels%20Report.pdf; NICB          NICB’s   Hot Wheels:
                                                                 's Hot          America’s Top
                                                                        Wheels: America's     Top
23
23      Ten  Most Stolen
        Ten Most    Stolen Vehicle  Makes, NICB
                            Vehicle Makes,  NICB (Oct.
                                                   (Oct. 13,
                                                          13, 2020),
                                                               2020),
        https://www.nicb.org/HotWheels2019; and
        https://www.nicb.org/HotWheels2019;         and NICB
                                                         NICB Releases
                                                                Releases Annual
                                                                          Annual ‘Hot
                                                                                  `Hot Wheels’
                                                                                        Wheels'
                                                23
                                                23
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 11          71.
             71.    However, this
                    However, this progression
                                  progression became
                                              became an
                                                     an explosion in late
                                                        explosion in late 2020,
                                                                          2020, when
                                                                                when aa

22     group
       group of teenagers began
             of teenagers began posting
                                posting "how-to"
                                        “how-to” videos
                                                 videos detailing how simple
                                                        detailing how        it was
                                                                      simple it was to
                                                                                    to
                                   46
33     steal
       steal Susceptible
             Susceptible Vehicles.
                         Vehicles.46  That
                                      That group, the "Kia
                                           group, the “Kia Boyz,"
                                                           Boyz,” became
                                                                  became notorious
                                                                         notorious for
                                                                                   for

 44   posting videos
      posting videos of youth engaging
                     of youth          in reckless
                              engaging in reckless driving after stealing
                                                   driving after stealing Kias
                                                                          Kias and
                                                                               and

 55   Hyundais.47 As
      Hyundais.47 As the
                     the videos
                         videos detailed,
                                detailed, aa thief
                                             thief need
                                                   need only break aa window,
                                                        only break    window, remove
                                                                              remove the
                                                                                     the

 66   plastic cowl
      plastic      under the
              cowl under the steering
                             steering column, and use
                                      column, and use aa USB
                                                         USB connector (such as
                                                             connector (such as the
                                                                                the

 77   ubiquitous mobile
      ubiquitous mobile phone
                        phone charging
                              charging cable) to turn
                                       cable) to turn the
                                                      the ignition
                                                          ignition switch
                                                                   switch and
                                                                          and start these
                                                                              start these

 8
 8    unsecure cars.
      unsecure cars. In many instances,
                     In many instances, thieves
                                        thieves are
                                                are able
                                                    able to
                                                         to break
                                                            break into
                                                                  into the
                                                                       the Susceptible
                                                                           Susceptible

 99    Vehicles and drive
       Vehicles and       away in
                    drive away in under
                                  under one minute.
                                        one minute.

10
10           72.
             72.    What followed the
                    What followed the trending
                                      trending documentation
                                               documentation of the unsecure
                                                             of the unsecure Susceptible
                                                                             Susceptible
                                                                                 48
11
11     Vehicles was all
       Vehicles was all too
                        too predictable:
                            predictable: thefts
                                         thefts of Kias and
                                                of Kias and Hyundais
                                                            Hyundais skyrocketed.
                                                                     skyrocketed.48 In the
                                                                                    In the

12
12    first half
      first half of 2021, the
                 of 2021, the number
                              number of
                                     of stolen Kias and
                                        stolen Kias and Hyundais
                                                        Hyundais in
                                                                 in Milwaukee
                                                                    Milwaukee increased
                                                                              increased

13
13    by more
      by more than
              than thirty
                   thirty and
                          and fifteen
                              fifteen times,
                                      times, respectively,
                                             respectively, when
                                                           when compared to the
                                                                compared to the same
                                                                                same

14
14

15
15
        Report: America's
        Report:   America’s Top
                              Top Ten  Most Stolen
                                   Ten Most  Stolen Vehicles,   NICB (Oct.
                                                     Vehicles, NICB    (Oct. 12,
                                                                              12, 2021),
                                                                                  2021),
16
16      https://www.nicb.org/news/news-releases/nicb-releases-annual-hot-wheels-
        https://vvvvw.nicb.org/news/news-releases/nicb-releases-annual-hot-wheels-
        report-americas-top-ten-most-stolen-vehicles.
        report-americas-top-ten-most-stolen-vehicles.
17
17    46
      46 Greg   Rosalsky, Someone
         Greg Rosalsky,     Someone stole
                                     stole my
                                            my truck.
                                               truck. II got
                                                         got a
                                                             a crash
                                                               crash course
                                                                     course onon the wild black
                                                                                 the wild  black
        market   for stolen
        market for   stolen cars,  NPR (Aug.
                             cars, NPR  (Aug. 23,
                                              23, 2022,
                                                   2022, 6:30   AM),
                                                          6:30 AM),
18
18      https://www.npr.org/sections/money/2022/08/23/1118457271/someone-stole-my-
        https://vvvvw.npr.org/sections/money/2022/08/23/1118457271/someone-stole-my-
19
19      truck-i-got-a-crash-course-on-the-wild-black-market-for-stolen-.
        truck-i-got-a-crash-course-on-the-wild-black-market-for-stolen-.
      47
      47 Chris  DiLella &
         Chris DiLella    & Andrea
                             Andrea Day,
                                     Day, TikTok
                                           TikTok challenge    spurs rise
                                                  challenge spurs    rise in
                                                                          in thefts
                                                                             thefts of Kia,
                                                                                    of Kia,
20
20      Hyundai cars,
        Hyundai    cars, CNBC    (Sept. 9,
                         CNBC (Sept.       2022, 9:11
                                        9, 2022,        PM),
                                                 9:11 PM),
        https://www.cnbc.com/2022/09/08/tiktok-challenge-spurs-rise-in-thefts-of-kia-
        https://vvvvw.cnbc.com/2022/09/08/tiktok-challenge-spurs-rise-in-thefts-of-kia-
21
21      hyundai-cars.html.
        hyundai-cars.html.
      48
      48 Videos   Show Teens
          Videos Show           How to
                         Teens How      Steal Certain
                                     to Steal Certain Kias
                                                        Kias and
                                                              and Hyundais
                                                                  Hyundais With
                                                                              With Only  a USB
                                                                                    Only a  USB
22
22
        Cable,  Police Warn
        Cable, Police          Amid Rising
                         Warn Amid   Rising Thefts,  Inside Edition
                                             Thefts, Inside  Edition (Aug.
                                                                     (Aug. 10,
                                                                             10, 2022,
                                                                                 2022, 1:51
                                                                                        1:51 PM),
                                                                                              PM),
23
23      https://www.insideedition.com/videos-show-teens-how-to-steal-certain-kias-and-
        https://vvvvw.insideedition.com/videos-show-teens-how-to-steal-certain-kias-and-
        hyundais-with-only-a-usb-cable-police-warn-amid.
        hyundais-with-only-a-usb-cable-police-warn-amid.
                                                24
                                                24
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 11   period in
      period    2020.49 This
             in 2020.49 This dramatic increase in
                             dramatic increase in thefts
                                                  thefts is
                                                         is unique
                                                            unique to
                                                                   to Kias
                                                                      Kias and
                                                                           and Hyundais,
                                                                               Hyundais,

22    which represented
      which represented 67%
                        67% of all cars
                            of all cars stolen in that
                                        stolen in that period,
                                                       period, compared to only
                                                               compared to      6% of
                                                                           only 6% of

33     stolen
       stolen cars
              cars in 2019.50 This
                   in 2019.50      trend then
                              This trend then spread
                                              spread nationwide.
                                                     nationwide.

 44                 D.
                    D.     Car Thefts
                           Car Thefts Imperil
                                      Imperil Public
                                              Public Safety
                                                     Safety

 55          73.
             73.    Car thefts directly
                    Car thefts          imperil public
                               directly imperil public safety.
                                                       safety. By
                                                               By creating, facilitating,
                                                                  creating, facilitating,

 66   and/or otherwise
      and/or otherwise contributing to aa rash
                       contributing to    rash of
                                               of car thefts, Defendants
                                                  car thefts, Defendants are
                                                                         are responsible
                                                                             responsible for
                                                                                         for

 77   aa substantial risk to
         substantial risk to the
                             the public
                                 public safety.
                                        safety.

 8
 8           74.
             74.    NHTSA promulgated
                    NHTSA promulgated FMVSS
                                      FMVSS 114
                                            114 to
                                                to reduce
                                                   reduce the
                                                          the instances
                                                              instances of
                                                                        of car theft,
                                                                           car theft,

 99   because "stolen
      because “stolen cars
                      cars constitute
                           constitute aa major
                                         major hazard
                                               hazard to
                                                      to life
                                                         life and
                                                              and limb
                                                                  limb on     highways.”51
                                                                          the highways."'
                                                                       on the

10
10    NHTSA concluded
      NHTSA           that the
            concluded that the "evidence
                               “evidence shows that cars
                                         shows that cars operated by unauthorized
                                                         operated by unauthorized

11
11    persons are
      persons are far
                  far more
                      more likely to cause
                           likely to       unreasonable risk
                                     cause unreasonable risk of accident, personal
                                                             of accident, personal injury,
                                                                                   injury,

12
12    and death
      and       than those
          death than those which
                           which are
                                 are driven by authorized
                                     driven by            individuals.”52 The
                                               authorized individuals."'      NHTSA
                                                                          The NHTSA

13
13    Administrator concluded
      Administrator           that "a
                    concluded that “a reduction
                                      reduction in
                                                in the
                                                   the incidence
                                                       incidence of auto theft
                                                                 of auto theft would
                                                                               would make
                                                                                     make

14
14    aa substantial
         substantial contribution to motor
                     contribution to motor vehicle
                                           vehicle safety,"
                                                   safety,” by
                                                            by reducing
                                                               reducing both
                                                                        both injuries
                                                                             injuries and
                                                                                      and

15
15     deaths to would-be
       deaths to would-be car thieves, and
                          car thieves, and by
                                           by "protect[ing]
                                              “protect[ing] the
                                                            the many
                                                                many innocent
                                                                     innocent members
                                                                              members of
                                                                                      of

16
16    the public
      the public who
                 who are
                     are killed
                         killed and injured by
                                and injured by stolen
                                               stolen cars
                                                      cars each year.”53
                                                           each year."'

17
17
       49
          Sean Tucker, Milwaukee Police Report Hyundais, Kias Stolen in Record
      49 Sean Tucker, Milwaukee Police Report Hyundais, Kias Stolen in Record
18
18       Numbers, Kelley
        Numbers,    Kelley Blue
                            Blue Book
                                 Book (Dec.
                                       (Dec. 14,
                                              14, 2021,
                                                  2021, 5:27 PM), https://vvvvw.kbb.com/car-
                                                        5:27 PM),  https://www.kbb.com/car-
19
19       news/milwaukee-police-report-hyundais-kias-stolen-in-record-numbers/.
         news/milwaukee-police-report-hyundais-kias-stolen-in-record-numbers/.
       50
          Matt Posky,
       5° Matt  Posky, Summer
                        Summer ofof Theft
                                    Theft Creating Bad Publicity
                                          Creating Bad  Publicity for
                                                                  for Hyundai,
                                                                      Hyundai, Kia,
                                                                                Kia, Truth
                                                                                     Truth
20
20       About Cars
         About        (Sept. 20,
                 Cars (Sept. 20, 2022
                                 2022 2:36
                                      2:36 PM),
                                            PM),
         https://www.thetruthaboutcars.com/cars/kia/summer-of-theft-creating-bad-
         https://vvvvw.thetruthaboutcars.com/cars/kia/summer-of-theft-creating-bad-
21
21       publicity-for-hyundai-kia-44496971.
         publicity-for-hyundai-kia-44496971.
       51
          See Motor
       51 See  Motor Vehicle
                      Vehicle Safety
                              Safety Standard  No. 114;
                                      Standard No.  114; Theft Protection; Passenger
                                                         Theft Protection;  Passenger Cars,
                                                                                      Cars,
22
22
         33 Fed.
         33 Fed. Reg.
                  Reg. 6,471,
                       6,471, supra
                              supra note
                                     note 18.
                                          18.
       52
       52 Id.
23
23     53
          Id.
       53 id.

                                                  25
                                                  25
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 11          75.
             75.    The reverse is
                    The reverse is true
                                   true as
                                        as well.
                                           well. An
                                                 An increase in
                                                             in the
                                                                the incidence
                                                                    incidence of automobile
                                                                              of automobile

22    theft results
      theft results in
                    in aa substantial
                          substantial decrease in public
                                      decrease in public safety.
                                                         safety. Defendants'
                                                                 Defendants’ decision not to
                                                                             decision not to

33     equip their vehicles
       equip their vehicles with
                            with reasonable
                                 reasonable anti-theft
                                            anti-theft technology,
                                                       technology, such
                                                                   such as
                                                                        as an
                                                                           an immobilizer,
                                                                              immobilizer,

 44   has led
      has led to
              to aa clear rise in
                    clear rise in automobile
                                  automobile thefts
                                             thefts and
                                                    and the
                                                        the concomitant threats to
                                                            concomitant threats to public
                                                                                   public

 55    safety.
       safety. Stolen
               Stolen cars are often
                      cars are often driven recklessly—particularly in
                                     driven recklessly—particularly in this
                                                                       this case, where cars
                                                                            case, where cars

 66   are stolen
      are        for joyriding
          stolen for joyriding or use in
                               or use in the
                                         the commission of other
                                             commission of other crimes, rather than
                                                                 crimes, rather than for
                                                                                     for

 77   parts or
      parts    resale—which poses
            or resale—which poses aa risk
                                     risk to
                                          to both
                                             both the
                                                  the operators
                                                      operators of the stolen
                                                                of the        vehicle and
                                                                       stolen vehicle and

 8
 8    any lawful
      any lawful drivers
                 drivers or pedestrians who
                         or pedestrians who are
                                            are unfortunate
                                                unfortunate enough to cross
                                                            enough to       their paths.
                                                                      cross their paths.

 99          76.
             76.    By creating
                    By creating aa rash
                                   rash of
                                        of car thefts, Defendants
                                           car thefts, Defendants are
                                                                  are responsible
                                                                      responsible for
                                                                                  for aa

10
10     substantial risk to
       substantial risk to public
                           public safety.
                                  safety.

11
11           77.
             77.    Reckless driving
                    Reckless         impacts the
                             driving impacts the comfortable
                                                 comfortable enjoyment of life,
                                                             enjoyment of life, health,
                                                                                health,

12
12    and safety
      and safety of
                 of others. Distinct from
                    others. Distinct from many
                                          many instances
                                               instances of
                                                         of car theft, where
                                                            car theft, where the
                                                                             the object is
                                                                                 object is

13
13     converting the stolen
       converting the        vehicle (either
                      stolen vehicle (either whole
                                             whole or in parts),
                                                   or in parts), the
                                                                 the recent
                                                                     recent wave
                                                                            wave of Hyundai
                                                                                 of Hyundai

14
14    and Kia
      and Kia thefts
              thefts often involves teenagers
                     often involves teenagers joyriding,
                                              joyriding, posting
                                                         posting videos
                                                                 videos of themselves
                                                                        of themselves

15
15     driving recklessly, and
       driving recklessly, and then
                               then abandoning
                                    abandoning the
                                               the stolen vehicles—often after
                                                   stolen vehicles-often after

16
16     collisions—at all hours
       collisions—at all hours of the day
                               of the     and night.
                                      day and night.

17
17           78.
             78.    Social media platforms
                    Social media platforms are
                                           are rife
                                               rife with
                                                    with examples
                                                         examples of this dangerous
                                                                  of this dangerous

18
18     conduct.
       conduct. Videos posted on
                Videos posted    these platforms
                              on these platforms highlight
                                                 highlight the
                                                           the very
                                                               very real
                                                                    real dangers
                                                                         dangers of this
                                                                                 of this

19
19    phenomenon, including
      phenomenon, including youth
                            youth joyriding
                                  joyriding through
                                            through school
                                                    school zones
                                                           zones or through crowds
                                                                 or through crowds of
                                                                                   of
                                                                                 54
20
20    bystanders, and
      bystanders, and drivers hitting other
                      drivers hitting other cars and then
                                            cars and then running
                                                          running from
                                                                  from the
                                                                       the scene.
                                                                           scene.54 The
                                                                                    The

21
21
       54
          See, e.g.,
       54 See, e.g., @mixtapetrappers_, Instagram (Oct.
                     @mixtapetrappers , Instagram (Oct. 19,
                                                        19, 2021),
                                                            2021),
22
22
        https://www.instagram.com/p/CVNhjg9D64B/?utm%20medium=copy%20link;
        https://vvvvw.instagram.com/p/CVNhj  g9D64B/?utm%20medium=copy%201ink;
23
23     @414hypehouse,
       @414hypehouse, Instagram    (Aug. 19,
                         Instagram (Aug. 19, 2021),
                                             2021),
        https://www.instagram.com/p/CSwsnhfAktd/; @414hypehouse,
        https://vvvvw.instagram.com/p/CSwsnhfAktd/; @414hypehouse, Instagram (Sept.
                                                                   Instagram (Sept.
                                              26
                                              26
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 11   fact that
      fact that many
                many of the perpetrators
                     of the perpetrators are
                                         are juveniles
                                             juveniles and
                                                       and therefore
                                                           therefore inexperienced
                                                                     inexperienced

22     drivers—in many cases,
       drivers—in many        too young
                       cases, too young to
                                        to have
                                           have aa driver’s license or
                                                   driver's license or permit—adds to the
                                                                       permit—adds to the

33     danger.
       danger.

 44           79.
              79.    Police officers
                     Police          responding to
                            officers responding to vehicle
                                                   vehicle thefts
                                                           thefts and
                                                                  and other
                                                                      other crimes stemming
                                                                            crimes stemming

 55   from those
      from those same thefts also
                 same thefts also face
                                  face serious
                                       serious safety threats. In
                                               safety threats. In Cleveland,
                                                                  Cleveland, officers have
                                                                             officers have
                55
 66   been shot,
      been shot,55 shot at,56 and
                   shot at,56     stabbed57 when
                              and stabbed'  when responding
                                                 responding to
                                                            to and/or
                                                               and/or encountering
                                                                      encountering aa

 77   Hyundai or
      Hyundai    Kia theft
              or Kia theft incident.
                           incident. In
                                     In Tonawanda,
                                        Tonawanda, aa police
                                                      police officer stopped aa driver
                                                             officer stopped           in aa
                                                                                driver in

 8
 8     stolen Kia Sportage
       stolen Kia Sportage SUV and was
                           SUV and was dragged and "thrown
                                       dragged and “thrown onto the road"
                                                           onto the road” when
                                                                          when the
                                                                               the

 99

10
10

11
11

12
12

13
13

14
14       10, 2021),
         10, 2021), https://vvvvw.instagram.com/p/CTqCaYTANaC/;
                    https://www.instagram.com/p/CTqCaYTANaC/; @414hypehouse,  @414hypehouse,
15
15       Instagram  (Oct. 20,
         Instagram (Oct.   20, 2021),
                                2021), https://www.instagram.com/p/CVRCcU5AkwT/.
                                        https://www.instagram.com/p/CVRCcU5AkwT/.
       55
       55 Julia Bingel, Cleveland
          Julia Bingel,               police issue
                        Cleveland police           warrant for
                                             issue warrant   for 17-year-old
                                                                 17-year-old boy    accused of
                                                                               boy accused  of
16
16       shooting officer
        shooting   officer (body
                           (body camera
                                   camera video),   19 News
                                            video), 19  News (Mar.
                                                               (Mar. 30,
                                                                       30, 2023,
                                                                           2023, 8:51 AM),
                                                                                 8:51 AM),
         https://www.cleveland19.com/2023/03/30/cleveland-police-issue-warrant-17-
         https://vvvvw.cleveland19.com/2023/03/30/cleveland-police-issue-warrant-17-
17
17       year-old-male-accused-shooting-officer/.
         year-old-male-accused-shooting-officer/.
       56
          Ed Gallek
       56 Ed  Gallek && Peggy
                        Peggy Gallek,
                                 Gallek, Thieves   getting bolder:
                                           Thieves getting           Police threatened,
                                                           bolder: Police    threatened, taunted,
                                                                                         taunted,
18
18       and shot
         and  shot by suspects in
                   by suspects      stolen KIAs,
                                 in stolen  KIAs, Fox
                                                  Fox 88 (Mar.
                                                         (Mar. 20,
                                                                 20, 2023,
                                                                     2023, 4:52   PM),
                                                                            4:52 PM),
19
19       https://fox8.com/news/i-team/thieves-getting-bolder-police-threatened-taunted-
         https://fox8.com/news/i-team/thieves-getting-bolder-police-threatened-taunted-
         and-shot-by-suspects-in-stolen-kias/.
         and-shot-by-suspects-in-stolen-kias/.
       57
20
20     57
          Ed Gallek
          Ed  Gallek && Peggy
                        Peggy Gallek,
                                 Gallek, Cleveland    police officer
                                          Cleveland police            stabbed in
                                                              officer stabbed     head with
                                                                               in head with
         screwdriver, Fox
        screwdriver,   Fox 8 8 (June
                               (June 12,
                                       12, 2023,
                                           2023, 2:12
                                                 2:12 PM),
                                                       PM), https://fox8.com/news/cleveland-
                                                              https://fox8.com/news/cleveland-
21
21       police-officer-stabbed-in-head-with-screwdriver/; see
         police-officer-stabbed-in-head-with-screwdriver/;        see also
                                                                       also John  H. Tucker,
                                                                            John H.  Tucker,
         Suspect charged
        Suspect   charged in   screwdriver assault
                            in screwdriver    assault on
                                                      on off-duty  Cleveland police
                                                         off-duty Cleveland    police officer,
                                                                                      officer,
22
22
         Cleveland.com    (June 15,
         Cleveland.com (June      15, 2023,
                                      2023, 4:34   PM),
                                             4:34 PM),
23
23       https://www.cleveland.com/crime/2023/06/suspect-charged-in-screwdriver-
         https://vvvvw.cleveland.com/crime/2023/06/suspect-charged-in-screwdriver-
         assault-on-off-duty-cleveland-police-officer.html.
         assault-on-off-duty-cleveland-police-officer.html.
                                                 27
                                                 27
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 11    driver
       driver of the stolen
              of the        Kia attempted
                     stolen Kia attempted to flee.58 The
                                          to flee.58 The officer was badly
                                                         officer was badly injured
                                                                           injured and
                                                                                   and

22     subsequently hospitalized.59
       subsequently hospitalized.59

33           80.
             80.    A substantial
                    A             risk to
                      substantial risk to public
                                          public safety also arises
                                                 safety also arises in
                                                                    in the
                                                                       the event that the
                                                                           event that the

 44   would-be thief
      would-be thief is
                     is confronted in the
                        confronted in the act.
                                          act. In
                                               In January 2023, aa Cleveland
                                                  January 2023,              man followed
                                                                   Cleveland man followed

 55   aa Hyundai
         Hyundai Sonata that struck
                 Sonata that        his car
                             struck his     mirror and
                                        car mirror and did not stop.
                                                       did not stop. The
                                                                     The driver and
                                                                         driver and

 66   passenger of
      passenger    the Hyundai
                of the Hyundai got
                               got out
                                   out of the vehicle
                                       of the vehicle with
                                                      with guns and began
                                                           guns and began shooting at
                                                                          shooting at

 77   him.60 Police
      him.6° Police found
                    found nine
                          nine bullet
                               bullet casings in the
                                      casings in the street and bullet
                                                     street and bullet holes
                                                                       holes in
                                                                             in the
                                                                                the front
                                                                                    front
                                                                  61
 8
 8    window of
      window of aa nearby
                   nearby home
                          home and
                               and in
                                   in aa car
                                         car parked
                                             parked on the street.
                                                    on the street.61 About one
                                                                     About     hour later,
                                                                           one hour later,

 99   the same
      the      Hyundai, which
          same Hyundai, which had
                              had been
                                  been reported
                                       reported stolen
                                                stolen days
                                                       days earlier, was involved
                                                            earlier, was involved in
                                                                                  in aa

10
10     drive-by shooting.62
       drive-by shooting.'

11
11           81.
             81.    This risk was
                    This risk was also
                                  also tragically
                                       tragically demonstrated in Columbus,
                                                  demonstrated in Columbus, Ohio, when aa
                                                                            Ohio, when

12
12     4-year-old was killed
       4-year-old was killed in
                             in aa hit-and-run
                                   hit-and-run involving
                                               involving aa stolen Kia.63
                                                            stolen Kia.63

13
13
       58
       58 Stephen
          Stephen T.
                  T. Watson,
                     Watson, Tonawanda
                             Tonawanda officer
                                       officer badly
                                               badly injured when dragged
                                                     injured when dragged by stolen
                                                                          by stolen
14
14      vehicle
        vehicle is  is released from ECMC,
                       releasedfrom   ECMC, Buffalo
                                               Buffalo News
                                                        News (June
                                                               (June 5,  2023),
                                                                      5, 2023),
15
15      https://buffalonews.com/news/local/crime-and-courts/tonawanda-officer-badly-
        https://buffalonews.com/news/local/crime-and-courts/tonawanda-officer-badly-
        injured-when-dragged-by-stolen-vehicle-is-released-from-
        injured-when-dragged-by-stolen-vehicle-is-released-from-
16
16      ecmc/article_4768ae48-03d4-11ee-8593-4322704cd734.html#tracking-
        ecmc/article 4768ae48-03d4-11ee-8593-4322704cd734.html#tracking-
        source=article-related-bottom.
        source=article-related-bottom.
17
17    59
         Id.
      59/d.
      60
      60
          Cory
          Cory Shaffer,
                   Shaffer, Teens
                            Teens lodge  stolen Hyundai
                                   lodge stolen  Hyundai in   Burger King
                                                           in Burger   King drive-thru
                                                                             drive-thru on
                                                                                        on two
                                                                                            two
18
18      wheels after
        wheels      after owner
                          owner confronts
                                 confronts them,
                                           them, Cleveland.com      (Feb. 3,
                                                   Cleveland.com (Feb.    3, 2023,
                                                                             2023, 5:03  PM),
                                                                                    5:03 PM),
19
19      https://www.cleveland.com/court-justice/2023/02/teens-lodge-stolen-hyundai-in-
        https://vvvvw.cleveland.com/court-justice/2023/02/teens-lodge-stolen-hyundai-in-
        burger-king-drive-thru-on-two-wheels-after-owner-confronts-them.html.
        burger-king-drive-thru-on-two-wheels-after-owner-confronts-them.html.
      61
20
20    61
          Id.
          Id.
      62 Id.
      62
          Id.
21
21    63
      63 Carly     D’Eon, Man
          Carly D'Eon,      Man wanted
                                  wanted in  fatal hit-and-run
                                         in fatal  hit-and-run of
                                                                of 4-year-old
                                                                   4-year-old boy
                                                                               boy turns  himself in,
                                                                                    turns himself in,
        10 WBNS
        10   WBNS (July (July 24,
                              24, 2023,
                                  2023, 6:04
                                        6:04 AM),
                                              AM),
22
22
        https://www.10tv.com/article/news/local/arrest-warrant-issued-for-man-allegedly-
        http  s: //vvvvw.10tv. com/article/news/local/arrest-warrant-issued-for-man-allegedly-
23
23      connected-to-fatal-hit-skip-south-franklinton/530-a8ab887d-8c43-48ea-8b4d-
        connected-to-fatal-hit-skip-south-franklinton/530-a8ab887d-8c43-48ea-8b4 d-
        91ed5531a351.
        91ed5531a351 .
                                                 28
                                                 28
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 1
 1          82.
            82.       Car thefts and
                      Car thefts and reckless
                                     reckless driving also create
                                              driving also create aa substantial risk of
                                                                     substantial risk    physical
                                                                                      of physical

22    harm to
      harm to pedestrian
              pedestrian bystanders.
                         bystanders. On February 8,
                                     On February    2023, aa stolen
                                                 8, 2023,           Hyundai involved
                                                             stolen Hyundai involved in
                                                                                     in

3
3     aa high-speed
         high-speed chase in Baltimore
                    chase in Baltimore crashed into another
                                       crashed into another car and aa 54-year-old
                                                            car and    54-year-old

 44   pedestrian.64 Both
      pedestrian.64 Both cars
                         cars careened into aa nearby
                              careened into    nearby building,
                                                      building, which
                                                                which collapsed
                                                                      collapsed on top of
                                                                                on top of

 55   the vehicles
      the vehicles and
                   and the pedestrian.65 The
                       the pedestrian.65     pedestrian was
                                         The pedestrian was pronounced
                                                            pronounced dead at the
                                                                       dead at the scene,
                                                                                   scene,

 66   and five
      and five occupants
               occupants of the two
                         of the two cars      injured.66
                                         were injured.66
                                    cars were

 77

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 8

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12                          S             •    .0'
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13                    Ii

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14                               I
15
15
                      E.
                      E.        Car Thefts
                                Car         Drain Public
                                     Thefts Drain Public Resources and Frustrate
                                                         Resources and Frustrate Public
                                                                                 Public
16
16                              Policy
                                Policy

17
17          83.
            83.       Plaintiff has
                      Plaintiff has expended
                                    expended significant time and
                                             significant time and resources
                                                                  resources responding to
                                                                            responding to

18
18    this public
      this public nuisance.
                  nuisance.

19
19
       64
20
20       Dan Belson, Footage shows fatal crash into Baltimore building, collapse
      64 Dan Belson, Footage shows fatal crash into Baltimore building, collapse
        following police
       following   police pursuit
                          pursuit of
                                  of stolen
                                     stolen car, Balt. Sun
                                            car, Balt.     (Mar 2,
                                                       Sun (Mar 2, 2023,
                                                                   2023, 8:29
                                                                         8:29 PM),
                                                                              PM),
21
21      https://www.baltimoresun.com/news/crime/bs-md-ci-cr-oag-crash-collapse-
        https://vvvvw.baltimoresun.com/news/crime/bs-md-ci-cr-oag-crash-collapse-
        footage-20230303-rbd6j3tokfhkjduh3oktmo6ow4-story.html
        footage-20230303-rbd6j3tokfhkjduh3oktmo6ow4-story.html
22
22
        [https://perma.cc/6UHA-S9GT].
        [https://perma.cc/6UHA-S9GT].
      65
      65 Id.
23
23    66 Id.
      66
         Id.
                                                      29
                                                      29
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 1
 1           84.
             84.    Additionally, the
                    Additionally, the police
                                      police and
                                             and emergency resources Plaintiff
                                                 emergency resources Plaintiff has
                                                                               has been
                                                                                   been

22    forced to
      forced to divert to respond
                divert to respond to
                                  to these
                                     these thefts
                                           thefts leaves
                                                  leaves fewer
                                                         fewer resources
                                                               resources for
                                                                         for combatting
                                                                             combatting

3
3      other
       other crimes and enhancing
             crimes and enhancing community safety.67
                                  community safety.'

 44          85.
             85.    As aa result
                    As    result of the skyrocketing
                                 of the              rates of
                                        skyrocketing rates    theft of
                                                           of theft of Hyundai
                                                                       Hyundai and
                                                                               and Kia
                                                                                   Kia

 55   vehicles nationwide,
      vehicles nationwide, some
                           some insurance
                                insurance companies are refusing
                                          companies are refusing to
                                                                 to write
                                                                    write policies
                                                                          policies for
                                                                                   for

 66    certain Hyundai and
       certain Hyundai and Kia
                           Kia models
                               models in
                                      in certain locales, thereby
                                         certain locales, thereby increasing
                                                                  increasing the
                                                                             the potential
                                                                                 potential

 77   number of
      number    uninsured motorists
             of uninsured motorists on     road.68
                                       the road.68
                                    on the

 8
 8

 99

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14
14     67
         John Roman et al., Cost-Benefit Analysis for Crime Prevention: Opportunity
      67 John Roman et al., Cost-Benefit Analysis for Crime Prevention: Opportunity

15
15      Costs,  Routine Savings
        Costs, Routine    Savings and
                                    and Crime   Externalities, 14
                                         Crime Externalities,    14 Crime     Prevention Stud.
                                                                      Crime Prevention    Stud. 53–
                                                                                                53-
        92  (Jan. 2002),
        92 (Jan.  2002), https://vvvvw.researchgate.net/publication/28575336
                          https://www.researchgate.net/publication/28575336_Cost-       Cost-
16
16      Benefit_Analysis_for_Crime_Prevention_Opportunity_Costs_Routine_Savings_a
        Benefit   Analysis for Crime Prevention Opportunity Costs Routine Savings a
        nd_Crime_Externalities.
        nd   Crime Externalities.
17
17    68
         Peter Valdes-Dapena,
      68 Peter  Valdes-Dapena, Some Some auto
                                          auto insurers   are refusing
                                                insurers are  refusing to  to cover
                                                                              cover certain Hyundai
                                                                                    certain Hyundai
        and Kia
        and  Kia models,
                  models, CNN      (Jan. 28,
                            CNN (Jan.    28, 2023,
                                             2023, 3:06
                                                    3:06 PM),
                                                          PM),
18
18      https://www.cnn.com/2023/01/27/business/progressive-state-farm-hyundai-
        https://vvvvw.cnn.com/2023/01/27/business/progressive-state-farm-hyundai-
19
19      kia/index.html;
        kia/index.html; seesee also
                               also Robert
                                     Robert Higgs,
                                             Higgs, Progressive,
                                                     Progressive, State
                                                                      State Farm
                                                                             Farm halt
                                                                                   halt new
                                                                                        new car
                                                                                             car
        insurance   policies for
        insurance policies    for high
                                  high theft
                                        theft models
                                              models of   Kia and
                                                      of Kia  and Hyundai,
                                                                     Hyundai, Cleveland.com      (Jan.
                                                                                Cleveland.com (Jan.
20
20      31, 2023,
        31,  2023, 1:06
                   1:06 PM),
                          PM), https://vvvvw.cleveland.com/business/2023/01/progressive-
                                https://www.cleveland.com/business/2023/01/progressive-
        state-farm-halt-new-car-insurance-policies-for-high-theft-models-of-kia-and-
        state-farm-halt-new-car-insurance-policies-for-high-theft-models-of-kia-and-
21
21      hyundai.html; see
        hyundai.html;    see also
                              also Joe  Hernandez, Dealers
                                   Joe Hernandez,    Dealers still
                                                                still sell
                                                                      sell Hyundais
                                                                           Hyundais and
                                                                                     and Kias
                                                                                          Kias
        vulnerable
        vulnerable toto theft,
                        theft, but
                               but insurance
                                    insurance is  hard to
                                               is hard     get, NPR
                                                        to get,  NPR (May
                                                                        (May 4,   2023, 5:00
                                                                               4, 2023,      AM),
                                                                                        5:00 AM),
22
22
        https://www.npr.org/2023/05/04/1173048646/hyundai-kia-car-theft-tiktok-
        https://vvvvw.npr.org/2023/05/04/1173048646/hyundai-kia-car-theft-tiktok-
23
23      insurance-dealerships (discussing
        insurance-dealerships     (discussing how
                                               how "a“a dozen”    insurance companies
                                                         dozen" insurance      companies denied
                                                                                           denied
        coverage   for the
        coverage for   the new
                            new owner
                                 owner of   2020 Kia
                                         of 2020  Kia Forte).
                                                       Forte).
                                                  30
                                                  30
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 1
 1            V.
              V.     THE
                     THE CONTINUING
                         CONTINUING PUBLIC
                                     PUBLIC NUISANCE AND DEFENDANTS'
                                            NUISANCE AND DEFENDANTS’
                               LATE,
                               LATE, INSUFFICIENT
                                     INSUFFICIENT RESPONSE
                                                  RESPONSE
22

3
3             86.
              86.    The rampant thefts
                     The rampant thefts of Hyundai and
                                        of Hyundai and Kia
                                                       Kia vehicles
                                                           vehicles are
                                                                    are still
                                                                        still impacting
                                                                              impacting

 44    counties and municipalities
       counties and municipalities nationwide,
                                   nationwide, including
                                               including Plaintiff,
                                                         Plaintiff, years
                                                                    years after the rise
                                                                          after the rise in
                                                                                         in

 55   thefts of
      thefts    the Susceptible
             of the Susceptible Vehicles       began.69
                                         first began.69
                                Vehicles first

 66           87.
              87.    Data from
                     Data from the
                               the Council
                                   Council on
                                           on Criminal
                                              Criminal Justice shows that
                                                       Justice shows that between
                                                                          between 2019
                                                                                  2019

 77   and 2023
      and 2023 motor
               motor vehicle
                     vehicle theft
                             theft has
                                   has increased
                                       increased an
                                                 an average
                                                    average of 104% across
                                                            of 104% across 30
                                                                           30 cities in
                                                                              cities in
                         70
 8
 8    the United
      the United States.
                 States.70

 99           88.
              88.    Defendants’ responses
                     Defendants' responses to
                                           to the
                                              the crises that they
                                                  crises that they have
                                                                   have created
                                                                        created show they
                                                                                show they

10
10     continue to prioritize
       continue to prioritize profits
                              profits over safety. Defendants
                                      over safety. Defendants have
                                                              have refused
                                                                   refused to
                                                                           to implement
                                                                              implement aa

11
11    recall to
      recall to install
                install reasonable
                        reasonable anti-theft
                                   anti-theft technology
                                              technology in
                                                         in the
                                                            the Susceptible
                                                                Susceptible Vehicles,
                                                                            Vehicles,

12
12    initially only
      initially only suggesting that owners
                     suggesting that owners of
                                            of Susceptible
                                               Susceptible Vehicles use wheel
                                                           Vehicles use wheel locks
                                                                              locks and,
                                                                                    and,
                                                                                 71
13
13    for some
      for some government
               government entities,
                          entities, offering wheel locks
                                    offering wheel locks for
                                                         for them
                                                             them to
                                                                  to distribute.
                                                                     distribute.71

14
14    Unfortunately, the
      Unfortunately, the wheel
                         wheel locks
                               locks are
                                     are not
                                         not entirely
                                             entirely effective;
                                                      effective; Susceptible
                                                                 Susceptible Vehicles with
                                                                             Vehicles with

15
15    wheel locks
      wheel locks in
                  in use
                     use have
                         have still been stolen
                              still been        and, in
                                         stolen and, in some instances, used
                                                        some instances, used in
                                                                             in connection
                                                                                connection

16
16

17
17
       69
          Tom Krisher, Hyundai and Kia thefts keep rising despite security fix, AP News
      69 Tom Krisher, Hyundai and Kia thefts keep rising despite security fix, AP News
18
18       (May 9,
         (May      2023, 7:40
                9, 2023,         AM), https://apnews.com/article/hyundai-kia-tiktok-theft-
                          7:40 AM),    https://apnews.com/article/hyundai-kia-tiktok-theft-
19
19       stolen-8e0a353d24be0e7bce36e34c5e4dac51.
         stolen-8e0a353d24be0e7bce36e34c5e4dac51.
       70
          Ernesto Lopez
       7° Ernesto   Lopez et   al., Crime
                            et al., Crime Trends
                                           Trends inin U.S. Cities: Mid-Year
                                                       U.S. Cities:  Mid-Year 2023
                                                                                2023 Update,
                                                                                     Update,
20
20       Council
         Council Crim.
                   Crim. Just.   (July 2023),
                           Just. (July 2023), https://counciloncj.org/mid-year-2023-crime-
                                               https://counciloncj.org/mid-year-2023-crime-
         trends/.
         trends/.
21
21     71
          Elliot Hughes,
          Elliot Hughes, Kia,
                            Kia, Hyundai
                                  Hyundai will
                                            will make   security feature
                                                 make security    feature standard
                                                                           standard on new vehicles
                                                                                    on new  vehicles
         and distribute
         and  distribute free
                          free steering
                                steering wheel
                                         wheel locks   after surge
                                                 locks after surge ofof thefts, Milwaukee J.
                                                                        thefts, Milwaukee J.
22
22
         Sentinel  (July 20,
         Sentinel (July  20, 2021,
                              2021, 11:20
                                      11:20 AM),
                                            AM),
23
23       https://www.jsonline.com/story/news/crime/2021/07/19/kia-hyundai-handing-out-
         https://vvvvw.jsonline.com/story/news/crime/2021/07/19/kia-hyundai-handing-out-
         free-steering-wheel-locks-through-end-year/7963950002/.
         free-steering-wheel-locks-through-end-year/7963950002/.
                                                 31
                                                 31
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 1
 1    with other
      with other crimes,
                 crimes, including shootings.72 In
                         including shootings.'  In addition,
                                                   addition, government
                                                             government entities are not
                                                                        entities are not

22     set up to
       set up to distribute automotive parts
                 distribute automotive parts to
                                             to residents.
                                                residents.

3
3             89.
              89.    More recently,
                     More recently, Hyundai
                                    Hyundai and
                                            and Kia
                                                Kia have
                                                    have begun
                                                         begun rolling
                                                               rolling out
                                                                       out aa "software
                                                                              “software

 44   update” rather
      update" rather than
                     than installing
                          installing immobilizers
                                     immobilizers or
                                                  or other reasonable anti-theft
                                                     other reasonable anti-theft

 55   technology.73 As
      technology.'  As highlighted
                       highlighted in
                                   in the
                                      the multistate
                                          multistate letter
                                                     letter sent
                                                            sent on behalf of
                                                                 on behalf    18 Attorneys
                                                                           of 18 Attorneys

 66    General, Hyundai acknowledged
       General, Hyundai acknowledged that
                                     that some
                                          some of the affected
                                               of the affected vehicles
                                                               vehicles cannot be
                                                                        cannot be

 77   updated, and
      updated, and Kia
                   Kia "confirmed
                       “confirmed that
                                  that some unspecified number
                                       some unspecified number of affected vehicles
                                                               of affected vehicles

 8
 8     cannot receive the
       cannot receive     updates.”74
                      the updates."'

 99

10
10

11
11

12
12

13
13     72
          Ashley Sears,
       72 Ashley        Milwaukee woman's
                 Sears, Milwaukee woman’s Kia
                                          Kia stolen
                                              stolen twice, had steering
                                                     twice, had steering wheel
                                                                         wheel lock,
                                                                               lock,
         FOX 66 News
         FOX      News Milwaukee
                         Milwaukee (Sept.
                                       (Sept. 28,
                                              28, 2021,
                                                  2021, 8:59
                                                          8:59 PM),
                                                               PM),
14
14       https://www.fox6now.com/news/milwaukee-womans-kia-stolen-twice; see
         https://vvvvw.fox6now.com/news/milwaukee-womans-kia-stolen-twice;                  see also
                                                                                                 also
15
15       David Rose,
         David   Rose, ‘B****,
                        B****, II swear,
                                    swear, b****,   I’m gonna
                                            b****, I'm   gonna crack    your phone:
                                                                 crack your   phone:’' Drive-by
                                                                                        Drive-by
         shooting suspect
        shooting    suspect says
                             says to
                                   to Tacoma    woman, FOX
                                      Tacoma woman,      FOX 13 13 Seattle (Jan. 25,
                                                                   Seattle (Jan.  25, 2023,
                                                                                       2023, 3:01
                                                                                               3:01
16
16       PM), https://vvvvw.q13fox.com/news/b-i-swear-b-im-gonna-crack-your-phone-
         PM),   https://www.q13fox.com/news/b-i-swear-b-im-gonna-crack-your-phone-
         drive-by-shooting-suspect-says-to-tacoma-woman;
         drive-by-shooting-suspect-says-to-tacoma-woman; and        and Boy,
                                                                         Boy, 15,
                                                                               15, fighting
                                                                                    fighting for
                                                                                              for his
                                                                                                   his
17
17       life after shooting
         life after shooting involving    stolen Kia
                               involving stolen  Kia in  Minneapolis, CBS
                                                      in Minneapolis,          News Minnesota
                                                                        CBS News       Minnesota
         (Apr. 6,
         (Apr.  6, 2023),
                   2023), https://vvvvw.cbsnews.com/minnesota/video/boy-15-fighting-for-
                          https://www.cbsnews.com/minnesota/video/boy-15-fighting-for-
18
18       his-life-after-shooting-involving-stolen-kia-in-minneapolis/.
         his-life-after-shooting-involving-stolen-kia-in-minneapolis/.
       73
19
19
       73
          Hyundai and
          Hyundai    and Kia
                         Kia Launch
                                Launch Service
                                        Service Campaign
                                                 Campaign to     Prevent Theft
                                                              to Prevent         of Millions
                                                                          Theft of   Millions ofof
         Vehicles
         Vehicles Targeted
                    Targeted by   Social Media
                               by Social  Media Challenge,
                                                  Challenge, NHTSA
                                                               NHTSA (Feb.
                                                                         (Feb. 14,
                                                                                14, 2023),
                                                                                      2023),
20
20       https://www.nhtsa.gov/press-releases/hyundai-kia-campaign-prevent-vehicle-
         https://vvvvw.nhtsa.gov/press-releases/hyundai-kia-campaign-prevent-vehicle-
         theft.
         theft.
21
21     74
          Letter from
       74 Letter  from Attorneys
                        Attorneys General     to Ann
                                     General to  Ann Carlson,    Acting Administrator
                                                       Carlson, Acting   Administrator of     the
                                                                                           of the
         National Highway
         National   Highway Traffic
                                Traffic Safety  Administration ("Letter
                                        Safety Administration     (“Letter from
                                                                           from Attorneys
                                                                                  Attorneys General
                                                                                               General
22
22
         to NHT
         to NHTSA”)     at 66 (Apr.
                  SA") at     (Apr. 20,
                                     20, 2023),
                                         2023), https://oag.dc.gov/sites/default/files/2023-
                                                 https://oag.dc.gov/sites/default/files/2023-
23
23       04/AG%20Multistate%20Letter%20to%20NHTSA%204.20.2023%20%281%29.
         04/AG%20Multistate%20Letter%20to%20NHTSA%204.20.2023%20%281%29.
         pdf.
        af.
                                                   32
                                                   32
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 11           90.
              90.     As acknowledged
                      As acknowledged in
                                      in the
                                         the motion
                                             motion for
                                                    for preliminary
                                                        preliminary approval
                                                                    approval of the
                                                                             of the

22     consumer
       consumer class action settlement
                class action settlement in
                                        in the
                                           the instant
                                               instant litigation,
                                                       litigation, only
                                                                   only 6.9
                                                                        6.9 million
                                                                            million of
                                                                                    of the
                                                                                       the

33    approximately 9
      approximately 9 million
                      million Susceptible
                              Susceptible Vehicles are even
                                          Vehicles are even eligible for the
                                                            eligible for     update.75
                                                                         the update.75

 44           91.
              91.     In the
                      In the three
                             three months
                                   months immediately
                                          immediately following
                                                      following Kia's
                                                                Kia’s and
                                                                      and Hyundai's
                                                                          Hyundai’s

 55   release of
      release    the software
              of the          update, data
                     software update, data gathered from the
                                           gathered from the Associated
                                                             Associated Press
                                                                        Press showed
                                                                              showed
                                                                      76
 66   “that the
      "that the number
                number of Hyundai and
                       of Hyundai and Kia
                                      Kia thefts
                                          thefts is
                                                 is still
                                                    still growing[.]”
                                                          growing[.]"76  The
                                                                         The software
                                                                             software

 77   update has
      update has not
                 not stopped the nuisance
                     stopped the nuisance that
                                          that the
                                               the Susceptible
                                                   Susceptible Vehicles
                                                               Vehicles created and the
                                                                        created and the

 8
 8     expenses that Plaintiff
       expenses that Plaintiff has
                               has incurred
                                   incurred and
                                            and continues to incur.
                                                continues to incur.

 99           92.
              92.     The update’s efficacy
                      The update's          has not
                                   efficacy has not been
                                                    been proven
                                                         proven in
                                                                in the
                                                                   the real
                                                                       real world.
                                                                            world. There
                                                                                   There

10
10    have been
      have been numerous
                numerous reports
                         reports of
                                 of Kia
                                    Kia and
                                        and Hyundai
                                            Hyundai vehicles
                                                    vehicles being
                                                             being stolen
                                                                   stolen after
                                                                          after

11
11    receiving the
      receiving the software update, and
                    software update, and Kia
                                         Kia and
                                             and Hyundai
                                                 Hyundai have
                                                         have identified
                                                              identified scenarios where
                                                                         scenarios where

12
12    the software
      the software logic fails.77
                   logic fails.'

13
13            93.
              93.     Plaintiff has
                      Plaintiff has become
                                    become aware
                                           aware of thefts that
                                                 of thefts that appear
                                                                appear to
                                                                       to use
                                                                          use aa different theft
                                                                                 different theft

14
14    method. To
      method.    avoid publicizing
              To avoid publicizing that
                                   that method,
                                        method, Plaintiff
                                                Plaintiff will
                                                          will not
                                                               not detail it in
                                                                   detail it in this
                                                                                this public
                                                                                     public

15
15     75
       75
          Consumer
          Consumer Class      Pls.’ Notice
                       Class Pls.'   Notice Mot.
                                              Mot. & & Renewed
                                                        Renewed Mot.
                                                                   Mot. Prelim.
                                                                          Prelim. Approval
                                                                                   Approval Class
                                                                                               Class
16
16       Action Settlement
         Action   Settlement at at 15,
                                   15, In
                                        In Re:
                                           Re: Kia
                                                Kia Hyundai
                                                     Hyundai Vehicle
                                                                Vehicle Theft   Marketing, Sales
                                                                          Theft Marketing,   Sales
         Practices, and
        Practices,    and Products
                           Products Liability
                                       Liability Litigation,
                                                  Litigation, 8:22-ml-03052-JVS-KES
                                                               8:22-m1-03052-JVS-KES (C.D.    (C.D. Cal.
                                                                                                      Cal.
17
17       Sept.  27, 2023),
         Sept. 27,  2023), Dkt.
                             Dkt. No.
                                   No. 228;
                                         228; see
                                               see also
                                                   also Carly
                                                         Carly Schaffner,    Kia, Hyundai
                                                                Schaffner, Kia,    Hyundai anti-theft
                                                                                             anti-theft
         software fixes
        software    fixes aa work
                             work in   progress, Auto.
                                    in progress,   Auto. News
                                                          News (June
                                                                  (June 2,
                                                                         2, 2023,
                                                                            2023, 8:00
                                                                                   8:00 AM),
                                                                                         AM),
18
18       https://www.autonews.com/regulation-safety/kia-hyundai-antitheft-software-fix-
         https://vvvvw.autonews.com/regulation-safety/kia-hyundai-antitheft-software-fix-
19
19       needs-fixes [https://perma.cc/HGH7-ZHZF]
         needs-fixes    [https://perma.cc/HGH7-ZHZF] (noting   (noting that
                                                                        that Defendants
                                                                              Defendants estimate
                                                                                           estimate
         “there are
        "there   are 99 million
                        million affected
                                  affected vehicles
                                            vehicles between
                                                       between them
                                                                 them on    the road").
                                                                        on the  road”).
       76
20
20        See Tom
       76 See         Krisher, Hyundai
               Tom Krisher,     Hyundai and and Kia
                                                 Kia thefts  keep rising
                                                      thefts keep          despite security
                                                                   rising despite   security fix,
                                                                                              fix, supra
                                                                                                   supra
         note 69.
         note  69.
21
21     77
       77
          Carly
          Carly Shaffner,    Kia, Hyundai
                 Shaffner, Kia,     Hyundai anti-theft
                                               anti-theft software
                                                          software fixes
                                                                     fixes aa work
                                                                              work in   progress, supra
                                                                                     in progress,   supra
         note 75
         note      (discussing aa February
               75 (discussing       February 2023
                                               2023 service   bulletin issued
                                                      service bulletin   issued from
                                                                                 from Kia
                                                                                        Kia to
                                                                                            to its
                                                                                                its dealers
                                                                                                    dealers
22
22
         regarding aa software
         regarding     software compatibility       issue for
                                   compatibility issue    for Kia
                                                              Kia vehicles
                                                                    vehicles equipped     with remote
                                                                              equipped with     remote
23
23       start accessories; another
         start accessories;   another bulletin
                                         bulletin issued
                                                  issued from
                                                          from Kia
                                                                 Kia in
                                                                      in late-May
                                                                         late-May of    2023
                                                                                    of 2023
         acknowledged that
         acknowledged      that "the
                                 “the problem
                                       problem has
                                                 has not
                                                      not been
                                                          been remedied").
                                                                 remedied”).
                                                     33
                                                     33
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 11   filing, but
      filing, but it
                  it appears
                     appears to
                             to circumvent
                                circumvent or
                                           or defeat the software
                                              defeat the software update
                                                                  update "fix"
                                                                         “fix” through
                                                                               through

22     simple physical means
       simple physical means that
                             that do not require
                                  do not require sophisticated
                                                 sophisticated tools,
                                                               tools, but
                                                                      but which,
                                                                          which, on
                                                                                 on

33    information and
      information and belief,
                      belief, would
                              would not
                                    not defeat an immobilizer
                                        defeat an immobilizer or
                                                              or other reasonable anti-
                                                                 other reasonable anti-

 44   theft technology.
      theft technology.

 55          94.
             94.       For vehicles
                       For vehicles not
                                    not covered by the
                                        covered by the software update, Defendants
                                                       software update, Defendants are
                                                                                   are

 66    offering nothing more
       offering nothing more than
                             than steering wheel locks
                                  steering wheel locks or rebates for
                                                       or rebates for already
                                                                      already purchased
                                                                              purchased

 77   wheel locks.78 As
      wheel locks.'  As noted
                        noted by
                              by multiple
                                 multiple Attorneys
                                          Attorneys General, steering wheel
                                                    General, steering wheel locks
                                                                            locks "still
                                                                                  “still

 8
 8    would not
      would not correct the underlying
                correct the underlying safety
                                       safety flaw
                                              flaw .. .. .. and
                                                            and .. .. .. would
                                                                         would impermissibly
                                                                               impermissibly shift
                                                                                             shift

 99   the responsibility
      the responsibility for
                         for fixing
                             fixing this
                                    this problem
                                         problem from
                                                 from the
                                                      the company to individual
                                                          company to individual vehicle
                                                                                vehicle
                  79
10
10     owners[.]”
              . ]"79
       owners[.]"79

11
11           95.
             95.   In addition,
                   In addition, upon
                                upon information
                                     information and
                                                 and belief,
                                                     belief, the
                                                             the software update can
                                                                 software update can

12
12     significantly inconvenience the
       significantly inconvenience the drivers
                                       drivers of the Susceptible
                                               of the Susceptible Vehicles, making them
                                                                  Vehicles, making them

13
13    less likely
      less likely to
                  to seek it out
                     seek it     and use
                             out and use it.
                                         it. Rather
                                             Rather than
                                                    than install
                                                         install an
                                                                 an actual
                                                                    actual immobilizer
                                                                           immobilizer or
                                                                                       or other
                                                                                          other

14
14    reasonable anti-theft
      reasonable anti-theft technology,
                            technology, the
                                        the software
                                            software update
                                                     update merely
                                                            merely doubles the length
                                                                   doubles the length of
                                                                                      of

15
15    the vehicles'
      the vehicles’ theft
                    theft alarm
                          alarm sound and adds
                                sound and adds aa new
                                                  new logic
                                                      logic check to the
                                                            check to the vehicles'
                                                                         vehicles’ onboard
                                                                                   onboard

16
16     computers that is
       computers that is intended
                         intended to
                                  to prevent
                                     prevent the
                                             the Engine
                                                 Engine Control Unit from
                                                        Control Unit      allowing the
                                                                     from allowing the

17
17     engine to start
       engine to start and
                       and run
                           run if
                               if the
                                  the key
                                      key fob
                                          fob is
                                              is not
                                                 not used
                                                     used to
                                                          to unlock
                                                             unlock the
                                                                    the doors.
                                                                        doors. This update
                                                                               This update

18
18    will interfere
      will interfere with
                     with the
                          the usability
                              usability of the Susceptible
                                        of the Susceptible Vehicles in many
                                                           Vehicles in many everyday
                                                                            everyday

19
19     situations, making drivers
       situations, making         less likely
                          drivers less likely to
                                              to use
                                                 use it
                                                     it if
                                                        if they
                                                           they get the software
                                                                get the          update at
                                                                        software update at all.
                                                                                           all.

20
20

21
21
       78
          See Zac
       78 See     Palmer, Hyundai
              Zac Palmer, Hyundai launches software update
                                  launches software update to  fix some
                                                           to fix  some of
                                                                        of 44 million
                                                                              million
22
22
         vehicles  at risk
          vehicles at risk of
                           of theft,
                              theft, Yahoo! (Feb. 14,
                                     Yahoo! (Feb. 14, 2023),
                                                      2023),
23
23       https://autos.yahoo.com/hyundai-launches-software-fix-4-155800221.html.
         https://autos.yahoo.com/hyundai-launches-software-fix-4-155800221.html.
       79
          Letter from
       79 Letter from Attorneys
                        Attorneys General   to NHTSA
                                    General to NHTSA atat 6.
                                                          6.
                                                34
                                                34
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 11           96. As noted
              96. As noted by
                           by the
                              the Attorneys
                                  Attorneys General in their
                                            General in their letter
                                                             letter dated April 20,
                                                                    dated April 20, 2023,
                                                                                    2023,

22    there are
      there are at
                at least
                   least two
                         two other
                             other significant issues with
                                   significant issues with the
                                                           the software update. First,
                                                               software update. First, "not
                                                                                       “not

33    all eligible
      all          vehicles can
          eligible vehicles     receive the
                            can receive the updates
                                            updates immediately"—approximately
                                                    immediately”—approximately two
                                                                               two

 44   million vehicles
      million vehicles with
                       with the
                            the "starting
                                “starting system flaw” are
                                          system flaw" are still awaiting eligibility
                                                           still awaiting             for the
                                                                          eligibility for the

 55   update.80 Meanwhile,
      update.8° Meanwhile, these
                           these vehicles
                                 vehicles "will
                                          “will remain
                                                remain on the road,
                                                       on the road, vulnerable
                                                                    vulnerable to
                                                                               to theft
                                                                                  theft

 66   and posing
      and posing aa threat
                    threat to
                           to public safety.”81 Second,
                              public safety."81         Defendants’ "voluntary
                                                Second, Defendants' “voluntary service
                                                                               service

 77    campaign”
       campaign" does not prompt
                 does not prompt certain “regulatory requirements
                                 certain "regulatory requirements and
                                                                  and oversight and
                                                                      oversight and

 8
 8    instead places
      instead places additional
                     additional burdens
                                burdens on individual vehicle
                                        on individual         owners.”82
                                                      vehicle owners."82

 99           97.
              97.    Owners
                     Owners of the Susceptible
                            of the Susceptible Vehicles have already
                                               Vehicles have already experienced issues
                                                                     experienced issues

10
10    where the
      where the software update—which requires
                software update—which requires the
                                               the car to be
                                                   car to be unlocked
                                                             unlocked using
                                                                      using the
                                                                            the fob
                                                                                fob

11
11    before starting,
      before starting, or
                       or else the alarm
                          else the alarm will
                                         will sound—conflicts with after-market
                                              sound—conflicts with after-market remote
                                                                                remote

12
12     start
       start systems that they
             systems that they had
                               had installed,
                                   installed, rendering
                                              rendering the
                                                        the vehicles
                                                            vehicles functionally
                                                                     functionally inoperable.
                                                                                  inoperable.

13
13    As one
      As one owner recently posted:
             owner recently posted: "I
                                    “I have
                                       have the
                                            the update.
                                                update. II also
                                                           also have
                                                                have an
                                                                     an after
                                                                        after market
                                                                              market remote
                                                                                     remote

14
14     start.
       start. The remote start
              The remote       will set
                         start will set off my car
                                        off my     alarm. You
                                               car alarm. You can turn the
                                                              can turn the alarm
                                                                           alarm off, but it
                                                                                 off, but it
                                                                                       83
15
15    will beep
      will beep periodically
                periodically and
                             and the
                                 the headlights
                                     headlights flash
                                                flash until
                                                      until you
                                                            you turn
                                                                turn the
                                                                     the vehicle
                                                                         vehicle off.”
                                                                                 off.""

16
16
       80
          Id. at
       80 Id. at 6-7.
                   6–7. Additionally,
                         Additionally, media
                                        media outlets  report that
                                               outlets report that customers
                                                                   customers are   “having aa
                                                                               are "having
17
17       difficult   time getting
         difficult time            through” to
                           getting through"  to customer
                                                 customer service   representatives for
                                                           service representatives   for Hyundai
                                                                                         Hyundai
         and Kia
         and  Kia to to inquire
                        inquire about  the software
                                 about the           update and
                                           software update   and their
                                                                  their vehicle's
                                                                        vehicle’s eligibility. See
                                                                                  eligibility. See
18
18       Hyundai, Kia
         Hyundai,      Kia owners   frustrated by
                            owners frustrated   by customer
                                                   customer call
                                                             call center  wait times
                                                                  center wait  times to  get security
                                                                                      to get security
19
19       upgrade,
         upgrade, WHIOWHIO TV  TV 77 (Feb.
                                     (Feb. 16,
                                           16, 2023,
                                                2023, 8:47
                                                      8:47 PM),
                                                            PM),
         https://www.whio.com/news/crime-and-law/hyundai-kia-owners-frustrated-by-
         https://vvvvw.whio.com/news/crime-and-law/hyundai-kia-owners-frustrated-by-
20
20       customer-call-center-wait-times-get-security-
         customer-call-center-wait-times-get-security-
         update/SXRBN3OTHVC37OLC3735Y755ZU/.
         update/SXRBN3OTHVC37OLC3735Y755ZU/.
21
21     81
          Letter from
       81 Letter    from Attorneys
                          Attorneys General    to NHTSA
                                      General to  NHTSA at at 7.
                                                              7.
       82
       82 Id.
22
22     83
          Reddit (Feb.
       83 Reddit     (Feb. 15,
                            15, 2023,
                                2023, 7:05  AM),
                                      7:05 AM),
23
23       [https://web.archive.org/web/20230311080407/https://www.reddit.com/r/kia/com
         [http s: //web . archive.org/web/20230311080407/https: //vvvvw.reddit.com/r/kia/com
         ments/11303m4/hyundai_and_kia_release_software_update_to/?sort=new].
         ments/11303m4/hyundai          and kia release software update to/?sort=new].
                                                  35
                                                  35
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 11          98.
             98.    There
                    There can be no
                          can be no doubt that communities
                                    doubt that             nationwide are
                                               communities nationwide are suffering
                                                                          suffering

22    harmful downstream
      harmful downstream consequences because of
                         consequences because    business decisions
                                              of business           Hyundai and
                                                          decisions Hyundai and Kia
                                                                                Kia

33    made not
      made not to
               to include
                  include reasonable
                          reasonable anti-theft
                                     anti-theft technology,
                                                technology, such
                                                            such as
                                                                 as an
                                                                    an engine
                                                                       engine

 44   immobilizer, in
      immobilizer, in the
                      the Susceptible
                          Susceptible Vehicles. And as
                                      Vehicles. And as local
                                                       local governments have
                                                             governments have

 55    experienced nationwide when
       experienced nationwide when vaping
                                   vaping products
                                          products and
                                                   and drugs have unleashed
                                                       drugs have unleashed

 66   widespread harms
      widespread harms affecting
                       affecting public health and
                                 public health and safety, local communities
                                                   safety, local communities are
                                                                             are left
                                                                                 left

 77   paying the
      paying the price
                 price for
                       for businesses'
                           businesses’ decisions to boost
                                       decisions to boost their
                                                          their profits.
                                                                profits.

 8
 8           99.
             99.    Prior to
                    Prior to this
                             this software update, Hyundai
                                  software update, Hyundai turned
                                                           turned this
                                                                  this crisis
                                                                       crisis of its own
                                                                              of its own

 99   making into
      making into aa source
                     source of revenue, selling
                            of revenue, selling security
                                                security kits
                                                         kits for
                                                              for $170, plus the
                                                                  $170, plus the cost of
                                                                                 cost of

10
10    installation.84 Defendants
      installation.84 Defendants could have, and
                                 could have, and should
                                                 should have,
                                                        have, initially
                                                              initially included
                                                                        included aa fob-
                                                                                    fob-

11
11    integrated engine
      integrated        immobilizer, or
                 engine immobilizer, or other reasonable anti-theft
                                        other reasonable anti-theft technology,
                                                                    technology, consistent
                                                                                consistent

12
12    with the
      with the industry
               industry standard. According to
                        standard. According to the
                                               the Netherlands
                                                   Netherlands Institute for Certification
                                                               Institute for Certification

13
13     of
       of Vehicle
          Vehicle Security
                  Security Systems, the additional
                           Systems, the additional manufacturing
                                                   manufacturing costs related to
                                                                 costs related to installing
                                                                                  installing

14
14    adequate anti-theft
      adequate anti-theft devices in 2011
                          devices in 2011 would
                                          would have
                                                have been
                                                     been at
                                                          at most
                                                             most €50
                                                                  €50 per
                                                                      per car,
                                                                          car,
                         85
15
15    approximately $70.
      approximately $70.85  Even after
                            Even after the
                                       the cars were sold,
                                           cars were       Defendants could
                                                     sold, Defendants       have
                                                                      could have

16
16    implemented aa mandatory
      implemented    mandatory recall.
                               recall. Instead,
                                       Instead, Hyundai
                                                Hyundai chose to make
                                                        chose to make money
                                                                      money from
                                                                            from aa

17
17     crime wave it
       crime wave it caused.
                     caused.

18
18           100. Because
             100. Because Hyundai
                          Hyundai and
                                  and Kia
                                      Kia have
                                          have not
                                               not implemented
                                                   implemented aa mandatory
                                                                  mandatory recall
                                                                            recall

19
19    for the
      for the installation
              installation of immobilizers or
                           of immobilizers or other reasonable anti-theft
                                              other reasonable anti-theft technology,
                                                                          technology,

20
20

21
21
       84
       84 Taryn Phaneuf, Own
          Taryn Phaneuf,     a Kia
                         Own a Kia or Hyundai? Here's
                                   or Hyundai? Here’s Why
                                                      Why Your Insurance Rates
                                                          Your Insurance Rates
22
22
         Could
         Could GoGo Up, Nerd Wallet
                    Up, Nerd        (Jan. 26,
                             Wallet (Jan. 26, 2023,
                                              2023, 1:31
                                                     1:31 PM),
                                                          PM),
23
23       https://www.nerdwallet.com/article/insurance/kia-hyundai-theft.
         https://vvvvw.nerdwallet.com/article/insurance/kia-hyundai-theft.
       85
       85 Jan
          Jan C.  van Ours
              C. van       & Ben
                      Ours & Ben Vollaard,  supra note
                                  Vollaard, supra  note 31
                                                        31 at
                                                           at 13.
                                                              13.
                                              36
                                              36
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 1
 1    millions of
      millions    the Susceptible
               of the Susceptible Vehicles remain on
                                  Vehicles remain    the road.
                                                  on the road. A
                                                               A recent
                                                                 recent report
                                                                        report from
                                                                               from

22     CARFAX found that
       CARFAX found that 4.9 million Hyundais
                         4.9 million Hyundais and
                                              and Kias
                                                  Kias remain
                                                       remain susceptible
                                                              susceptible to theft.86
                                                                          to theft.86

3
3            101. By
             101. By failing
                     failing to
                             to equip their vehicles
                                equip their vehicles with
                                                     with reasonable
                                                          reasonable anti-theft
                                                                     anti-theft

 44   technology, such
      technology,      as an
                  such as an engine immobilizer, Defendants
                             engine immobilizer, Defendants have
                                                            have elected profits over
                                                                 elected profits over

 55    safety and created
       safety and created aa public
                             public nuisance
                                    nuisance that
                                             that continues to this
                                                  continues to this day.
                                                                    day.

 66                                VI.
                                   VI.     IMPACTS
                                           IMPACTS ON
                                                   ON PLAINTIFF
                                                      PLAINTIFF

 77          102. Plaintiff
             102. Plaintiff has
                            has experienced
                                experienced skyrocketing rates of
                                            skyrocketing rates    Hyundai and
                                                               of Hyundai and Kia
                                                                              Kia

 8
 8    vehicle thefts,
      vehicle thefts, starting in 2023.
                      starting in 2023. Between
                                        Between January 2023 and
                                                January 2023 and April
                                                                 April 2023,
                                                                       2023, the
                                                                             the

 99   Metropolitan Nashville
      Metropolitan Nashville Police
                             Police Department
                                    Department ("MNPD")
                                               (“MNPD”) received
                                                        received reports
                                                                 reports of
                                                                         of 93
                                                                            93 stolen
                                                                               stolen

10
10    Kias and
      Kias and 67
               67 stolen Hyundai vehicles—more
                  stolen Hyundai vehicles—more than
                                               than aa 200%
                                                       200% increase
                                                            increase in
                                                                     in Kia
                                                                        Kia thefts
                                                                            thefts and
                                                                                   and

11
11    aa 175%
         175% increase
              increase for
                       for Hyundai
                           Hyundai thefts
                                   thefts as
                                          as compared to the
                                             compared to the year before.87 By
                                                             year before.'  By July
                                                                               July of
                                                                                    of

12
12    2023—only three
      2023—only three months
                      months later—more than 417
                             later—more than     Hyundais and
                                             417 Hyundais and Kias
                                                              Kias had
                                                                   had been
                                                                       been stolen
                                                                            stolen

13
13    and MNPD
      and MNPD reported
               reported an
                        an additional
                           additional 245
                                      245 attempted thefts to
                                          attempted thefts to date      year. 88 By
                                                                   that year.88
                                                              date that          By

14
14    November of
      November    2023, 797
               of 2023,     Hyundais and
                        797 Hyundais and 999 Kias had
                                         999 Kias had been
                                                      been stolen,
                                                           stolen, aa 553% increase
                                                                      553% increase

15
15

16
16

17
17
       86
         Patrick Olsen,
      86 Patrick           Nearly 55 Million
                  Olsen, Nearly      Million Hyundai
                                             Hyundai and
                                                       and Kia
                                                            Kia Models
                                                                 Models Need
                                                                        Need Anti-Theft
                                                                              Anti-Theft
18
18      Repairs, CARFAX
        Repairs,   CARFAX BlogBlog (July
                                     (July 19,
                                           19, 2023),
                                               2023), https://www.carfax.com/blog/kia-
                                                       https://www.carfax.com/blog/kia-
19
19      hyundai-theft-repairs.
        hyundai-theft-repairs.
      87
         Kelsey Gibbs,
      87 Kelsey            Hyundai and
                  Gibbs, Hyundai     and Kia
                                         Kia vehicle
                                             vehicle thefts  are up
                                                      thefts are up in Nashville, police
                                                                    in Nashville, police say,
                                                                                         say,
20
20      News Channel
        News   Channel 55 Nashville
                            Nashville (April
                                       (April 28,
                                               28, 2023),
                                                   2023),
        https://www.newschannel5.com/news/hyundai-and-kia-vehicle-thefts-are-up-in-
        https://vvvvw.newschanne15.com/news/hyundai-and-kia-vehicle-thefts-are-up-in-
21
21      nashville-police-say.
        nashville-police-say.
      88
         Brianna Hamblin,
      88 Brianna   Hamblin, Metro
                              Metro Police
                                      Police report
                                             report more
                                                     more than
                                                           than 400  Kias and
                                                                 400 Kias and Hyundais
                                                                               Hyundais stolen
                                                                                          stolen
22
22
        so far
       so  far this  year, News
                this year, News Channel
                                 Channel 55 Nashville
                                             Nashville (July
                                                         (July 28,
                                                               28, 2023),
                                                                   2023),
23
23      https://www.newschannel5.com/news/metro-police-report-more-than-400-kias-
        https://vvvvw.newschanne15.com/news/metro-police-report-more-than-400-kias-
        and-hyundais-stolen-so-far-this-year.
        and-hyundais-stolen-so-far-this-year.
                                                37
                                                37
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 1
 1    in Hyundai
      in Hyundai thefts
                 thefts and
                        and aa 528% increase in
                               528% increase in Kia
                                                Kia thefts
                                                    thefts as
                                                           as compared to that
                                                              compared to that same
                                                                               same

22    timeframe the
      timeframe the previous year.89
                    previous year.89

3
3            103. For
             103. For all
                      all of 2023, Plaintiff
                          of 2023, Plaintiff recorded
                                             recorded 1,504
                                                      1,504 thefts
                                                            thefts of Kia and
                                                                   of Kia and Hyundai
                                                                              Hyundai

 44   vehicles, aa nearly
      vehicles,    nearly 555% increase from
                          555% increase from all
                                             all thefts
                                                 thefts of Kia and
                                                        of Kia and Hyundai
                                                                   Hyundai vehicles
                                                                           vehicles

 55   recorded in
      recorded in 2022
                  2022 and
                       and aa 752% increase compared
                              752% increase          to 2021.
                                            compared to 2021. Between
                                                              Between January and
                                                                      January and

 66   April of
      April    2024, Plaintiff
            of 2024, Plaintiff recorded
                               recorded 514 thefts of
                                        514 thefts    Kia and
                                                   of Kia     Hyundai vehicles—roughly
                                                          and Hyundai vehicles—roughly

 77   aa 300%
         300% increase
              increase compared to the
                       compared to the same
                                       same period
                                            period in
                                                   in 2022.
                                                      2022.

 8
 8           104. In
             104. In 2020
                     2020 and
                          and 2021,
                              2021, Hyundais
                                    Hyundais and Kias accounted
                                             and Kias           for, on
                                                      accounted for,    average,
                                                                     on average,

 99    5.96% and 6.78%,
       5.96% and        respectively, of
                 6.78%, respectively,    vehicle thefts
                                      of vehicle thefts in
                                                        in Nashville.
                                                           Nashville. In
                                                                      In 2022,
                                                                         2022, thefts
                                                                               thefts of
                                                                                      of

10
10    Hyundais and
      Hyundais and Kias
                   Kias ticked
                        ticked up,
                               up, representing
                                   representing approximately
                                                approximately 8.45%
                                                              8.45% of vehicle thefts
                                                                    of vehicle thefts

11
11    recorded by
      recorded by MNPD.
                  MNPD. In
                        In 2023,
                           2023, that
                                 that number
                                      number skyrocketed—Hyundais
                                             skyrocketed—Hyundais and Kias
                                                                  and Kias

12
12    accounted for
      accounted for nearly
                    nearly 33%
                           33% of all vehicle
                               of all vehicle thefts.
                                              thefts.

13
13

14
14

15
15

16
16

17
17

18
18

19
19

20
20

21
21     89
          Adam Mintzer,
       89 Adam Mintzer, MNPD:
                        MNPD: Over
                              Over 500%
                                   500% increase
                                        increase in Kia, Hyundai
                                                 in Kia, Hyundai thefts
                                                                 thefts compared
                                                                        compared to
                                                                                 to
        last year, WKRN
        last year,       (Nov. 21,
                   WKRN (Nov.  21, 2023),
                                   2023), https://vvvvw.wkrn.com/news/local-
                                          https://www.wkrn.com/news/local-
22
22
        news/nashville/mnpd-over-500-increase-in-kia-hyundai-thefts-compared-to-last-
        news/nashville/mnpd-over-500-increase-in-kia-hyundai-thefts-compared-to-last-
23
23      year/#:~:text=According%20to%20MNPD%20data%20in,about%20it%2C%E2
        year/#:—:text=According%20to%20MNPD%20data%20in,about%20it%2C%E2
        %80%9D%20Latondress%20said.
        %80%9D%20Latondress%20said.
                                             38
                                             38
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 1
 1
                                      Percentage of
                                      Percentage of Annual Vehicle Thefts
                                                    Annual Vehicle Thefts
22             35.00%
               35.00%
                                                                                                    32.65%
                                                                                                    32.65%

3
3              30.00%
               30.00%


               25.00%
               25.00%
 44
               20.00%
               20.00%
 55
               15.00%
               15.00%
 66
               10.00%
               10.00%
                                                                             8.48%
                                                                             8.48°
 77                              6%                    6.83%
                5.00%
                5.00%

 8
 8              0.00%
                0.00%
                             2020
                             2020                  2021
                                                   2021                  2022
                                                                         2022                  2023
                                                                                               2023
 99                      tKia Kia Thefts
                                  Thefts       Hyundai Thefts
                                           tHyundai    Thefts       Hyundai &
                                                                tHyundai    & Kia
                                                                              Kia Thefts
                                                                                  Thefts Combined
                                                                                         Combined

10
10

11
11            105. This
              105.      trend is
                   This trend is growing worse. In
                                 growing worse. In January 2024 alone,
                                                   January 2024 alone, MNPD
                                                                       MNPD recorded
                                                                            recorded

12
12    236 thefts
      236 thefts of Kia and
                 of Kia and Hyundai
                            Hyundai vehicles,
                                    vehicles, representing
                                              representing 54%
                                                           54% of all vehicle
                                                               of all vehicle thefts
                                                                              thefts

13
13    recorded during
      recorded        that same
               during that same month.
                                month. Through April 2024,
                                       Through April 2024, thefts
                                                           thefts of
                                                                  of Hyundais
                                                                     Hyundais and
                                                                              and Kias
                                                                                  Kias

14
14    represent nearly
      represent nearly 38%
                       38% of vehicle thefts
                           of vehicle thefts recorded
                                             recorded by
                                                      by MNPD.
                                                         MNPD.

15
15            106. The
              106.     high rate
                   The high rate of thefts has
                                 of thefts has led
                                               led to
                                                   to increased
                                                      increased threats
                                                                threats to
                                                                        to public
                                                                           public safety, as
                                                                                  safety, as

16
16    young people
      young people break
                   break into
                         into the
                              the vehicles
                                  vehicles to
                                           to joyride,
                                              joyride, use
                                                       use the
                                                           the vehicle
                                                               vehicle to
                                                                       to steal
                                                                          steal other
                                                                                other cars,
                                                                                      cars,
                               90
17
17    and commit
      and commit other
                 other crimes.
                       crimes.90  Below are
                                  Below are several
                                            several examples
                                                    examples of the threat
                                                             of the threat these
                                                                           these vehicles
                                                                                 vehicles

18
18    pose.
      pose.

19
19            107. In
              107. In 2023,
                      2023, aa 16-year-old
                               16-year-old stole
                                           stole aa Hyundai
                                                    Hyundai and
                                                            and attempted
                                                                attempted to
                                                                          to allude
                                                                             allude arrest,
                                                                                    arrest,

20
20    requiring MNPD
      requiring MNPD to
                     to call in helicopter
                        call in helicopter support before eventually
                                           support before            arresting the
                                                          eventually arresting the

21
21

22
22     90
         Andy Cordan,
         Andy              Stolen Kia,
                  Cordan, Stolen  Kia, Hyundai
                                       Hyundai cars
                                               cars being
                                                    being used
                                                          used to
                                                               to commit
                                                                  commit other
                                                                         other crimes,
                                                                               crimes,
23
23      Nashville police
        Nashville    police warn,
                            warn, Yahoo!news   (Dec. 4,
                                  Yahoo!news (Dec.      2023),
                                                     4, 2023),
        https://www.yahoo.com/news/stolen-kia-hyundai-cars-being-005833681.html.
        http s: //vvvvw.yahoo com/news/stolen-kia-hyundai-cars-being-0 05833681 .html .
                                                    39
                                                    39
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 11   teenager.91 As
      teenager.91 As an
                     an MNPD
                        MNPD officer
                             officer explained, “If they're
                                     explained, "If they’re halfway
                                                            halfway proficient
                                                                    proficient [at]
                                                                               [at] what
                                                                                    what

22    they’re doing,
      they're        they can
              doing, they     have your
                          can have your car broken in
                                        car broken in the
                                                      the window,
                                                          window, inside
                                                                  inside of it, and
                                                                         of it, and gone
                                                                                    gone

33    in less
      in less than
              than 30 seconds.”92
                   30 seconds."92

 44          108. In
             108. In January 2024, three
                     January 2024, three teenagers
                                         teenagers were
                                                   were charged with crimes
                                                        charged with        related to
                                                                     crimes related to

 55   five robberies
      five robberies that
                     that occurred
                          occurred over the span
                                   over the span of three days
                                                 of three      involving aa stolen
                                                          days involving    stolen Kia
                                                                                   Kia Rio
                                                                                       Rio
                                 93
 66   and aa stolen
      and           Hyundai SUV.
             stolen Hyundai SUV.93

 77          109. In
             109. In early 2024, aa 15-year-old
                     early 2024,    15-year-old who
                                                who was
                                                    was already
                                                        already on probation for
                                                                on probation for juvenile
                                                                                 juvenile

 8
 8    handgun possession
      handgun possession and
                         and vehicle
                             vehicle theft
                                     theft was
                                           was arrested
                                               arrested and
                                                        and charged with over
                                                            charged with over aa dozen
                                                                                 dozen

 99    crimes after being
       crimes after being arrested
                          arrested in
                                   in aa stolen Kia Sportage.
                                         stolen Kia Sportage. The teenager and
                                                              The teenager and their
                                                                               their two
                                                                                     two

10
10    teenage accomplices
      teenage accomplices were
                          were suspected
                               suspected of being involved
                                         of being involved in
                                                           in at
                                                              at least
                                                                 least 13
                                                                       13 other thefts
                                                                          other thefts

11
11    across Davidson
      across          County.94
             Davidson County.'

12
12           110. In
             110. In April
                     April of 2024, MNPD
                           of 2024, MNPD detectives apprehended aa man
                                         detectives apprehended    man in
                                                                       in aa stolen
                                                                             stolen Kia
                                                                                    Kia

13
13    Forte after
      Forte after he
                  he led
                     led them
                         them on long pursuit
                              on long pursuit throughout
                                              throughout Davidson
                                                         Davidson County.
                                                                  County. The
                                                                          The driver
                                                                              driver of
                                                                                     of

14
14    the stolen
      the        Kia rammed
          stolen Kia rammed two
                            two police
                                police cars while fleeing
                                       cars while fleeing and
                                                          and was
                                                              was pursued
                                                                  pursued with
                                                                          with the
                                                                               the help
                                                                                   help

15
15
       91
16
16        Mark Kelly,
       91 Mark Kelly, Police:
                      Police: Car
                              Car thefts a growing
                                  thefts a growing crime
                                                   crime trend
                                                         trend in Middle TN,
                                                               in Middle TN, WKRN
                                                                             WKRN
         Nashville (Aug.
         Nashville  (Aug. 4,  2023), https://vvvvw.msn.com/en-us/news/crime/police-car-
                           4, 2023),  https://www.msn.com/en-us/news/crime/police-car-
17
17       thefts-a-growing-crime-trend-in-middle-tn/ar-
         thefts-a-growing-crime-trend-in-middle-tn/ar-
         AA1fKi0L?apiversion=v2&noservercache=1&domshim=1&renderwebcomponen
         AAlfKi0L?apiversion=v2&noservercache=1&domshim=1&renderwebcomponen
18
18       ts=1&wcseo=1&batchservertelemetry=1&noservertelemetry=1.
         ts=l&wcseo=l&batchservertelemetry=l&noservertelemetry=1.
       92
19
19
       92
          Id.
          Id.
       93
       93 Three
          Three Teens
                  Teens Charged
                        Charged in in Connection
                                      Connection to   Rash of
                                                   to Rash    East Nashville
                                                           of East Nashville Robberies,
                                                                             Robberies,
20
20       MNPD Media
         MNPD     Media Release
                         Release (Jan.
                                  (Jan. 31,
                                         31, 2024),
                                             2024),
         https://www.nashville.gov/departments/police/news/three-teens-charged-
         https://vvvvw.nashville.gov/departments/police/news/three-teens-charged-
21
21       connection-rash-east-nashville-robberies.
         connection-rash-east-nashville-robberies.
       94
       94 Teen   Arrested For
          Teen Arrested   For String
                               String Of
                                       Of Thefts In Hermitage,
                                          Thefts In  Hermitage, Found
                                                                Found In
                                                                       In Stolen
                                                                          Stolen Car,
                                                                                 Car, MNPD
                                                                                      MNPD
22
22
         Media Release
         Media   Release (Jan.
                          (Jan. 25,
                                25, 2024),
                                     2024),
23
23       https://www.nashville.gov/departments/police/news/teen-arrested-string-thefts-
         https://vvvvw.nashville.gov/departments/police/news/teen-arrested-string-thefts-
         hermitage-found-stolen-car.
         hermitage-found-stolen-car.
                                             40
                                             40
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 11    of MNPD Aviation.
       of MNPD Aviation. MNPD
                         MNPD detectives were able
                              detectives were able to
                                                   to deploy spike strips
                                                      deploy spike strips to
                                                                          to flatten
                                                                             flatten

22    most of
      most    the vehicle's
           of the vehicle’s tires.
                            tires. However,
                                   However, the
                                            the reckless
                                                reckless driver
                                                         driver continued
                                                                continued on,
                                                                          on, driving in
                                                                              driving in

33     oncoming lanes, public
       oncoming lanes, public sidewalks,
                              sidewalks, and around aa school
                                         and around           bus as
                                                       school bus as it
                                                                     it was
                                                                        was unloading
                                                                            unloading

 44    school
       school children.
              children. Once the driver
                        Once the        was apprehended,
                                 driver was apprehended, MNPD
                                                         MNPD detectives recovered
                                                              detectives recovered

 55    cocaine from the
       cocaine from     vehicle.95
                    the vehicle.95

 66          111. In
             111. In June 2024, MNPD
                     June 2024, MNPD apprehended
                                     apprehended aa 19-year-old
                                                    19-year-old after
                                                                after aa months-long
                                                                         months-long

 77   investigation by
      investigation by detectives into an
                       detectives into an organized,
                                          organized, countywide theft group
                                                     countywide theft       involving
                                                                      group involving

 8
 8    multiple teenagers
      multiple teenagers targeting
                         targeting Hyundais
                                   Hyundais and
                                            and Kias.
                                                Kias. The teenage suspect
                                                      The teenage suspect was
                                                                          was booked
                                                                              booked

 99    on 11 outstanding
       on 11             warrants, including
             outstanding warrants, including six
                                             six vehicle
                                                 vehicle thefts,
                                                         thefts, joyriding,
                                                                 joyriding, and vandalism.96
                                                                            and vandalism.96

10
10           112. Defendants'
             112. Defendants’ software update is
                              software update is also
                                                 also proving
                                                      proving ineffective.
                                                              ineffective. At
                                                                           At least
                                                                              least one
                                                                                    one

11
11    Metro Nashville
      Metro Nashville resident
                      resident had
                               had his
                                   his Hyundai
                                       Hyundai stolen
                                               stolen after
                                                      after receiving
                                                            receiving the
                                                                      the software
                                                                          software

12
12    update.97 The
      update.97     victim, who
                The victim, who had
                                had his
                                    his car
                                        car stolen
                                            stolen previously,
                                                   previously, lamented, “We’re in
                                                               lamented, "We're in the
                                                                                   the

13
13     same position as
       same position as we
                        we were
                           were 14
                                14 months
                                   months ago
                                          ago before
                                              before the upgrade.”98 And
                                                     the upgrade."98 And "it's
                                                                         “it’s something
                                                                               something

14
14    happening to
      happening to customers in cities
                   customers in        across the
                                cities across the country,” according to
                                                  country," according to one      report.99
                                                                             news report.99
                                                                         one news

15
15

16
16
       95
          Pursuit Of
       95 Pursuit    Stolen Kia
                  Of Stolen Kia Leads
                                Leads To Arrest During
                                      To Arrest During Special
                                                       Special Initiative
                                                               Initiative Monday,
                                                                          Monday, MNPD
                                                                                  MNPD
17
17      Media Release
        Media   Release (Apr.
                         (Apr. 30,
                               30, 2024),
                                   2024),
        https://www.nashville.gov/departments/police/news/pursuit-stolen-kia-leads-
        https://vvvvw.nashville.gov/departments/police/news/pursuit-stolen-kia-leads-
18
18      arrest-during-special-initiative-monday.
        arrest-during-special-initiative-monday.
      96
19
19       19-Year-Old Arrested
      96 19-Year-Old    Arrested Following
                                  Following Months
                                             Months Long
                                                      Long Investigation
                                                            Investigation Into
                                                                          Into Several
                                                                               Several Vehicle
                                                                                        Vehicle
        Thefts, MNPD Media
        Thefts, MNPD     Media Release
                                 Release (June
                                         (June 7,  2024),
                                                7, 2024),
20
20      https://www.nashville.gov/departments/police/news/19-year-old-arrested-
        https://vvvvw.nashville.gov/departments/police/news/19-year-old-arrested-
        following-months-long-investigation-several-vehicle-thefts.
        following-months-long-investigation-several-vehicle-thefts.
21
21    97
      ' Shoshana
         Shoshana Stahl,    Hyundai owner
                     Stahl, Hyundai         has car
                                     owner has       stolen despite
                                                 car stolen despite added
                                                                    added anti-theft
                                                                           anti-theft software,
                                                                                      software,
        First Alert
        First Alert 44 (Feb.
                       (Feb. 22,
                             22, 2024),
                                 2024), https://vvvvw.firstalert4.com/2024/02/23/hyundai-
                                        https://www.firstalert4.com/2024/02/23/hyundai-
22
22
        owner-has-car-stolen-despite-added-anti-theft-software/.
        owner-has-car-stolen-despite-added-anti-theft-software/.
      98
      98 Id.
23
23    99
      99 Id.

                                               41
                                               41
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 11          113. The
             113.     risk these
                  The risk these vehicles
                                 vehicles pose
                                          pose to
                                               to the
                                                  the public
                                                      public led
                                                             led MNPD
                                                                 MNPD to
                                                                      to establish
                                                                         establish aa

22     special initiative to
       special initiative to combat the theft
                             combat the theft and
                                              and attendant
                                                  attendant crime.
                                                            crime.

33                                   VII. CAUSES
                                     VII.        OF ACTION
                                          CAUSES OF ACTION

 44                          COUNT ONE -        PUBLIC
                                                PUBLIC NUISANCE
                                                       NUISANCE

 55          114. Plaintiff
             114. Plaintiff incorporates
                            incorporates each
                                         each preceding
                                              preceding paragraph as though
                                                        paragraph as though fully
                                                                            fully set
                                                                                  set

 66   forth herein.
      forth herein.

 77          115. Defendants
             115. Defendants created and maintained
                             created and maintained aa public nuisance that
                                                       public nuisance that proximately
                                                                            proximately

 8
 8     caused injury to
       caused injury to Plaintiff.
                        Plaintiff.

 99          116. Defendants,
             116. Defendants, through
                              through their
                                      their design, manufacture, distribution,
                                            design, manufacture, distribution, and
                                                                               and sale
                                                                                   sale

10
10     of automobiles that
       of automobiles that are
                           are dangerously
                               dangerously susceptible to theft,
                                           susceptible to theft, have
                                                                 have created,
                                                                      created, contributed
                                                                               contributed

11
11    to, and
      to, and maintained
              maintained aa public
                            public nuisance
                                   nuisance that
                                            that substantially
                                                 substantially interferes
                                                               interferes with
                                                                          with rights
                                                                               rights

12
12     common to the
       common to the general public, is
                     general public, is offensive to community
                                        offensive to           moral standards,
                                                     community moral            and
                                                                     standards, and

13
13    unlawfully obstructs
      unlawfully           the public's
                 obstructs the public’s free
                                        free use
                                             use of public property.
                                                 of public property.

14
14           117. Defendants'
             117. Defendants’ conduct has and
                              conduct has and continues to unreasonably
                                              continues to unreasonably interfere
                                                                        interfere with
                                                                                  with

15
15    and obstruct
      and          rights common
          obstruct rights        to the
                          common to the public,
                                        public, namely
                                                namely the
                                                       the use
                                                           use and
                                                               and quiet
                                                                   quiet enjoyment by
                                                                         enjoyment by

16
16    the public
      the public of public streets,
                 of public streets, sidewalks,
                                    sidewalks, and
                                               and parks in Metro
                                                   parks in Metro Nashville,
                                                                  Nashville, and
                                                                             and has
                                                                                 has

17
17     endangered the safety,
       endangered the safety, health,
                              health, and
                                      and comfort
                                          comfort of the general
                                                  of the         public in
                                                         general public in Metro
                                                                           Metro Nashville.
                                                                                 Nashville.

18
18           118. The
             118.     public nuisance
                  The public nuisance created and maintained
                                      created and maintained by
                                                             by Defendants
                                                                Defendants has
                                                                           has

19
19    resulted, and
      resulted, and continues to result,
                    continues to result, in
                                         in significant
                                            significant damage and annoyance
                                                        damage and annoyance to
                                                                             to Metro
                                                                                Metro

20
20    Nashville.
      Nashville.

21
21           119. In
             119. In addition,
                     addition, Defendants'
                               Defendants’ conduct has undermined
                                           conduct has undermined law
                                                                  law enforcement
                                                                      enforcement

22
22     efforts to deter
       efforts to       vehicle theft
                  deter vehicle theft and
                                      and has
                                          has otherwise
                                              otherwise diverted
                                                        diverted scarce law enforcement
                                                                 scarce law enforcement

23
23    resources.
      resources.

                                               42
                                               42
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 11           120. At
              120. At all
                      all relevant
                          relevant times,
                                   times, Defendants
                                          Defendants have
                                                     have been
                                                          been the
                                                               the manufacturers,
                                                                   manufacturers,

22    marketers, and/or
      marketers, and/or distributors
                        distributors of the Susceptible
                                     of the Susceptible Vehicles being stolen
                                                        Vehicles being        at record
                                                                       stolen at record

33    rates and
      rates and that
                that have
                     have been
                          been and
                               and are
                                   are used
                                       used in
                                            in the
                                               the commission
                                                   commission of violent crimes
                                                              of violent        in Metro
                                                                         crimes in Metro

 44   Nashville.
      Nashville.

 55           121. At
              121. At all
                      all times
                          times relevant
                                relevant to
                                         to this
                                            this litigation,
                                                 litigation, Defendants
                                                             Defendants knew
                                                                        knew or had reason
                                                                             or had reason

 66   to know
      to know of the hazards
              of the hazards and
                             and dangers
                                 dangers of forgoing installation
                                         of forgoing installation of
                                                                  of engine immobilizers
                                                                     engine immobilizers

 77    or
       or other reasonable anti-theft
          other reasonable anti-theft technology
                                      technology in
                                                 in the
                                                    the Susceptible
                                                        Susceptible Vehicles and
                                                                    Vehicles and

 8
 8     specifically the increased
       specifically the increased risk
                                  risk of vehicle theft
                                       of vehicle theft and
                                                        and public
                                                            public harm.
                                                                   harm. Defendants
                                                                         Defendants knew
                                                                                    knew or
                                                                                         or

 99   had reason
      had reason to
                 to know
                    know that
                         that the
                              the installation
                                  installation of
                                               of engine immobilizers successfully
                                                  engine immobilizers successfully

10
10     decreased the rate
       decreased the rate of
                          of car theft by
                             car theft by as
                                          as much
                                             much as
                                                  as 40%. Defendants also
                                                     40%. Defendants also knew
                                                                          knew or had
                                                                               or had

11
11    reason to
      reason to know
                know that
                     that the
                          the installation
                              installation of immobilizers or
                                           of immobilizers or other reasonable anti-theft
                                                              other reasonable anti-theft

12
12    technology in
      technology in their
                    their own vehicles has
                          own vehicles has considerable
                                           considerable deterrent
                                                        deterrent effects
                                                                  effects on the rate
                                                                          on the rate of
                                                                                      of

13
13     car theft.
       car theft.

14
14            122. Defendants
              122. Defendants know that their
                              know that their conduct has caused
                                              conduct has caused an increase in
                                                                 an increase    vehicle
                                                                             in vehicle

15
15    theft that
      theft that has
                 has had
                     had and
                         and will
                             will continue to have
                                  continue to have aa detrimental
                                                      detrimental effect
                                                                  effect on the safety,
                                                                         on the safety,

16
16    welfare, peace,
      welfare, peace, comfort, and convenience
                      comfort, and convenience of the general
                                               of the         public in
                                                      general public in Metro
                                                                        Metro Nashville.
                                                                              Nashville.

17
17            123. Defendants,
              123. Defendants, through
                               through their
                                       their business
                                             business practices,
                                                      practices, contribute to aa significant
                                                                 contribute to    significant

18
18    increase in
      increase in vehicle
                  vehicle theft,
                          theft, reckless
                                 reckless driving, and the
                                          driving, and the use
                                                           use of their vehicles
                                                               of their vehicles in
                                                                                 in the
                                                                                    the

19
19     commission
       commission of
                  of other
                     other crimes in Metro
                           crimes in Metro Nashville,
                                           Nashville, thus
                                                      thus endangering the safety
                                                           endangering the safety and
                                                                                  and

20
20    health of
      health of considerable numbers of
                considerable numbers    Metro Nashville
                                     of Metro Nashville residents,
                                                        residents, depriving said
                                                                   depriving said

21
21    residents of
      residents    the peaceful
                of the peaceful use
                                use of the public
                                    of the public streets and sidewalks,
                                                  streets and            undermining law
                                                              sidewalks, undermining law

22
22     enforcement
       enforcement efforts, increasing law
                   efforts, increasing law enforcement
                                           enforcement costs and diverting
                                                       costs and           law
                                                                 diverting law

23
23

                                               43
                                               43
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 11    enforcement resources, and
       enforcement resources, and interfering
                                  interfering with
                                              with commerce, travel, and
                                                   commerce, travel, and the
                                                                         the quality
                                                                             quality of
                                                                                     of

22     daily life in
       daily life in Metro
                     Metro Nashville.
                           Nashville.

33           124. Accordingly,
             124. Accordingly, each Defendant has
                               each Defendant has and
                                                  and continues to substantially
                                                      continues to substantially

 44   interfere with
      interfere with rights
                     rights common to all
                            common to all and
                                          and cause,
                                              cause, contribute to, and/or
                                                     contribute to, and/or maintain
                                                                           maintain aa

 55   public nuisance
      public nuisance in
                      in Metro
                         Metro Nashville.
                               Nashville.

 66          125. As
             125. As aa result
                        result of Defendants’ conduct,
                               of Defendants'          Metro Nashville
                                              conduct, Metro Nashville has
                                                                       has suffered
                                                                           suffered and
                                                                                    and

 77   will continue
      will          to suffer
           continue to suffer economic
                              economic damages, including significant
                                       damages, including significant expenditures
                                                                      expenditures for
                                                                                   for

 8
 8    police, emergency,
      police,            health, prosecutions,
              emergency, health, prosecutions, corrections, youth rehabilitation,
                                               corrections, youth rehabilitation, and
                                                                                  and other
                                                                                      other

 99    services. Metro Nashville
       services. Metro Nashville will
                                 will continue to incur
                                      continue to incur economic
                                                        economic damages until the
                                                                 damages until the

10
10    nuisance is
      nuisance is abated.
                  abated. These injuries are
                          These injuries are peculiar
                                             peculiar to
                                                      to Metro
                                                         Metro Nashville,
                                                               Nashville, are
                                                                          are different in
                                                                              different in

11
11    kind to
      kind to the
              the harms
                  harms suffered by Tennessee
                        suffered by           residents at
                                    Tennessee residents at large,
                                                           large, and
                                                                  and are not shared
                                                                      are not        by
                                                                              shared by

12
12    the general
      the         public.
          general public.

13
13           126. Defendants'
             126. Defendants’ misconduct
                              misconduct alleged in this
                                         alleged in this case has created
                                                         case has created an
                                                                          an ongoing
                                                                             ongoing

14
14    and persistent
      and persistent public
                     public nuisance
                            nuisance and
                                     and does not concern
                                         does not concern aa discrete
                                                             discrete event
                                                                      event or
                                                                            or discrete
                                                                               discrete

15
15     emergency
       emergency of the sort
                 of the sort aa political
                                political subdivision would reasonably
                                          subdivision would reasonably expect to occur
                                                                       expect to       and
                                                                                 occur and

16
16    is not
      is not part
             part of the normal
                  of the normal and
                                and expected
                                    expected costs
                                             costs of
                                                   of aa local
                                                         local government’s
                                                               government's existence.
                                                                            existence.

17
17    Metro Nashville
      Metro Nashville alleges
                      alleges wrongful
                              wrongful acts
                                       acts that
                                            that are
                                                 are neither
                                                     neither discrete nor of
                                                             discrete nor    the sort
                                                                          of the sort aa local
                                                                                         local

18
18     government
       government can reasonably expect
                  can reasonably        to occur.
                                 expect to occur.

19
19           127. Metro
             127. Metro Nashville
                        Nashville has
                                  has suffered, and will
                                      suffered, and will continue to suffer,
                                                         continue to         unique
                                                                     suffer, unique

20
20    harms as
      harms as described above, which
               described above, which are
                                      are different in kind
                                          different in      and degree
                                                       kind and        to the
                                                                degree to the harms
                                                                              harms

21
21     suffered by Tennessee
       suffered by Tennessee citizens at large.
                             citizens at large.

22
22

23
23

                                              44
                                              44
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 11          128. Metro
             128. Metro Nashville
                        Nashville has
                                  has incurred,
                                      incurred, and
                                                and will
                                                    will continue to incur,
                                                         continue to incur, expenditures
                                                                            expenditures

22     over and above
       over and above its
                      its ordinary public services
                          ordinary public services due to the
                                                   due to the public
                                                              public nuisance
                                                                     nuisance created by
                                                                              created by

33    Defendants’ actions.
      Defendants' actions.

 44          129. Metro
             129. Metro Nashville
                        Nashville requests
                                  requests an
                                           an order providing for
                                              order providing for abatement
                                                                  abatement of the
                                                                            of the

 55   public nuisance
      public nuisance that
                      that Defendants
                           Defendants have
                                      have created
                                           created or assisted in
                                                   or assisted in the
                                                                  the creation
                                                                      creation of,
                                                                               of,

 66    compensation for the
       compensation for the economic injuries suffered
                            economic injuries          as aa result
                                              suffered as    result of the nuisance,
                                                                    of the nuisance, and
                                                                                     and

 77   injunctive relief.
      injunctive relief.

 8
 8                            COUNT TWO - NEGLIGENCE
                                          NEGLIGENCE

 99          130. Plaintiff
             130. Plaintiff incorporates
                            incorporates each
                                         each preceding
                                              preceding paragraph as though
                                                        paragraph as though set forth
                                                                            set forth

10
10    fully herein.
      fully herein.

11
11           131. At
             131. At all
                     all times
                         times relevant
                               relevant to
                                        to this
                                           this litigation,
                                                litigation, Defendants
                                                            Defendants had
                                                                       had aa duty to act
                                                                              duty to act as
                                                                                          as

12
12    aa reasonably
         reasonably careful person would
                    careful person would act
                                         act under
                                             under the
                                                   the circumstances in the
                                                       circumstances in the design,
                                                                            design,

13
13    research, development,
      research,              manufacture, testing,
                development, manufacture, testing, and
                                                   and distribution
                                                       distribution of Defendants’
                                                                    of Defendants'

14
14    products.
      products.

15
15           132. Additionally,
             132. Additionally, at
                                at times
                                   times relevant
                                         relevant to
                                                  to this
                                                     this litigation,
                                                          litigation, Defendants
                                                                      Defendants had
                                                                                 had aa duty
                                                                                        duty

16
16    to take
      to take all
              all reasonable
                  reasonable steps
                             steps necessary
                                   necessary to
                                             to prevent
                                                prevent the
                                                        the manufacture
                                                            manufacture and/or
                                                                        and/or sale
                                                                               sale of
                                                                                    of aa

17
17    product that
      product that was
                   was so
                       so easy to steal.
                          easy to steal.

18
18           133. Defendants
             133. Defendants owed and continue
                             owed and          to owe
                                      continue to     Metro Nashville
                                                  owe Metro Nashville aa duty not to
                                                                         duty not to

19
19     expose Metro Nashville
       expose Metro Nashville to
                              to an
                                 an unreasonable
                                    unreasonable risk
                                                 risk of harm.
                                                      of harm.

20
20           134. Defendants'
             134. Defendants’ duties were preexisting.
                              duties were preexisting.

21
21           135. At
             135. At all
                     all times
                         times relevant
                               relevant to
                                        to this
                                           this litigation,
                                                litigation, Defendants
                                                            Defendants knew
                                                                       knew or, in the
                                                                            or, in the

22
22     exercise
       exercise of reasonable care,
                of reasonable care, should have known
                                    should have known of the hazards
                                                      of the hazards and
                                                                     and dangers
                                                                         dangers of
                                                                                 of

23
23    forgoing installation
      forgoing installation of
                            of engine immobilizers or
                               engine immobilizers or other reasonable anti-theft
                                                      other reasonable anti-theft

                                              45
                                              45
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 11   technology in
      technology in the
                    the Susceptible
                        Susceptible Vehicles and specifically,
                                    Vehicles and               the increased
                                                 specifically, the increased risk
                                                                             risk of
                                                                                  of

22    vehicle theft
      vehicle theft and
                    and public
                        public harm.
                               harm.

33           136. Accordingly,
             136. Accordingly, at
                               at all
                                  all times
                                      times relevant
                                            relevant to
                                                     to this
                                                        this litigation,
                                                             litigation, Defendants
                                                                         Defendants knew
                                                                                    knew

 44    or, in the
       or, in the exercise
                  exercise of reasonable care,
                           of reasonable care, should have known
                                               should have       that the
                                                           known that the omission
                                                                          omission of an
                                                                                   of an

 55    engine immobilizer or
       engine immobilizer or other reasonable anti-theft
                             other reasonable anti-theft technology
                                                         technology in
                                                                    in the
                                                                       the Susceptible
                                                                           Susceptible

 66    Vehicles
       Vehicles could
                could cause Metro Nashville's
                      cause Metro Nashville’s injuries
                                              injuries and
                                                       and thus
                                                           thus created
                                                                created aa dangerous and
                                                                           dangerous and

 77   unreasonable risk
      unreasonable risk of injury to
                        of injury to Metro
                                     Metro Nashville.
                                           Nashville. Defendants
                                                      Defendants were
                                                                 were therefore
                                                                      therefore in
                                                                                in the
                                                                                   the

 8
 8    best position
      best position to
                    to protect Metro Nashville
                       protect Metro Nashville against the foreseeable
                                               against the             rise in
                                                           foreseeable rise in the
                                                                               the theft
                                                                                   theft of
                                                                                         of

 99    Susceptible
       Susceptible Vehicles.
                   Vehicles.

10
10           137. As
             137. As such, Defendants, by
                     such, Defendants, by action
                                          action and
                                                 and inaction,
                                                     inaction, breached
                                                               breached their
                                                                        their duty and
                                                                              duty and

11
11    failed to
      failed to exercise reasonable care,
                exercise reasonable       and failed
                                    care, and failed to
                                                     to act
                                                        act as
                                                            as aa reasonably
                                                                  reasonably prudent person
                                                                             prudent person

12
12    and/or company
      and/or         would act
             company would act under
                               under the
                                     the same
                                         same circumstances in the
                                              circumstances in the design, research,
                                                                   design, research,

13
13     development, manufacture, testing,
       development, manufacture, testing, and
                                          and distribution of their
                                              distribution of their vehicles,
                                                                    vehicles, in
                                                                              in that
                                                                                 that

14
14    Defendants manufactured
      Defendants manufactured and
                              and produced
                                  produced vehicles
                                           vehicles that
                                                    that fell
                                                         fell below
                                                              below minimum,
                                                                    minimum,

15
15    industry-standard security
      industry-standard security measures.
                                 measures.

16
16           138. Defendants
             138. Defendants are
                             are in
                                 in control
                                    control of the design,
                                            of the         research, development,
                                                   design, research, development,

17
17    manufacture, testing,
      manufacture, testing, and
                            and distribution
                                distribution of the vehicles
                                             of the vehicles they
                                                             they distributed to authorized
                                                                  distributed to authorized

18
18     dealerships in Metro
       dealerships in Metro Nashville.
                            Nashville.

19
19           139. It
             139. It was
                     was foreseeable
                         foreseeable that
                                     that Metro
                                          Metro Nashville
                                                Nashville would
                                                          would suffer injuries as
                                                                suffer injuries as aa result
                                                                                      result

20
20     of Defendants’ failure
       of Defendants' failure to
                              to exercise reasonable care
                                 exercise reasonable      in the
                                                     care in the design, research,
                                                                 design, research,

21
21     development, manufacture, testing,
       development, manufacture, testing, and
                                          and distribution
                                              distribution of Defendants’ vehicles,
                                                           of Defendants' vehicles,

22
22    particularly given
      particularly       Defendants’ recognition
                   given Defendants' recognition as
                                                 as early as 2007
                                                    early as 2007 that
                                                                  that engine
                                                                       engine

23
23    immobilizers were
      immobilizers were an
                        an effective
                           effective deterrent in preventing
                                     deterrent in preventing vehicle
                                                             vehicle theft.
                                                                     theft.

                                              46
                                              46
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 11          140. Defendants
             140. Defendants were
                             were negligent
                                  negligent in
                                            in failing to guard
                                               failing to guard against third-party
                                                                against third-party

22    misconduct and
      misconduct and enabled
                     enabled such misconduct.
                             such misconduct.

33           141. Defendants
             141. Defendants acted
                             acted unreasonably
                                   unreasonably in
                                                in light
                                                   light of the foreseeable
                                                         of the foreseeable result
                                                                            result of
                                                                                   of

 44   their conduct,
      their          and Defendants'
            conduct, and Defendants’ negligence
                                     negligence helped
                                                helped to
                                                       to and
                                                          and did
                                                              did produce,
                                                                  produce, and was aa
                                                                           and was

 55   factual and
      factual and proximate
                  proximate cause,
                            cause, of the injuries,
                                   of the injuries, harm,
                                                    harm, and
                                                          and economic injuries that
                                                              economic injuries that Metro
                                                                                     Metro

 66   Nashville suffered
      Nashville suffered and
                         and will
                             will continue to suffer.
                                  continue to suffer.

 77          142. Defendants'
             142. Defendants’ acts
                              acts and
                                   and omissions imposed an
                                       omissions imposed an unreasonable
                                                            unreasonable risk
                                                                         risk of harm
                                                                              of harm

 8
 8    to others
      to        separately and/or
         others separately and/or combined with the
                                  combined with the negligent
                                                    negligent and/or
                                                              and/or criminal acts of
                                                                     criminal acts of third
                                                                                      third

 99   parties.
      parties.

10
10           143. Metro
             143. Metro Nashville's
                        Nashville’s injuries,
                                    injuries, harms,
                                              harms, and
                                                     and economic injuries would
                                                         economic injuries would not
                                                                                 not

11
11    have occurred
      have          absent Defendants'
           occurred absent Defendants’ negligent
                                       negligent conduct as described
                                                 conduct as           herein.
                                                            described herein.

12
12           144. As
             144. As aa proximate
                        proximate result
                                  result of Defendants’ wrongful
                                         of Defendants' wrongful acts
                                                                 acts and
                                                                      and omissions,
                                                                          omissions,

13
13    Metro Nashville
      Metro Nashville has
                      has been
                          been injured
                               injured and
                                       and suffered
                                           suffered economic
                                                    economic damages and will
                                                             damages and will continue
                                                                              continue

14
14    to incur
      to incur expenses in the
               expenses in the future,
                               future, as
                                       as described herein, including
                                          described herein, including but
                                                                      but not
                                                                          not limited
                                                                              limited to
                                                                                      to

15
15     expending,
       expending, diverting, and increasing
                  diverting, and increasing resources
                                            resources to
                                                      to retrieve
                                                         retrieve stolen
                                                                  stolen cars and/or address
                                                                         cars and/or address

16
16    property damage
      property damage on public roads
                      on public roads within
                                      within Metro
                                             Metro Nashville.
                                                   Nashville.

17
17           145. Defendants
             145. Defendants engaged in conduct,
                             engaged in          as described
                                        conduct, as           above, that
                                                    described above, that constituted
                                                                          constituted

18
18    reckless disregard
      reckless disregard of the safety
                         of the safety and
                                       and health
                                           health of Metro Nashville
                                                  of Metro Nashville residents,
                                                                     residents, being
                                                                                being fully
                                                                                      fully

19
19    aware of
      aware    the probable
            of the probable dangerous
                            dangerous consequences
                                      consequences of the conduct
                                                   of the         and deliberately
                                                          conduct and deliberately

20
20    failing to
      failing to avoid
                 avoid those
                       those consequences.
                             consequences.

21
21           146. Defendants'
             146. Defendants’ conduct
                              conduct constituting reckless and
                                      constituting reckless and conscious
                                                                conscious disregard
                                                                          disregard for
                                                                                    for

22
22    public safety
      public        in Metro
             safety in Metro Nashville
                             Nashville was
                                       was committed and/or authorized
                                           committed and/or authorized by
                                                                       by one
                                                                          one or more
                                                                              or more

23
23     officers,
       officers, directors,
                 directors, or managing agents
                            or managing agents of Defendants, who
                                               of Defendants, who acted
                                                                  acted on behalf of
                                                                        on behalf of

                                              47
                                              47
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 11   Defendants. Additionally,
      Defendants. Additionally, or in the
                                or in the alternative,
                                          alternative, one
                                                       one or more officers,
                                                           or more officers, directors,
                                                                             directors, or
                                                                                        or

22    managing agents
      managing agents of Defendants knew
                      of Defendants knew of the conduct
                                         of the conduct constituting reckless disregard
                                                        constituting reckless disregard

33    for public
      for public safety and adopted
                 safety and adopted or approved that
                                    or approved that conduct after it
                                                     conduct after it occurred.
                                                                      occurred.

 44          147. Defendants'
             147. Defendants’ willful,
                              willful, knowing, and reckless
                                       knowing, and reckless conduct,
                                                             conduct, constituting
                                                                      constituting

 55   reckless disregard
      reckless disregard of Metro Nashville's
                         of Metro Nashville’s rights,
                                              rights, including
                                                      including the
                                                                the right
                                                                    right to
                                                                          to public
                                                                             public safety,
                                                                                    safety,

 66   therefore warrants
      therefore warrants an
                         an award
                            award of aggravated or
                                  of aggravated    punitive damages.
                                                or punitive          Additionally,
                                                            damages. Additionally,

 77   Defendants’ willful
      Defendants' willful and
                          and reckless
                              reckless conduct in failing
                                       conduct in failing to
                                                          to follow industry standards
                                                             follow industry standards also
                                                                                       also

 8
 8    justifies an
      justifies an award
                   award of punitive damages.
                         of punitive damages.

 99          148. Defendants'
             148. Defendants’ misconduct
                              misconduct alleged
                                         alleged in
                                                 in this
                                                    this case
                                                         case does not concern
                                                              does not concern aa

10
10     discrete
       discrete event
                event or
                      or discrete
                         discrete emergency
                                  emergency of the sort
                                            of the sort aa political
                                                           political subdivision would
                                                                     subdivision would

11
11    reasonably expect
      reasonably        to occur
                 expect to       and is
                           occur and is not
                                        not part
                                            part of the normal
                                                 of the normal and
                                                               and expected
                                                                   expected costs
                                                                            costs of
                                                                                  of aa

12
12    local government’s
      local government's existence. Metro Nashville
                         existence. Metro Nashville alleges
                                                    alleges wrongful
                                                            wrongful acts
                                                                     acts that
                                                                          that are
                                                                               are neither
                                                                                   neither

13
13     discrete nor of
       discrete nor    the sort
                    of the sort aa local
                                   local government
                                         government can reasonably expect
                                                    can reasonably        to occur.
                                                                   expect to occur.

14
14           149. Metro
             149. Metro Nashville
                        Nashville has
                                  has incurred,
                                      incurred, and
                                                and will
                                                    will continue to incur,
                                                         continue to incur, expenditures
                                                                            expenditures

15
15     over and above
       over and above its
                      its ordinary public services
                          ordinary public services due to the
                                                   due to the negligence
                                                              negligence caused by
                                                                         caused by

16
16    Defendants’ actions.
      Defendants' actions.

17
17           150. The
             150.     tortious conduct
                  The tortious conduct of
                                       of each Defendant was
                                          each Defendant was aa substantial
                                                                substantial factor
                                                                            factor in
                                                                                   in

18
18    producing harm
      producing harm to
                     to Metro
                        Metro Nashville.
                              Nashville.

19
19           151. Metro
             151. Metro Nashville
                        Nashville is
                                  is without
                                     without fault,
                                             fault, and
                                                    and injuries
                                                        injuries to
                                                                 to Metro
                                                                    Metro Nashville
                                                                          Nashville and
                                                                                    and

20
20    its residents
      its residents would
                    would not
                          not have
                              have occurred in the
                                   occurred in the ordinary
                                                   ordinary course
                                                            course of
                                                                   of events had
                                                                      events had

21
21    Defendants used
      Defendants used due
                      due care
                          care commensurate to the
                               commensurate to the dangers
                                                   dangers involved in the
                                                           involved in the

22
22    manufacturing and
      manufacturing and distribution
                        distribution of their vehicles.
                                     of their vehicles.

23
23

                                              48
                                              48
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 11                      COUNT THREE - GROSS
                                       GROSS NEGLIGENCE
                                             NEGLIGENCE

22           152. Plaintiff
             152. Plaintiff incorporates
                            incorporates each
                                         each preceding
                                              preceding paragraph as though
                                                        paragraph as though set forth
                                                                            set forth

33    fully herein.
      fully herein.

 44          153. At
             153. At all
                     all times
                         times relevant
                               relevant to
                                        to this
                                           this litigation,
                                                litigation, Defendants
                                                            Defendants had
                                                                       had aa duty to act
                                                                              duty to act as
                                                                                          as

 55   aa reasonably
         reasonably careful person would
                    careful person would act
                                         act under
                                             under the
                                                   the circumstances in the
                                                       circumstances in the design,
                                                                            design,

 66   research, development,
      research,              manufacture, testing,
                development, manufacture, testing, and
                                                   and distribution
                                                       distribution of Defendants’
                                                                    of Defendants'

 77   products.
      products.

 8
 8           154. Additionally,
             154. Additionally, at
                                at all
                                   all times
                                       times relevant
                                             relevant to
                                                      to this
                                                         this litigation,
                                                              litigation, Defendants
                                                                          Defendants had
                                                                                     had aa

 99    duty to take
       duty to take all
                    all reasonable
                        reasonable steps necessary to
                                   steps necessary to prevent
                                                      prevent the
                                                              the manufacture
                                                                  manufacture and/or
                                                                              and/or sale
                                                                                     sale

10
10     of
       of aa product
             product that
                     that was
                          was so
                              so easy to steal.
                                 easy to steal.

11
11           155. Defendants
             155. Defendants owed and continue
                             owed and          to owe
                                      continue to     Metro Nashville
                                                  owe Metro Nashville aa duty not to
                                                                         duty not to

12
12     expose Metro Nashville
       expose Metro Nashville to
                              to an
                                 an unreasonable
                                    unreasonable risk
                                                 risk of harm.
                                                      of harm.

13
13           156. Defendants'
             156. Defendants’ duties were preexisting.
                              duties were preexisting.

14
14           157. At
             157. At all
                     all times
                         times relevant
                               relevant to
                                        to this
                                           this litigation,
                                                litigation, Defendants
                                                            Defendants knew
                                                                       knew or, in the
                                                                            or, in the

15
15     exercise
       exercise of reasonable care,
                of reasonable care, should have known
                                    should have known of the hazards
                                                      of the hazards and
                                                                     and dangers
                                                                         dangers of
                                                                                 of

16
16    forgoing installation
      forgoing installation of
                            of engine immobilizers or
                               engine immobilizers or other reasonable anti-theft
                                                      other reasonable anti-theft

17
17    technology in
      technology in the
                    the Susceptible
                        Susceptible Vehicles and specifically,
                                    Vehicles and               the increased
                                                 specifically, the increased risk
                                                                             risk of
                                                                                  of

18
18    vehicle theft
      vehicle theft and
                    and public
                        public harm.
                               harm.

19
19           158. Accordingly,
             158. Accordingly, at
                               at all
                                  all times
                                      times relevant
                                            relevant to
                                                     to this
                                                        this litigation,
                                                             litigation, Defendants
                                                                         Defendants knew
                                                                                    knew

20
20     or, in the
       or, in the exercise
                  exercise of reasonable care,
                           of reasonable care, should have known
                                               should have       that the
                                                           known that the omission
                                                                          omission of an
                                                                                   of an

21
21     engine immobilizer or
       engine immobilizer or other reasonable anti-theft
                             other reasonable anti-theft technology
                                                         technology in
                                                                    in the
                                                                       the Susceptible
                                                                           Susceptible

22
22     Vehicles
       Vehicles could
                could cause Metro Nashville's
                      cause Metro Nashville’s injuries
                                              injuries and
                                                       and thus
                                                           thus created
                                                                created aa dangerous and
                                                                           dangerous and

23
23    unreasonable risk
      unreasonable risk of injury to
                        of injury to Metro
                                     Metro Nashville.
                                           Nashville. Defendants
                                                      Defendants were
                                                                 were therefore
                                                                      therefore in
                                                                                in the
                                                                                   the

                                                  49
                                                  49
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 11   best position
      best position to
                    to protect Metro Nashville
                       protect Metro Nashville against the foreseeable
                                               against the             rise in
                                                           foreseeable rise in the
                                                                               the theft
                                                                                   theft of
                                                                                         of

22     Susceptible
       Susceptible Vehicles.
                   Vehicles.

33           159. As
             159. As such, Defendants, by
                     such, Defendants, by action
                                          action and
                                                 and inaction,
                                                     inaction, breached
                                                               breached their
                                                                        their duty and
                                                                              duty and

 44   failed to
      failed to exercise reasonable care,
                exercise reasonable       and failed
                                    care, and failed to
                                                     to act
                                                        act as
                                                            as aa reasonably
                                                                  reasonably prudent person
                                                                             prudent person

 55   and/or company
      and/or         would act
             company would act under
                               under the
                                     the same
                                         same circumstances in the
                                              circumstances in the design, research,
                                                                   design, research,

 66    development, manufacture, testing,
       development, manufacture, testing, and
                                          and distribution of their
                                              distribution of their vehicles,
                                                                    vehicles, in
                                                                              in that
                                                                                 that

 77   Defendants manufactured
      Defendants manufactured and
                              and produced
                                  produced vehicles
                                           vehicles that
                                                    that fell
                                                         fell below
                                                              below minimum,
                                                                    minimum,

 8
 8    industry-standard security
      industry-standard security measures.
                                 measures.

 99          160. Defendants
             160. Defendants are
                             are in
                                 in control
                                    control of the design,
                                            of the         research, development,
                                                   design, research, development,

10
10    manufacture, testing,
      manufacture, testing, and
                            and distribution
                                distribution of the vehicles
                                             of the vehicles they
                                                             they distributed to authorized
                                                                  distributed to authorized

11
11     dealerships in Metro
       dealerships in Metro Nashville.
                            Nashville.

12
12           161. It
             161. It was
                     was foreseeable
                         foreseeable that
                                     that Metro
                                          Metro Nashville,
                                                Nashville, aa large
                                                              large metropolitan
                                                                    metropolitan area
                                                                                 area and
                                                                                      and

13
13     one
       one of the fastest
           of the fastest going metropolitan areas
                          going metropolitan       in the
                                             areas in the United
                                                          United States, would suffer
                                                                 States, would suffer

14
14    injuries as
      injuries as aa result
                     result of Defendants’ failure
                            of Defendants' failure to
                                                   to exercise reasonable care
                                                      exercise reasonable      in the
                                                                          care in the design,
                                                                                      design,

15
15    research, development,
      research,              manufacture, testing,
                development, manufacture, testing, and
                                                   and distribution
                                                       distribution of Defendants’
                                                                    of Defendants'

16
16    vehicles, particularly
      vehicles, particularly given Defendants’ recognition
                             given Defendants' recognition as
                                                           as early as 2007
                                                              early as 2007 that
                                                                            that engine
                                                                                 engine

17
17    immobilizers were
      immobilizers were an
                        an effective
                           effective deterrent in preventing
                                     deterrent in preventing vehicle
                                                             vehicle theft.
                                                                     theft.

18
18           162. Defendants
             162. Defendants were
                             were negligent,
                                  negligent, reckless,
                                             reckless, and
                                                       and careless in failing
                                                           careless in failing to
                                                                               to guard
                                                                                  guard

19
19    against third-party
      against third-party misconduct
                          misconduct and
                                     and enabled such misconduct.
                                         enabled such misconduct.

20
20           163. Defendants'
             163. Defendants’ actions
                              actions were
                                      were wanton,
                                           wanton, willful,
                                                   willful, or
                                                            or showed
                                                               showed aa conscious
                                                                         conscious

21
21     disregard for the
       disregard for the safety
                         safety of
                                of others. Defendants acted
                                   others. Defendants acted recklessly
                                                            recklessly and
                                                                       and carelessly in
                                                                           carelessly in

22
22    light of
      light    the foreseeable
            of the foreseeable result
                               result of their conduct,
                                      of their          and Defendants'
                                               conduct, and Defendants’ negligence
                                                                        negligence helped
                                                                                   helped

23
23

                                              50
                                              50
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 11   to and
      to and did produce, and
             did produce, and was
                              was aa factual
                                     factual and
                                             and proximate
                                                 proximate cause,
                                                           cause, of the injuries,
                                                                  of the injuries, harm,
                                                                                   harm,

22    and economic
      and          injuries that
          economic injuries that Metro
                                 Metro Nashville
                                       Nashville has
                                                 has suffered and will
                                                     suffered and will continue to suffer.
                                                                       continue to suffer.

33           164. Defendants'
             164. Defendants’ acts
                              acts and
                                   and omissions imposed an
                                       omissions imposed an unreasonable
                                                            unreasonable risk
                                                                         risk of harm
                                                                              of harm

 44   to others
      to others separately and/or combined
                separately and/or          with the
                                  combined with the reasonably
                                                    reasonably foreseeable
                                                               foreseeable negligent
                                                                           negligent

 55   and/or criminal
      and/or          acts of
             criminal acts    third parties.
                           of third parties.

 66          165. Metro
             165. Metro Nashville's
                        Nashville’s injuries,
                                    injuries, harms,
                                              harms, and
                                                     and economic injuries would
                                                         economic injuries would not
                                                                                 not

 77   have occurred
      have          absent Defendants'
           occurred absent Defendants’ negligent
                                       negligent conduct as described
                                                 conduct as           herein.
                                                            described herein.

 8
 8           166. As
             166. As aa proximate
                        proximate result
                                  result of Defendants’ wrongful
                                         of Defendants' wrongful acts
                                                                 acts and
                                                                      and omissions,
                                                                          omissions,

 99   Metro Nashville
      Metro Nashville has
                      has been
                          been injured
                               injured and
                                       and suffered
                                           suffered economic
                                                    economic damages and will
                                                             damages and will continue
                                                                              continue

10
10    to incur
      to incur expenses in the
               expenses in the future,
                               future, as
                                       as described herein, including
                                          described herein, including but
                                                                      but not
                                                                          not limited
                                                                              limited to
                                                                                      to

11
11     expending,
       expending, diverting, and increasing
                  diverting, and increasing resources
                                            resources to
                                                      to retrieve
                                                         retrieve stolen
                                                                  stolen cars and/or address
                                                                         cars and/or address

12
12    property damage
      property damage on public roads
                      on public roads within
                                      within Metro
                                             Metro Nashville.
                                                   Nashville.

13
13           167. Defendants
             167. Defendants engaged in conduct,
                             engaged in          as described
                                        conduct, as           above, that
                                                    described above, that constituted
                                                                          constituted

14
14    reckless disregard
      reckless disregard of the safety
                         of the safety and
                                       and health
                                           health of Metro Nashville
                                                  of Metro Nashville residents,
                                                                     residents, being
                                                                                being fully
                                                                                      fully

15
15    aware of
      aware    the probable
            of the probable dangerous
                            dangerous consequences
                                      consequences of the conduct
                                                   of the         and deliberately
                                                          conduct and deliberately

16
16    failing to
      failing to avoid
                 avoid those
                       those consequences.
                             consequences.

17
17           168. Defendants'
             168. Defendants’ conduct
                              conduct constituting reckless and
                                      constituting reckless and conscious
                                                                conscious disregard
                                                                          disregard for
                                                                                    for

18
18    public safety
      public        was committed
             safety was           and/or authorized
                        committed and/or authorized by
                                                    by one
                                                       one or more officers,
                                                           or more officers, directors,
                                                                             directors,

19
19     or managing agents
       or managing agents of Defendants, who
                          of Defendants, who acted
                                             acted on behalf of
                                                   on behalf    Defendants.
                                                             of Defendants.

20
20    Additionally, or
      Additionally,    in the
                    or in the alternative,
                              alternative, one
                                           one or more officers,
                                               or more officers, directors
                                                                 directors or managing
                                                                           or managing

21
21    agents of
      agents    Defendants knew
             of Defendants knew of the conduct
                                of the conduct constituting reckless disregard
                                               constituting reckless           for public
                                                                     disregard for public

22
22     safety and adopted
       safety and adopted or approved that
                          or approved that conduct after it
                                           conduct after it occurred.
                                                            occurred.

23
23

                                               51
                                               51
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 11          169. Defendants'
             169. Defendants’ willful,
                              willful, knowing, and reckless
                                       knowing, and reckless conduct,
                                                             conduct, constituting
                                                                      constituting

22    reckless disregard
      reckless disregard of Metro Nashville's
                         of Metro Nashville’s rights,
                                              rights, including
                                                      including the
                                                                the right
                                                                    right to
                                                                          to public
                                                                             public safety,
                                                                                    safety,

33    therefore warrants
      therefore warrants an
                         an award
                            award of aggravated or
                                  of aggravated    punitive damages.
                                                or punitive          Additionally,
                                                            damages. Additionally,

 44   Defendants’ willful
      Defendants' willful and
                          and reckless
                              reckless conduct in failing
                                       conduct in failing to
                                                          to follow industry standards
                                                             follow industry standards also
                                                                                       also

 55   justifies an
      justifies an award
                   award of punitive damages.
                         of punitive damages.

 66          170. Defendants'
             170. Defendants’ misconduct
                              misconduct alleged
                                         alleged in
                                                 in this
                                                    this case
                                                         case does not concern
                                                              does not concern aa

 77    discrete
       discrete event
                event or
                      or discrete
                         discrete emergency
                                  emergency of the sort
                                            of the sort aa political
                                                           political subdivision would
                                                                     subdivision would

 8
 8    reasonably expect
      reasonably        to occur
                 expect to       and is
                           occur and is not
                                        not part
                                            part of the normal
                                                 of the normal and
                                                               and expected
                                                                   expected costs
                                                                            costs of
                                                                                  of aa

 99   local government’s
      local government's existence. Metro Nashville
                         existence. Metro Nashville alleges
                                                    alleges wrongful
                                                            wrongful acts
                                                                     acts which
                                                                          which are
                                                                                are

10
10    neither discrete
      neither          nor of
              discrete nor    the sort
                           of the sort aa local
                                          local government
                                                government can reasonably expect
                                                           can reasonably        to occur.
                                                                          expect to occur.

11
11           171. Metro
             171. Metro Nashville
                        Nashville has
                                  has incurred,
                                      incurred, and
                                                and will
                                                    will continue to incur,
                                                         continue to incur, expenditures
                                                                            expenditures

12
12     over and above
       over and above its
                      its ordinary public services
                          ordinary public services due to the
                                                   due to the negligence
                                                              negligence caused by
                                                                         caused by

13
13    Defendants’ actions.
      Defendants' actions.

14
14           172. The
             172.     tortious conduct
                  The tortious conduct of
                                       of each Defendant was
                                          each Defendant was aa substantial
                                                                substantial factor
                                                                            factor in
                                                                                   in

15
15    producing harm
      producing harm to
                     to Metro
                        Metro Nashville.
                              Nashville.

16
16           173. Metro
             173. Metro Nashville
                        Nashville is
                                  is without
                                     without fault,
                                             fault, and
                                                    and injuries
                                                        injuries to
                                                                 to Metro
                                                                    Metro Nashville
                                                                          Nashville and
                                                                                    and

17
17    its residents
      its residents would
                    would not
                          not have
                              have occurred in the
                                   occurred in the ordinary
                                                   ordinary course
                                                            course of
                                                                   of events had
                                                                      events had

18
18    Defendants used
      Defendants used due
                      due care
                          care commensurate to the
                               commensurate to the dangers
                                                   dangers involved in the
                                                           involved in the

19
19    manufacturing and
      manufacturing and distribution
                        distribution of their vehicles.
                                     of their vehicles.

20
20                                 VIII. PRAYER
                                   VIII. PRAYER FOR
                                                FOR RELIEF
                                                    RELIEF

21
21           WHEREFORE, Plaintiff prays
             WHEREFORE, Plaintiff prays for
                                        for aa judgment:
                                               judgment:

22
22           174. Entering
             174. Entering an
                           an Order that the
                              Order that the conduct alleged herein
                                             conduct alleged herein constitutes
                                                                    constitutes aa public
                                                                                   public

23
23    nuisance under
      nuisance under Tennessee law;
                     Tennessee law;

                                             52
                                             52
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 1
 1           175. Entering
             175. Entering an
                           an Order that Defendants
                              Order that Defendants are
                                                    are jointly
                                                        jointly and
                                                                and severally liable;
                                                                    severally liable;

22           176. Entering
             176. Entering an
                           an Order requiring Defendants
                              Order requiring Defendants to
                                                         to abate
                                                            abate the
                                                                  the public
                                                                      public nuisance
                                                                             nuisance

3
3      described herein and
       described herein and to
                            to deter and/or prevent
                               deter and/or prevent the
                                                    the resumption
                                                        resumption of
                                                                   of such nuisance;
                                                                      such nuisance;

 44          177. Enjoining
             177. Enjoining Defendants
                            Defendants from
                                       from engaging in further
                                            engaging in further actions
                                                                actions causing
                                                                        causing or
                                                                                or

 55    contributing to the
       contributing to the public
                           public nuisance
                                  nuisance as
                                           as described herein;
                                              described herein;

 66          178. Awarding
             178. Awarding Plaintiff
                           Plaintiff equitable relief to
                                     equitable relief to fund
                                                         fund automobile theft
                                                              automobile theft

 77   prevention;
      prevention;

 8
 8           179. Awarding
             179. Awarding Plaintiff
                           Plaintiff actual and compensatory
                                     actual and compensatory damages;
                                                             damages;

 99          180. Awarding
             180. Awarding Plaintiff
                           Plaintiff punitive
                                     punitive damages;
                                              damages;

10
10           181. Awarding
             181. Awarding Plaintiff
                           Plaintiff reasonable
                                     reasonable attorneys’
                                                attorneys' fees
                                                           fees and
                                                                and costs
                                                                    costs of
                                                                          of suit;
                                                                             suit;

11
11           182. Awarding
             182. Awarding pre
                           pre-judgment and post-judgment
                               judgment and post-judgment interest;
                                                          interest; and
                                                                    and

12
12           183. Awarding
             183. Awarding Plaintiff
                           Plaintiff with
                                     with such
                                          such other
                                               other and
                                                     and further
                                                         further relief
                                                                 relief as the Court
                                                                        as the Court

13
13     deems just and
       deems just and proper
                      proper under
                             under the
                                   the circumstances.
                                       circumstances.

14
14                                 IX.
                                   IX.   DEMAND FOR
                                         DEMAND FOR JURY
                                                    JURY TRIAL
                                                         TRIAL

15
15           184. Plaintiff
             184. Plaintiff hereby
                            hereby demands
                                   demands aa trial
                                              trial by
                                                    by jury.
                                                       jury.

16
16
      RESPECTFULLY SUBMITTED
      RESPECTFULLY           this 5TH
                   SUBMITTED this     DAY OF
                                  5TH DAY    AUGUST, 2024.
                                          OF AUGUST, 2024.
17
17
       DEPARTMENT OF
       DEPARTMENT     LAW OF
                   OF LAW OF THE
                             THE                     KELLER ROHRBACK
                                                     KELLER ROHRBACK L.L.P.
                                                                     L.L.P.
18
18
       METROPOLITAN GOVERNMENT
       METROPOLITAN  GOVERNMENT
19
19     OF NASHVILLE AND
       OF NASHVILLE AND DAVIDSON
                        DAVIDSON
       COUNTY,
       COUNTY, TENNESSEE
               TENNESSEE
20
20
       By /s/Allison
       By /s/ Allison L.
                      L. Bussell
                         Bussell                     By /s/
                                                     By /s/ Dean
                                                            Dean Kawamoto
                                                                   Kawamoto
21
21                                                   Dean Kawamoto,
                                                     Dean  Kawamoto, CSB
                                                                       CSB #232032
                                                                            #232032
        Allison L.
        Allison L. Bussell
                   Bussell (pro
                           (pro hac
                                hac vice
                                    vice             Gretchen   Freeman Cappio
                                                     Gretchen Freeman          (pro
                                                                        Cappio (pro
22
22
        forthcoming)
       forthcoming)                                  hac vice
                                                     hac       forthcoming)
                                                         vice forthcoming)
23
23      Associate Director
        Associate  Director of Law-Litigation
                            of Law-Litigation

                                                53
                                                53
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 1
 1      Metropolitan Department
        Metropolitan   Department of Law
                                  of Law     Ryan McDevitt
                                             Ryan  McDevitt (pro
                                                               (pro hac
                                                                    hac vice
                                                                        vice
        108 Metropolitan
        108  Metropolitan Courthouse
                           Courthouse        forthcoming)
                                            forthcoming)
22      P.O. Box
        P.O.  Box 196300
                  196300                     Garrett  Heilman (pro
                                             Garrett Heilman    (pro hac
                                                                     hac vice
                                                                         vice
3       Nashville, TN
        Nashville,      37129
                    TN 37129                 forthcoming)
                                            forthcoming)
3
        Telephone:   (615) 862-6341
        Telephone: (615)   862-6341          Zachary
                                             Zachary Gussin    (pro hac
                                                       Gussin (pro  hac vice
                                                                         vice
 44     Fax: (615)
        Fax:  (615) 862-6352
                    862-6352                 forthcoming)
                                            forthcoming)
        allison.bussell@nashville.gov
        allison.bussell@nashville.gov        Kylie Fisher
                                             Kylie Fisher (pro
                                                           (pro hac
                                                                 hac vice  forthcoming)
                                                                     vice forthcoming)
 55                                          Patrick T.M.
                                             Patrick  T.M. Streckert  (pro hac
                                                            Streckert (pro  hac vice
                                                                                 vice
                                             forthcoming)
                                            forthcoming)
 66                                          1201 Third
                                             1201         Avenue, Suite
                                                   Third Avenue,          3400
                                                                    Suite 3400
 77                                          Seattle,
                                             Seattle, WA
                                                      WA 98101-3052
                                                           98101-3052
                                             Telephone:   (206) 623-1900
                                             Telephone: (206)    623-1900
 8
 8                                           Fax: (206)
                                             Fax: (206) 623-3384
                                                         623-3384
                                             dkawamoto@kellerrohrback.com
                                             dkawamoto@kellerrohrback.coin
 99                                          gcappio@kellerrohrback.com
                                             gcappio@kellerrohrback.coin
                                             rmcdevitt@kellerrohrback.com
                                             rmcdevitt@kellerrohrback.     coin
10
10                                           gheilman@kellerrohrback.com
                                             gheilinan@kellerrohrback. oin
11
11                                           zgussin@kellerrohrback.com
                                             zgussin@kellerrohrback.coin
                                             kfisher@kellerrohrback.com
                                             kfisher@kellerrohrback. coin
12
12                                           pstreckert@kellerrohrback.com
                                             pstreckert@kellerrohrback.     coin

13
13                                              Counsel for Plaintiff
                                                Counsel for Plaintiff Metropolitan
                                                                      Metropolitan
                                                Government
                                                Government of  Nashville and
                                                            of Nashville  and Davidson
                                                                              Davidson
14
14
                                                County,
                                                County, Tennessee
                                                        Tennessee
15
15
       4896-0048-5318, v. 13
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